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                        ENGINEER'S REPORT

            BIOMET M2a-MAGNUM HIP IMPLANT
         PRODUCTS LIABILITY LITIGATION (MDL 2391)

                        CAUSE NO. 3:12-md-2391



                                      By:




                             Mari Truman, P.E.


                              February 23, 2017
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            INVESTIGATION OF BIOMET METAL-ON-METAL HIP IMPLANTS
                   PRODUCTS LIABILITY LITIGATION (MDL 2391)
                             CAUSE NO. 3:12-md-2391

      ENGINEER’S REPORT                                                                   February 23, 2017
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       1. INTRODUCTION

      Thousands of patients with Biomet metal-on-metal (MoM) hip implant devices have
      experienced adverse reactions resulting in premature hip implant revision surgical
      procedures. These failures were caused by adverse local tissue reactions (ALTR) and/or
      systemic immune reactions to cobalt-chromium (CoCr) alloy metal wear debris including
      among them inflammatory immune responses resulting in tissue destruction or necrosis,
      pseudotumor formation, induced immune dysfunction, increased susceptibility to
      infection, and even neurological and cardiac damage. Symptoms of these conditions
      include tinnitus, cognitive decline and other associated sequelae such as chronic or
      recurrent pain in the hip joint, loss of muscle mass and strength, instability, and hip
      dislocations, gait pathology and mobility impairment.

      The purpose of my investigation was to focus on the following metal-on-metal Biomet
      hip implant products:

          THA
               1. Biomet M2a–Taper, 28 & 32 mm heads
               2. Biomet M2a–RingLoc – 28mm heads
               3. Biomet M2a-28 28 mm heads
               4. Biomet M2a-38 38 mm heads (flared & non-flared shell)
               5. Biomet M2a–Magnum 38/60 mm heads
           Resurfacing
               6. Biomet ReCap Femoral Resurfacing System 38/60 mm heads in 1 mm
                   increments

      These products were unreasonably dangerous and defective in a manner that caused
      premature revision hip surgeries due to adverse biologic reactions to greater-than-
      tolerable nanometer-sized metal wear debris particles which also result in elevated local
      and serum cobalt (Co) and/or chromium (Cr) ions.

      The primary focus of this report is the Biomet M2a-Taper, M2a-38 and M2a–Magnum
      total hip arthroplasty (THA) devices.


      2. QUALIFICATIONS, OPINIONS AND BASES FOR OPINIONS

      This report includes a summary of my opinions in the form of findings and the basis for
      these opinions. My opinions in this case are within the bounds of reasonable engineering
      and scientific certainty. To the extent that additional discovery is produced, I may
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      formulate additional opinions.

      Qualifications

      I am a biomedical engineer with 36 years of experience in the biomechanics and
      orthopedics fields. Biomechanics is a sub-specialty field of bioengineering and involves
      the application of principles of engineering mechanics to understand basic biological
      processes and mechanisms related to the structure and function of bone and other skeletal
      tissues, while the broader bioengineering field does the same relative to the structure and
      function of all living tissues. Orthopedic designers compile and use property databases of
      bone and other tissues. As a result I routinely deal with forces that are applied to the
      human body during many activities, including impact and injury scenarios. To assure the
      safety and efficacy of new medical devices, we define clinically relevant performance
      requirements for their installation and use, and then test to define the product specific
      performance characteristics. The physical principles and methods used in orthopedic
      biomechanics are the same as those used to reconstruct injury events. I am familiar with
      forces and loads applied to the hips, knees, wrist, shoulder, head, neck, lower back and
      skeleton in many typical activities, including sitting, walking, jumping, running climbing,
      standing, falling, sport and recreational activities and vehicular collisions. I hold nine
      patents for orthopedic devices, and am a member of, among others, the American College
      of Sports Medicine, the American Society of Mechanical Engineers, the International
      Society of Biomechanics, the Orthopedic Research Society, North American Spine
      Society and ASTM International. I have several years of development and design
      experience in the area of human joint reconstruction, spine and trauma reconstruction,
      and have been involved with total joint implants since about 1983, and spine and trauma
      reconstruction devices since 1980. My experience includes designing orthopaedic devices
      as well as directing, analyzing and performing laboratory evaluation of performance
      characteristics for orthopedic implant and instrumentation systems.

      These evaluations included:

            Impact biomechanics of the thoracic spinal discs.
            Range of motion, fatigue and wear endurance characterization of various total
             joint implant designs for the knee, hip, and wrist, PIP, thumb based CMC joint,
             and foot MT and DIP joints.
            Stability characteristics of total joint implant devices and reconstructions,
             including stability under anticipated physiologic and some injury load conditions.
            Impact strength and fracture resistance of bone, implants and instruments during
             surgical reconstruction procedures.
            Implant fixation strength and construct stability characterization for various bone
             fracture repairs using: external fixation, spinal rods screws and hooks,
             intramedullary nails, bone screws, cannulated bone screws, plates with screws,
             and k-wires.
            Ligament reattachment strength and fixation stability in foam bone model
             material and animal bone.
            Minimally invasive orthopedic surgical procedure instrument construct stability
             and accuracy.
            Bone cutting efficiency for specific orthopedic surgical cutting tools.
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      Having been a designer, development team member, and more recently a consultant to
      industry, I have been involved in both the creation and review of warnings and
      precautions provided in package inserts and surgical techniques for well over a dozen
      orthopaedic product families for about a dozen different orthopaedic companies. If a
      hazard and resulting harm cannot be designed out of a product the second line of action is
      an adequate warning. This is a basic design tenet first learned and applied in the
      classroom, and then carried out in practice over my 36 years as an engineer in the
      orthopaedic industry. Beginning in about 1990, as a normal part of development, I
      routinely complete failure modes and effects analyses and risk analyses with risk
      estimates. These analyses require identification and application of methods to reduce the
      risk of hazards and harm. Generally I work with the development team, which, in
      addition to management, generally includes other engineers, marketing, quality
      representatives and a surgeon or medical reviewer. The warnings which are provided in
      package inserts for new products are reviewed by the design teams. In my career I have
      been a member of such teams numerous times. Through both experience and training in
      reviewing, writing, and discussing warnings with team members and with orthopaedic
      surgeons I am qualified to comment on the adequacy of the information contained in the
      Biomet instructions for use (IFU’s) and promotional materials, from the perspective of
      the medical device industry.

      A copy of my curriculum vitae is also attached as Exhibit 1, and includes:

            Work Experience
            Professional Organizations
            Publications

      Among other roles, I was Manager of Implant Technology – Hips & Knees at DePuy and
      designed patient-matched total hip stems while at Biomet. I have worked on several
      instruments used to align cuts, prepare bone and impact total hip implants, and more
      recently I also completed projects for three smaller orthopaedic companies in the areas
      of hip implant acetabular cup, multi-modular hip stem and a more traditional femoral
      stem design with single head-neck modularity. In my work as a designer and/or project
      manager for hip, knee, ankle, wrist, finger and toe prostheses as well as other spinal,
      trauma and soft tissue repair devices a significant battery of laboratory bench testing,
      including fatigue-wear testing in physiologic fluids (arthroplasty devices), and pre-
      clinical evaluations in animal bone and in human cadavers were completed. I also
      reviewed product failure complaints for various product families while working for
      DePuy and again at Zimmer, and occasionally as requested by my other orthopaedic
      manufacturer customers.

      Medical device design teams are typically comprised of members from multiple
      disciplines. In orthopaedic projects, the teams frequently included experts in areas such
      as design, manufacturing, stress analyses, in vitro testing (laboratory wear, static and
      fatigue testing), clinical evaluations, regulatory clearances or approvals, medicine,
      orthopaedic surgery, biomechanics, retrieval analyses, material science, biocompatibility,
      sterilization, packaging, metallurgical and polymeric failure analyses, and in some

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      projects pathology, toxicology, bone metabolism and/or tissue engineering. In most
      cases some of the team members are employed by the manufacturer and some are topic-
      specific consultants. I have participated as both an employee and as a consultant in many
      orthopaedic device development projects. As a project design team member and as a team
      leader responsible for compilation of the design history file, I had to be familiar with
      relevant topics in each of these areas in order to perform my duties. By regulation, and
      for compliance with ISO standards, the medical device development team must follow
      regulated design control procedures and must do a thorough job in evaluating the design,
      manufacturing and clinical failure modes and effects. The broad scope of issues which
      the team needs to address is summarized in the Essential Requirements specified in ISO
      EN 13485, and further discussed in ISO14971 (2007, 2012), and ISO 9001 (2000).
      (Specific standards applicable to modular implants and specifically total hip implants are
      identified in the materials considered.)

      My analysis of this case is from the perspective of a design and development expert in the
      orthopaedic industry. My opinions are based on my background, training and experience,
      and my visual inspection of numerous explanted Biomet MoM devices, along with
      corresponding medical records, photographs and literature concerning hundreds of these
      device failures. I have worked with experts in the fields of metallurgy, materials failure
      analysis, toxicology, tribology and pathology in many cases, and I am familiar with the
      subject matters as they relate to this case.

      Terms of Compensation

      The professional service fee I charge for all tasks that I have undertaken in this case is
      $465 per hour, subject to change. New rates are effective from the date of change. Rates
      apply to all work including site inspection, analysis, travel, report writing, depositions
      and trial. Additional charges may be incurred at standard rates for testing equipment and
      test services, out-of-pocket costs for travel related expenses and other services used for
      case preparation. These rates and other terms are established in the fee letter provided to
      my client/attorney.

      To date Robson Forensic Inc. has have invoiced $3613 for my time and expenses on this
      case, with about $40805 remaining to invoice.

      If this case progresses to deposition and trial it is anticipated that 10 to 20 hours will be
      spent on each stage, not including travel. Travel time and expenses for deposition or trial
      are dependent on location.

      Testimony as an Expert

      A document (Exhibit 2) listing my testimony record is also attached, and includes 103
      total instances (21 for trial). In about 78 of the proceedings I testified on behalf of the
      plaintiff counsel, the balance for the defense. Most of these cases involved personal
      injury litigation, however some involved criminal, trade secret and patent infringement.




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      Exhibits

      I may use the following materials as exhibits to illustrate testimony: All items listed
      below as available information and all items cited, end noted or footnoted in this report.


      3.   MATERIALS CONSIDERED:

      1. Discovery documents provided by Defendants (See Appendix A);
      2. Review of photographs of explanted Biomet MoM devices taken at Robson Forensic
          Inc.’s retrieval laboratory which included M2a-38, M2a-Taper and M2a-Magnum
          devices.
      3. Expert Report by Steven R Schmid dated May 2, 2016 in the matter of Chad
          Hayden vs. Biomet Orthopedics et.al. Cause No. 71C01-1407-CT-000213;
      4. Expert Report by David W. Schroeder dated May 2, 2016 in the matter of Chad
          Hayden vs. Biomet Orthopedics et.al. Cause No. 71C01-1407-CT-000213;
      5. Transcript from the September 8, 2106 deposition of James Lancaster;
      6. Transcript from the September 21, 2106 deposition of David Schroeder;
      7. Hazard Alert dated February 10, 2015, Biomet M2a-Metal-on-metal total hip
          replacements, Australian Government Department of Health Therapeutics Goods
          Administration;
      8. Ardaugh BM, Graves SE, Redberg RF. The 510(k) ancestry of a MoM hip
          implant. N Engl J Med 2013;368:97-100.(January)
      9. The Australian Orthopaedic Association National Joint Replacement Registry, 2008,
          2009, 2010, 2011, 2012, 2013, 2014, 2015 & 2016.
      10. The Australian Orthopaedic Association National Joint Replacement Registry, Metal
          on Metal Bearing Surface Total Conventional Hip Supplementary Reports, 2012,
          2013, 2014, 2015 & 2016;
      11. The National Joint Registry for England and Wales, Annual Reports 1 through 13;
      12. MoM Hip Implants: FDA Safety Communication Issued January 17, 2013;
      13. FDA draft Guidance Document for Testing Non-Articulating, “Mechanically
          Locked”, Modular Implant Components, May 1, 1995;
      14. FDA draft Guidance Document for Testing Acetabular Cup Prostheses, May 1,
          1995;
      15. Class II Special Controls Guidance Document: Hip Joint Metal/Polymer Constrained
          Cemented or Uncemented Prosthesis; Guidance for Industry and FDA, April 30,
          2002;
      16. Guidance on Medical Device Patient Labeling; Final Guidance for Industry and
          FDA reviewers, April 19, 2001;
      17. FDA Guidance - Labeling – Regulatory Requirements for Medical Devices (written
          prior to 1997);
      18. FDA – Approved Orthopaedic PMA’s;
      19. ORS Bio – Dave Schroeder, 2013;
      20. Advancing High Stability and Low Wear, Brochure No. 0612-17-508 Rev 1 ©2008
          DePuy Orthopaedics, Inc.;
      21. ISO 7206-4:2002, Implants for surgery - Partial and total hip joint prostheses - Part
          4: Determination of endurance properties of stemmed femoral components;

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      22. ISO 7206-6:1992, Implants for surgery - Partial and total hip joint prostheses - Part
          6: Determination of endurance properties of head and neck region of stemmed
          femoral components;
      23. ISO 7206-8:1995, Implants for surgery - Partial and total hip joint prostheses - Part
          8: Endurance performance of stemmed femoral components with application of
          torsion;
      24. ASTM F 1875–98 (2004) Standard Practice for Fretting Corrosion Testing of
          Modular Implant Interfaces: Hip Femoral Head-Bore and Cone Taper Interface;
      25. ASTM F 2068-03 & -09 Standard Specification for Femoral Prostheses-Metallic
          Implants;
      26. ASTM F1814-97a (2003) Standard Guide for Evaluating Modular Hip and Knee
          Joint Components;
      27. ASTM Specification F1440-92(2002) Standard Practice for Cyclic Fatigue Testing
          of Metallic Stemmed Hip Arthroplasty Femoral Components Without Torsion;
      28. ASTM Specification F1612-95(2000) Standard Practice for Cyclic Fatigue Testing
          of Metallic Stemmed Hip Arthroplasty Femoral Components with Torsion;
      29. ASTM STP 1301, Modularity of Orthopedic Implants, Marlow, Parr & Mayor, Eds.,
          ASTM, 1997, 45-59;
      30. ASTM STP 1144, Particulate Debris from Medical Implants." Mechanisms of
          Formation and Biological Consequences, K. R. St. John, Ed., American Society for
          Testing and Materials, Philadelphia,1992;
      31. ASTM STP 1346, Alternate Bearing Surfaces in Total Joint Replacement, Jacobs, J.,
          and Craig, T., Eds., ASTM, 1997;
      32. F1714-96(2008) Standard Guide for Gravimetric Wear Assessment of Prosthetic
          Hip-Designs in Simulator Devices;
      33. ISO 14242 which consists of the following parts, under the general title Implants for
          surgery — Wear of total hip-joint prostheses:
                 Part 1: Loading and displacement parameters for wear-testing machines and
                 corresponding environmental conditions for test;
                 Part 2: Methods of measurement;
                 Part 3: Loading and displacement parameters for orbital bearing type wear
                 testing machines and corresponding environmental conditions for test;
      34. ASTM F2091-01 Standard Specification for Acetabular Prostheses;
      35. ASTM F2033-05 Standard Specification for Total Hip Joint Prosthesis and Hip
          Endoprosthesis Bearing Surfaces Made of Metallic, Ceramic, and Polymeric
          Materials;
      36. ASTM F2582-08 Standard Test Method for Impingement of Acetabular Prostheses;
      37. AMTI ADL Hip Simulator description and specifications;
      38. Exactech 711-06-40 Rev B ©2006;
      39. Exactech 711-06-30 Rev C ©2006;
      40. My February 22, 2016 visual inspection of the explanted devices in the matter of
          Chad Hayden including 393 color photographs taken during this inspection;
      41. Complaint and medical records in the matter of Chad Hayden;
      42. Five color photographs of right hip explants (Dr. Czaplicki) in the matter of Chad
          Hayden;
      43. Transcripts of the March 15, 2016 deposition of Chad Hayden;
      44. Affidavit of Anthony P. Czaplicki MD dated April 1, 2015;
      45. Affidavit of Phillip Stiver MD dated March 15, 2016;
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       46. Transcript of the March 25, 2016 deposition of Dr. Phillip Stiver (part #1)
       47. Expert Report of George S. Kantor MD in the matter of Chad Hayden;
       48. Expert Report of Francis Gannon MD in the matter of Chad Hayden;
       49. Defendant’s identification of expert witnesses in the matter of Chad Hayden dated
           February 29, 2016;
       50. Medical and scientific literature as referenced in this report, including Exhibit 3.


      3.   DESCRIPTION OF THE BIOMET MOM DEVICE FAILURE

      Many Biomet MoM THA patients experienced otherwise unexplained hip and thigh pain,
      loss of muscle strength, instability and loss of function. Many of these patients also had
      some elevation of blood serum cobalt (Co) and chromium (Cr) ions. Upon revision of the
      THA, surgeons frequently noted, among other things, yellow or brown inflammatory
      fluid, soft tissue necrosis, black tissue staining of tissues or metalosis, and in some cases,
      pseudotumors and pelvic cysts. Black corrosion product was also common at the base of
      CoCr modular femoral heads, and/or at the trunnion. These conditions are consistent with
      adverse local tissue reactions (ALTR) due to metal ions which are corrosion by-products
      from MoM articular surface wear and modular taper corrosion. When a MoM hip fails,
      the patient usually experiences severe pain in his or her affected hip.

      The early failure of MoM THRs has led to widespread disuse by surgeons, FDA recalls,
      hazard alerts, and in many cases market withdrawal by manufacturers. Furthermore, the
      national registries of Australia, England, Wales and Northern Ireland, and New Zealand
      have reported high failure rates of MoM conventional THRs within 10 years of
      implantation. According to the Australian Orthopaedic National Joint Replacement
      Registry (AOA NJRR ), for MoM THA head sizes > 32 mm the cumulative incidence of
      revision for metal pathology is currently about 12% the cumulative incidence, for
      loosening is about 7%. By comparison, for metal-on- polyethylene (MoP) THA with
      head size > 32 mm the incidence is less than 1% for each. In addition to adverse
      reactions to metal debris (ARMD), there have been reports of inconsistent outcomes with
      large-head MoM THRs.1 In a study comparing small diameter MoM with small
      diameter ceramic-on- polyethylene (CoP), at more than ten years after the primary hip
      replacement, there is a higher rate of all-cause revision (91.7% vs 97.7% at 12 years) with
      a high incidence of ARMD in MoM-bearing THRs.2 Another study reported a
      significantly lower ten-year survival (88% vs. 98%) for a 28mm MoM bearing than
      for a MoP bearing with the same design of acetabular component.

      Early revisions of MoM devices have been linked to elevated ions and wear debris, and
      inadequate tribology investigations were determined to be part of the problem.3
      However, the clinical problems encountered in THA patients were in large part due to
      improper interpretation of the unreasonable dangers associated with the vast number of
      nanometer-sized CoCr wear particles and ions generated under ideal laboratory simulator
      conditions. Due to the continued generation of the particulate wear and ions (steady-state
      wear) there is an accumulation of metal particles and ions in the periprosthetic tissue, so
      an eventual manifestation of a MoM reaction should not be a surprise. Natu et al4 (2012)
      stated that the increasing revision rate in MoM patients ten years after surgery is so
      worrying that any potential (promoted or theoretical) advantage of a MoM bearing in the
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      young active patient might be lost to an increase in revisions due to late MoM reactions.

      Many explanted CoCr large femoral heads exhibit greater than expected or advertised
      wear and taper corrosion, and the early tissue injuries, are consistent with greater than
      expected or advertised wear and Co and Cr ion reactivity.

      Metal-on-metal (MoM ) THA procedures fail prematurely due to several factors which
      contribute to excessive implant wear debris, corrosion, Co and Cr ion release, elevated
      serum Co and Cr ions, pseudotumor, and subsequent tissue damage and pain.

      The MoM articulation introduced new and significant risks to THA patients. Common
      scenarios which are tolerated well by MoP articulations result in metallic wear at the
      articulating surface and at modular taper connections which generated high levels of
      very small (nm size) CoCr particles and related oxides and ions which result in
      cytotoxic tissue damage5, pseudo-tumors, and significantly elevated Cobalt (Co) and
      Chromium (Cr) ions in the blood and distant organs, significant local wear debris, and
      other maladies including undetermined long-term injury consequences.6,7

      ARMD, ALTR and ALVAL

      The otherwise unexplained pain following a MoM THA is often characterized by
      surgeons and authors as “adverse local tissue reaction” (ALTR), “aseptic lymphocytic
      vasculitis-associated lesions” (ALVAL), or,”adverse reaction to metal debris” (ARMD).
      These terms - ARMD, ALVAL, ALTR, pseudotumor, and metalosis (metal staining of
      tissues) - have all been used as umbrella terms in the literature to describe the range of
      adverse local soft tissue destruction caused by metal debris from MoM articulations and
      modular junctions in THA. These adverse reactions can be the result of bearing debris or
      various types of corrosion which occurs not only at a MoM articulation, but can also
      because of mechanically assisted crevice corrosion at metal-metal modular junctions.

      Histologically, ALTR appears as a lymphocytic inflammatory response that leads to
      vasculitis induced necrosis of soft tissue and bone 8 Most patients do not have the more
      rarely diagnosed forms of metal hypersensitivity, but local immune reactions (ALTR) to
      excessive Co ions and CoCr wear debris particles which may be nano in size. The type
      and composition of wear particles and their biological impact are important.9 Patients
      may experience these reactions even in the presence of lower wear volumes, so MoM is
      inherently and unreasonably dangerous and defective.10

      In addition to ALTR, metal ion adverse events that may occur in MoM hip implant
      patients include11:
           • General hypersensitivity reaction (skin rash)
           • Cardiomyopathy
           • Neurological changes including sensory changes (auditory, or visual
               impairments)
           • Psychological status change (including depression)
           • Renal function impairment
           • Thyroid dysfunction (including neck discomfort, fatigue, weight gain or feeling
               cold.
                                                                                                   8
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      The result of a revision surgery due to ALTR or other indicia of metal-on-metal failure
      frequently is a worse prognosis than revision of other types of bearing surfaces. 12 The
      outcomes are sometimes suboptimal. Early results of the revision of monoblock MoM
      THA have shown an unfortunately high complication rate ranging from 20% to 38%. The
      most common complications include instability and aseptic loosening of the revised
      acetabular component thought by some to be secondary to soft tissue and bony necrosis13,
      but the high frictional torques generated at the MoM articular surface interface due to
      bigger diameter femoral heads and due to start-stop “sticking” also play a role.14,15

      Hip Background

      The natural hip joint consists of two parts: a socket and a ball. A portion of the pelvic
      bone forms the cup, or socket; the "ball" at the top of the thigh bone fits into it. A smooth,
      glossy substance, called cartilage, covers the two bone surfaces where they meet,
      providing a cushion for ease of motion. You move this joint every time you take a step. It
      flexes, extends and moves out to the side. Over a period of years, these smooth surfaces
      can wear out. The cartilage thins out and breaks down, and unprotected bone surfaces rub
      against each other. This causes the swelling, inflammation and pain associated with
      arthritis.

      Total hip replacement (THR) surgery also known as total hip arthroplasty (THA) surgery
      creates a new artificial joint that ultimately can be pain free. The implant attempts to
      replicate the human anatomy -- the relatively simple ball-and-socket structure of the hip
      joint. The leg can be flexed and extended and moved out to the side (abduction and
      adduction).


      For a metal-on-metal THA, the surgeon inserts
      a metal cup into the pelvic socket, or
      acetabulum. The smooth inner diameter of this
      cup (or the smooth metallic liner of this cup in
      the case of modular acetabular components)
      precisely mates with a spherical femoral head
      allowing for flowing movement. The diseased
      ball part of the thigh bone is removed and
      replaced by, a cobalt-chromium (CoCr) alloy
      ball mounted onto a metallic femoral stem,
      which is fitted snugly into the thigh bone. The
      stem is typically manufactured from a Ti6Al4V
      alloy or a CoCr alloy.




                                                           Figure 1: General Anatomy & Terminology

      Finally, the ball is placed securely into the pelvic socket, where it should move easily and
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      without causing significant friction or pain. The materials used in the implant are
      specially developed and sterilized for medical use. The implant integrates with the natural
      bone structure and attempts to function like a normal hip.

      4. BIOMET METAL-ON-METAL PRODUCTS

      NOTE: The statements in this section of the report are not opinions of the author,
      but are instead intended to summarize the various MoM devices manufactured by
      Biomet and Biomet’s claims about the features and benefits of those products.

      Biomet had seven MoM product family offerings. The information in this section is taken
      from documents produced by Biomet. The patient risk for metal wear debris and
      corrosion varied due to the differences in each design. For example, the head diameter
      was limited to 28 mm in the M2a RingLoc system which subsequently should have
      produced lower frictional interface torque compared to the 38 mm and larger femoral
      heads. The materials and interface tolerances were slightly different in the product
      families, as will be discussed in greater detail below, and the femoral head itself was
      modular in the very large heads used in the M2a-Magnum system. A titanium taper
      adapter is assembled into the M2a- Magnum head, moving the taper interface of CoCr-
      Titanium that is subjected to CoCr taper fretting corrosion, diametrically outward.

      Biomet received FDA clearances, as well as EC design examination certificates for
      various MoM systems from the British Standards Institute. The M2a Devices below are
      discussed in this document:


         THA
            1. Biomet M2a–Taper, 28 & 32 mm heads (2000, 510(k) K993438-28mm, 510(k)
                003363-32mm, IDE before 510(k), one-piece CoCr head, modular CoCr liner
                mated to a porous coated Ti alloy shell)
            2. Biomet M2a–RingLoc – 28mm heads (2000, 510(k) K002379) one-piece CoCr
                head, modular bi-material liner mated to a porous coated Ti alloy shell
            3. Biomet M2a-28 28 mm heads (2001, 510(k) K011110) one piece CoCr head
                and one-piece porous coated CoCr shell design
            4. Biomet M2a-38 38 mm heads (2001, 510(k) K011110) one piece CoCr head
                and one-piece porous coated CoCr shell design
            5. Biomet M2a-38 38 mm heads (2003) one piece CoCr head and one-piece
                porous coated CoCr shell design, no flare finned cup
            6. Biomet M2a–Magnum 38/60 mm heads (2004, 510(k) K042037) 38 & 40 mm
                size heads are monolithic, CoCr; 42/60 mm heads are fitted with a 2 titanium
                taper adaptor, monolithic porous coated CoCr shell
         Resurfacing
            7. Biomet ReCap Femoral Resurfacing System 38/60 mm heads in 1 mm
                increments (2007, 510(k) K071053) CoCr monolithic head and monolithic
                porous coated CoCr shell. Use of this device as a total hip was not approved in
                the USA, but was allowed in other countries.



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      Figure 2: Biomet MoM product offerings and commercial availability dates.


      Biomet's M2a all-metal MoM total hip arthroplasty system was introduced globally in
      200016. Biomet submitted its request for US FDA 510(k) regulatory clearance for the
      M2a-28 in February 2000 and it was cleared on May 18, 2000. The predicate devices
      were listed as the Biomet Mallory Head Acetabular Cup, Biomet Universal Acetabular
      Cup (approved in 1986 K861433), Biomet CoCr Femoral Components (cleared in
      1994, K942479), and Sulzer's Inter-Op Metasul (cleared in 1999, K974728).




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      M2a RingLoc




      Figure 3: The 28 mm M2a-RingLoc™ System is introduced in Europe in May of 1996,
      and cleared d for sale in the USA in 2000.

      The M2a-RingLoc with its polyethylene (PE) liner
      backing was designed to replace the Hexloc PE
      liner, which had a rapidly declining success rate
      after 15 years (67%). The Hexloc liner had an
      inferior locking mechanism, utilized inferior
      UHMWPe and had a cylindrical and thinner
      design as compared to the Hexloc liner. NOTE:
      Between 1990 and 1994, a Hexloc liner for this
      device was manufactured from gamma-in-air
      sterilized UHMWPe. In 1995, Biomet changed           Figure 4: The 28 mm Sulzer Inter-
      the design of the shell to accommodate a more        Op Metasul product also used in
      rigidly fixed RingLoc liner, which was               Europe and first cleared for sale in
      compression molded and sterilized in gas (argon),    the USA in 1999.
      for which Biomet used the trade name “ArCom”

      The M2a-RingLoc Liner MoM Articulation was introduced in Europe in 1996 and in the
      USA in 2000, and was considered by Biomet to be a slight modification from the M2a-
      Taper MoM Articulation cleared under K993438. The design involved a change to
      locking the liner mechanism and featured a metal liner inserted into a polymeric liner
      which fit into the Metal RingLoc acetabular shell. The bi-material liner consisting of an
      UHMWPe and a thinner CoCr articular surface was similar to the Sulzer Inter-Op
      Metasul product cleared in 1999. The metallic RingLoc shell is designed with a
      peripheral flare around the rim of the shell, which was designed to allow the surgeon to
      take advantage of the bone stock, and engages the anterior and posterior columns around
      the periphery of the acetabulum to achieve shell fixation.

      A Porous Plasma Spray RingLoc + Acetabular system was approved for market in the US
      in April 2010. The predicate devices were the M2a RingLoc Acetabular Liners
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      (K002379) and the Regenerex RingLoc+ Modular Acetabular Shell (K070369). The
      Porous Plasma Spray RingLoc + Acetabular system is a series of acetabular shells that
      incorporate the RingLoc+ locking mechanism design of the predicate devices and are
      compatible with Biomet’s M2a -RingLoc Acetabular Liners or the conventional RingLoc
      UHMWPe Liners that are currently on the market.

      A 2011 study by physicians in the Netherlands17, found that compared to the HexLoc, the
      RingLoc system did not improve the mean percentage survival at 10 years, nor did it
      reduce liner wear. The authors noted that despite correction of the known design flaws in
      the HexLoc design, the RingLoc system did not show a clinically relevant improvement
      compared to its predecessor.

      M2a-Taper

      Biomet’s M2a Taper MoM total hip arthroplasty system was introduced globally in
      2000.A,18 Biomet submitted its request for 510k clearance for the device in February
      2000 and the device was cleared by the FDA on May 18, 2000, for the 28 mm cup.
      Biomet received FDA clearance for the 32 mm taper system on December 15, 2000. The
      predicate devices were listed as the Biomet Mallory Head Acetabular Cup, Biomet
      Universal Acetabular Cup (cleared in 1986, K861433), Biomet CoCr Femoral
      Components (cleared in 1994, K942479), and Sulzer's Inter-Op Metasul (cleared in 1999,
      K974728). The M2a-Taper MoM articulation was granted an Investigational Device
      Exemption (IDE) before obtaining 510(k) clearance.19




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      Figure 5: Brochure images of the Biomet M2a-Taper components.

      The M2a-Taper consists of a modular acetabular component, i.e. acetabular metal shell
      with a metal tapered insert, and a metal modular femoral head. The acetabular shells
      used are Mallory-Head Radial Solid Shell with Apical Hole and the Universal 2-Hole
      Acetabular Shell. Both are made of Titanium and come in sizes from 48 to 70 mm with a
      minimal shell thickness of 2.5 mm. The shells were initially cleared in the US for
      uncemented use.




      A
        Biomet obtained Premarket Approval (PMA) for the M2a/C2a Acetabular System in 2005, which utilizes a
      ceramic liner and femoral head for a “ceramic-on-ceramic” (CoC) articulation, as opposed to metal-on-metal
      articulation (MoM).
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      The tapered acetabular liner is made of wrought CoCrMo and has a minimal thickness of
      4.5 mm. The outer tapered surface of the liner is roughened to increase the locking
      strength and the average push-out strength is 612 lb.

      The modular femoral heads are made of wrought CoCrMo as well and come in two sizes:
      28 mm and 32 mm. These two head sizes pair with shell sizes ranging from 48 mm to 70
      mm.




      The surface finish is claimed to be <0.05μ and the sphericity is claimed to be <5μ. There
      are 7 femoral component neck lengths that can be paired with the femoral heads ranging
      from -6mm to +12 mm. According to the literature, radial clearance of the head and liner
      ranges from 25 to 75μm.

      Biomet design documents note that the 32 mm articulation has a specified radial clearance
      ranging from 25.4 to 76.2 microns (.001” to .003”).

      M2a-38

      The FDA cleared the M2a-38 in 2001. The predicate devices were the M2a-28 mm
      Acetabular System (K993438), M2a-32 mm Acetabular System (K003363), McKee
      Farrar Pre-amendment Device and the DePuy Pinnacle MoM Acetabular Cup (K003523).
      The M2a-38 is a one piece CoCr alloy acetabular design (also known as non-modular,
      monoblock or monolithic design) where the inner surface of the cup is the bearing
      surface. The external surface has a Titanium alloy plasma spray porous coating for press
      fit bone ingrowth fixation and the inner surface is highly polished for articulation with a
      38 mm CoCr femoral head.

      The acetabular cup is a solid CoCr design with a Ti plasma spray on the outer side. It has
      a 17˚ rim flare with 4 pairs of small fins for initial fixation in the anterior and posterior
      columns. The M2a-38 accommodates acetabular cup sizes from 48mm to 70mm. Larger
      sizes of the M2a -38 hemi cup (> 56 mm) have the ability to secure the cup to the pelvis
      at the perimeter with screws in addition to press fit fixation.

      The femoral head is 38 mm and the range of motion is reportedly 154˚ and the femoral
      components come in 7 neck lengths ranging from -6mm to +12mm with the +12 mm
      length requiring a skirt.

      Many monoblock CoCr acetabular cup configurations are too thin to allow peripheral
      bone screw holes. None of the M2a-Magnum products have bone screw fixation holes
      and only the 56 mm and larger M2a-38 mm acetabular cups have holes to accommodate
      fixation screws.
                        Range of Motion Comparison M2a-Taper vs. M2a-38


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                                 M2a -Taper     M2a -Taper     M2a-38
                           Head 28mm            32mm           38mm
                           Shell 48-70mm        52-70mm        48-70mm
                           ROM 126˚             132˚           154˚

         The arc of coverage of the M2a-38 is 157.4.




Figure 6: Brochure images of the Biomet M2a-38 products. The shells shown in the left and center
featured this small flare. The typical range of motion when mated to the Biomet Taperloc stem with the
Type 1 taper was 154 degrees for the M2a-38, as shown. [M2a -38 metal-on-metal Brochure Y-BMT-
735/021502/K ©2002. M2a-38 metal-on-metal hemi cup Y-BMT-837/123103/K ©2003.]

         Like the M2a-Magnum hip, the M2a-38 hip is a large-head system with two modular
         junctions capable of releasing cobalt and chromium ions, in this case, the shell/head and
         the head/neck junctions. The M2a-38™ CoCrMo mono block acetabular shell, however,
         is much thicker and also undergoes post-manufacturing heat treatment which can have
         deleterious effects on wear and enhance metal ion release. B

         The M2a-38 featured a Type 1 trunnion and mated with Biomet stems such as the
         titanium alloy (Ti6Al4V) Taperloc stems with this Type 1 taper.




         B
           Emerson, RH and Pietrzak, WS: Survivorship Analysis of Three Metal-on-Metal Total Hip
         Designs from a Single Manufacturer and Adverse Tissue Reaction Rates, March 6, 2012
         (Citation for this was not found in PubMed) [BMT-MM00473153/ 3182]
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      Figure 7: Brochure and reference literature images of Biomet products. Left: M2a-38
      mm head and shells (2 views); Right: Taperloc hip stem with Type 1 taper 20.

      M2a-38 Clinical Data21

      Biomet learned of a report from a single center in the United States of a statistically
      significantly higher risk of revision in female patients treated with M2a-38 than male
      patients. When data from that center is pooled with all data available to Biomet for
      analysis, there is a statistically significant, higher risk of revision in female patients
      treated with M2a-38 than male patients (female vs. male hazard ratio =1.58 (p<0.05). A
      statistically higher risk of revision in female patients is not observed, however, when the
      data from the single U.S. center is excluded from the analysis (hazard ratio = 1.26
      p>0.05).

        Gender Impact on Risk of
                                             Hazard Ratio                      p-value
       Revision (Female vs. Male)
            All Data Sources                      1.58                          0.03*
         All Other Data Sources
      excluding the single center in              1.26                          0.33
                   US
        Single center in US only                  3.20                         0.008*

                                                                                                    16
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      *The gender impact is statistically significant.
      The following table shows a gender analysis of Biomet results. The Kaplan-Meier
      survivorship for M2a-38 all-female cases is statistically/marginally statistically
      significantly lower than all THA and all MoM in the Australian NJR. The revision rate
      per 100 observed component years (OCY) for M2a-38 all-female cases is statistically
      significantly higher than that for all THA in both the Australian NJR and the England and
      Wales NJR. When the data from the single U.S. center is excluded, there is not a
      statistically significant difference in Kaplan-Meier survivorship between M2a-38 female
      cases and any benchmarks, except all THA in the Australian NJR. The Kaplan-Meier
      survivorship for M2a-38 all male cases is statistically/marginally statistically
      significantly higher than all MoM in both the Australian NJR and the England and Wales
      NJR. The revision rate per 100 OCY for M2a-38 all male cases is statistically
      significantly lower than all MoM in both the Australian NJR and the England and Wales
      NJR.

                         M2a‐38      M2a‐38        M2a‐38 Australian NJR Australian NJR England and England and
                         All Male   All Female     Female     – All MoM     – All THA   Wales NJR – Wales NJR – all
                                  Including the Excluding the                             all MoM       THA
                                    single US     single US
                                      center        center
      Kaplan‐Meier      95.1            89.5         92.2        92.7         95.6          86.4          ‐
      survivorship – (93.2, 96.5) (86.1, 92.1) (89.0, 94.6) (92.1,93.2)*  (95.5,95.8)*   (83.0,89.1)
           7 yr

       Revision rate      0.67         1.15           0.91           1.23               0.74            1.73              0.74
       per 100 OCY (0.49,0.89) (0.91,1.42) (0.68,1.18) (1.15,1.31)                 (0.72,0.76)** (1.64,1.83) (0.72,0.76)**
      *Biomet results in females including the single US center is statistically/marginally statistically significantly lower than
      benchmarks per confidence intervals.
      **Biomet results in females including the single US center is statistically significantly higher than benchmarks per
      confidence intervals.


      M2a-Magnum Metal on Metal Articulation

      The Biomet M2a-Magnum metal articulation system consists of a CoCrMo
      monolithic/monoblock acetabular cup, which articulates with a CoCrMo modular head
      and in some cases, a titanium taper adapter. The system is designed to allow for the
      largest size head for the smallest possible acetabular cup. Biomet touts the M2a-Magnum
      Large Metal Articulation Systems as the optimal joint restoration with ultra-low wear
      rates in vivo, with excellent stability, dislocation resistance, decreased wear and
      increased range of motion, which exceeds 160˚. Biomet’s brochure touts a 99.2 %
      survivorship rate in 1,073 cases with an adverse event rate lower than industry average
      (0.056% vs 0.17%).

      Biomet received FDA clearance to market the M2a-Magnum through the 510k process in
      2004, by submitting mechanical testing but no clinical data.281 In its 510k application,
      Biomet lists the following predicate devices:

                •    M2a Acetabular System 38mm (K011110)
                •    Bio-Moore Endo Heads (K984028)
                                                                                                                                     17
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             •   New BioMoore Endo Head (K002106)
             •   Taper Adapter
             •   Wright Conserve Plus Spiked Shell (K031963)
             •   Conserve Total 5 mm Femoral Head
             •   Wright Metal Transcend Articulation System (K021349)




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      Figure 8: M2a –Magnum images.

      The M2a-Magnum one piece acetabular cup is an ‘as-cast’ high carbon cobalt chrome
      molybdenum (CoCrMo) alloy283 press- fit design, with a titanium Porous Plasma Spray
      outer surface and a highly polished inner geometry.

      Compared to the M2a –Taper modular acetabular MoM articulations, the thinner wall
      monoblock (1-piece) CoCr M2a-Magnum Large MoM acetabular cups have an
      increased risk of deformation due to pinching or closing of the shell during press-fit
      impaction into patients with strong pelvic bone.

      The M2a-Magnum cup comes in multiple sizes with outer diameters of 46mm to 66mm.
      The exterior geometry contains four pairs of peripheral fins to enhance rotational stability
      and aid initial fixation. The outer diameter of the cup is fully hemispherical (180°).

      The inner diameter cup is consistently 6 mm less than the outer diameter at the apex and
      ranges from 38 mm to 60 mm diameters in 2 mm increments. To resist deformation
      forces, the cup is manufactured with a 6mm thickness at the apex and an average of 3mm
      thickness at the rim. This design is specific to the M2a-Magnum component and allows
      for the maximum head to cup ratio. The constant 6mm mismatch between the head and
      cup allows for the maximum head size to be inserted into the smallest possible cup, e.g.
      60 mm head into a 66mm cup.

      The modular head outer diameter is designed to fit directly with the mating acetabular
      cup. The modular head sizes range from 38 to 60 mm outer diameters in 2mm
      increments and match to the inner diameter of the acetabular cup.




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                     Figure 9: The M2a-MagnumCoCr cup thickness is shown.

      The smaller head sizes for the M2a-Magnum System (sizes 38mm and 40mm), are a one-
      piece designs allowing for neck length variations ranging from -6mm to +12mm (left
      image below). The M2a-Magnum modular head has a large diameter very shallow taper
      that connects to a titanium adapter that allows it to be connected to either a Type 1 or a
      12/14 tapered stem.

      Note: The head designs cleared in 2004 connected to femoral stems with a Type 1 taper.
      The modular head designs were updated in 2006 to mate with femoral stems with a12/14
      taper design.

      Neck length variations are achieved through the use of the titanium adapter assembled
      with the modular head component. Head sizes 42mm to 50 mm are designed to be
      assembled with a smaller diameter 2˚ titanium taper adapter. The 52mm to 60 mm
      modular heads are to be assembled with a larger diameter 2˚ titanium adapter (below
      right).

      Design documents22 show that the taper adapter pieces include five dimples evenly spaced
      on the outer surface to facilitate head/adapter removal from the hip stem with an offset
      punch tool.




                     Figure 10: Magnum heads are either monolithic (38 & 40
                     mm diameters) or modular with a titanium taper adaptor
                     assembled to the head. (42/60 mm diameters).

      It was noted in a CAPA file that the actual ROM of the 139260/62 M2a-Magnum Taper
      inserts and 157442/22 M2a-Magnum modular heads when combined, is only 142  and
      not the 160 claimed.[BMT-MM08993775;entry 106/107 dated 9/29/2995]



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      In 2010 Biomet released its publication, The Performance of Modern All-Metal
      Bearings.23, Biomet stressed that the Medicines and Healthcare products Regulatory
      Agency (MHRA) found no evidence increased levels of cobalt and chromium ions are
      associated with any clinical effects. Biomet emphasized that the FDA MAUDE data from
      1998 to 2009 showed a much lower event rate with the Biomet M2a system (0.05%) as
      compared to the industry average event rate for all MoM systems (0.17%) and that the
      survivorship for the M2a-Magnum at 3 years was 99.2 percent. In another document,
      Biomet touts that the revision rate is comparable to metal-on-poly products in the
      Australian and New Zealand NJR (2.6 & 2.9%)24

      Biomet attributed its success to the fully hemispherical acetabular shell, its closed-back
      femoral head design, and its higher diametral clearance of 150-300 microns. Note: The
      Diametral Clearance for the ASR XL is said to range from 70 to 100 microns.


      Hybrid ReCap - Magnum Large Diameter Articulation System

      Biomet’s ReCap Femoral Resurfacing System is an alternative for patients suffering from
      early-to mid-stage avascular necrosis. The ReCap femoral components are indicated for
      Hemi Arthroplasty, i.e. ReCap femoral head surface articulating directly with the natural
      acetabulum.

      The ReCap Femoral Resurfacing system was
      approved for market in the US by the FDA’s
      510(k) process on June 29, 2007. The system
      preserves bone by simply resurfacing the
      femoral head with a thin layer of highly
      polished metal leaving the femoral canal
      untouched. These large resurfacing heads are
      available in 38 to 60 mm sizes at 1 mm
      increments and are highly polished to the
      M2a-MoM tolerances providing a smooth
      bearing surface. Biomet documented a radial
      clearance of 75 to 150 microns between the
      head and the acetabulum when used with a
      metal shell.
                                                       Figure 11: Biomet Recap resurfacing
                                                       femoral component.

      The Biomet Recap Total Resurfacing System uses the ReCap Femoral Resurfacing
      Component and the M2a-Magnum Acetabular Shell. This combination system is not
      approved for use in the US but was approved for a clinical trial to research the safety and
      effectiveness of using the devices together.

      One factor reducing risk in Recap hip resurfacing applications (HRA) is the absence of
      one or more modular metal-metal taper connections which eliminates the risk of elevated
      ions due to taper fretting and corrosion. In the Biomet M2a-38 mm style implant there
      was only one metal-metal taper junctions present.

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      There were several clinical trials on the Total Resurfacing System being conducted in
      other countries -- Netherlands, Denmark, France, and Belgium. The Biomet ReCap
      Femoral and Magnum Acetabular systems as well as the Magnum large bearing femoral
      head for stemmed total hip arthroplasty were sold outside the US beginning in June 2003.
      (Recall that the Biomet M2a-Magnum system was cleared by the FDA for market in the
      US in November 2004.) Using the uncemented Biomet Magnum acetabular component
      and the cemented ReCap femoral component together for the indication of hybrid hip
      resurfacing is currently under clinical trial and is considered an off-label use in the United
      States but is approved in most other countries.

      Biomet suggested the use of the Endo Heads as an interim solution to revise failed ReCap
      resurfacing heads with a well fixed acetabular cup in Europe until the one piece Magnum
      heads were completed and approved.




          Figure 12: Biomet Acetabular systems evolution from 1990 through 2007 [BMT-
          MM01986424]. Note that multiple liner articular surface materials are shown. In
          1990 the only acetabular cup liner offering was UHMWPe. Monolithic metal shells
          and metal liners were introduced between 1996 and 2004. By 1995 Biomet had
          developed an improved ArCom polyethylene sterilized in Argon (inert gas) in barrier
          packaging.C On March 8, 2005 Biomet received clearance for their highly cross
          linked polyethylene (ArCom XL, K042841), and their first vitamin E stabilized
          UHMWPe (K050327) , and in 2007-2010 vitamin E stabilized highly cross linked
          UHMWPe (K070364,K070399,K073102, K090103, K093549, K100048)


      C
       Biomet Brochures for ArCom Polyethylene: Form No.Y-BMT-503/071997/T©1997, Form No.Y-
      BME0194.0 Rev 101512©2012.

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      Dave Schroeder testified concerning Biomet’s alternative polyethylene bearing materials:
       ArCom was an improved polyethylene material that Biomet developed around
         1993.[DS 56]
       By 2000/2002 other manufacturers had highly crosslinked polyethylene and Dave
         Schroeder was asked to see if Biomet could develop a superior technology to the
         competitors’ highly crosslinked polyethylene.[DS 73,74]
       Biomet work on ArComXL in about 2002 because highly crosslinked polyethylene
         appeared to reduce the amount of polyethylene debris that shed from those
         components.[DS72]
       Biomet started selling ArComXL around 2004.[DS 56,57]
       Biomet developed a material that was able to get the crosslinking, but not be subject
         to degradation from residual free radicals to maintain the mechanical properties of
         the material.[DS 75]
       In 2007 the volumetric wear rates of MoP using E-Poly (now E1) were approaching
         the lower rates of MoM. The wear rate was lower than ArCom, but not as low as
         MoM. [DS 177]


      5. ANALYSIS

      General Defects in Biomet MoM THA Devices

      Total hip joint replacements fail because of three major reasons.
      (1) Biological causes such as infection, fixation failure due to lack of in-growth or
          biological reaction to wear particles produced by joint motion;
      (2) Mechanical causes such as fractured prosthetic stem, separation of component parts
          or wear-out of bearing components;
      (3) Failure at the bone-cement interface (cemented components), bone prosthesis
          interface (press fit or in-growth interface)

      Biomet’s Patient Brochure for the M2a-Taper Dstates:

          “The M2a™ -Taper Metal-on-Metal Articulation was developed by Biomet
          Orthopedics, Inc., of Warsaw, Indiana. It is a joint prosthesis (implant) system
          designed for long-term performance. This product is one of the options available to
          you and your surgeon. For your hip replacement surgery, your surgeon will choose
          the implant that best meets your needs. The goal is to help you live the most
          productive and active life possible.”

      In an early M2a MoM brochure, Biomet stated that clinical experience shows
      polyethylene wear particles play a major role in the failure of total hip arthroplasty and
      with subsequent bone loss due to osteolysis. They argued that this is of particular
      importance in young, active individuals where long-term fixation and survivorship are
      required. To solve the problem, the company claimed it developed the M2a system,

      D
       Biomet Brochures for M2a-Taper: Form No Form No. Y-BMT-682/022801/K ©2001 Biomet
      Orthopedics, Inc.
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      which it described as “an optimally designed and inserted metal-on-metal bearing
      with low wear debris generation.” E

      MoM products were touted as an attempt to increase THA longevity, particularly when
      used in younger and more active, higher demand patients. One objective for MoM
      technologies was to reduce wear sufficiently to eliminate biological reaction to
      particulate debris which resulted in the osteolysis and loosening sometimes seen in
      conventional metal on polyethylene implants. Another goal was an attempt to reduce the
      risk of hip dislocation while allowing patients potentially greater range of motion
      (ROM) through the use of larger diameter femoral heads.

      At the time that Biomet’s MoM products were developed (~1995- 2004) Biomet, and
      other manufacturers in the industry, had already made improvements to their THA
      designs, and the materials used in these designs, which allowed them to achieve the first
      two goals, increased longevity and reduce wear, without the use of MoM technology.
      Biomet and others were also each concurrently attempting to achieve the second goal,
      reduced hip dislocations, as well as could be expected, via these same implant design
      upgrades in conjunction with surgical technique and instrumentation modifications.

      To evaluate the defects in Biomet’s MoM THA devices the status of THA technology at
      the time the devices were developed for commercialization must be reviewed.

      THA Evolution

      Prior to the early 1950’s, patients suffering from degenerative joint disease of the hip had
      few treatment options open to them: (1) Osteotomies; (2) Arthrodesis; (3) Facial
      interposition arthroplasty; or (4) Femoral head resection interposition arthroplasty with
      femoral neck displacement (so called Girdlestone operation). Total hip replacement is
      generally regarded as the major advance in orthopaedic surgery of the 20th century, with
      impressive progress being reported during the past fifty years.

      During the late 1950’s and throughout the 1960’s, end stage degenerative disease of the
      hip joint was treated with hemi-joint replacement of either metal acetabular cups or metal
      femoral heads. In the later part of the 1960’s, both sides of the joint were replaced with
      metal components of the Ring and McKee-Farrar type. With the arrival of the Charnley
      prosthesis, most surgeons, including Dr. McKee and Dr. Ring, abandoned the MoM
      prostheses in favor of the Charnley MoP implant.25 The modern era of total hip joint
      replacement started in the late 1960’s with the pioneering work of Sir John Charnley. He
      combined the use of an Ultra High Molecular Weight Polyethylene (UHMWPe)
      acetabular cup, a stainless steel femoral component with a stem and a 22 millimeter ball
      and Poly-methyl-methacrylate (PMMA) “cement” as a grouting material to hold both
      components to their respective bones.

      John Charnley’s low friction arthroplasty, based upon metallic femoral heads of small
      diameter, and ultra-high molecular weight polyethylene (UHMWPe) acetabular cups
      (metal-on-polyethylene (MoP)) became known as the gold standard, but alternative

      E
          2000 M2a Taper MoM, Biomet Brochure [BMT- MM00023373/386].
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      material pairs were also in use. Ceramic femoral heads reduced the wear of UHMWPe
      by about 50 per cent (ceramic-on-polyethylene (CoP)), and much work has subsequently
      been carried out to minimize the possibility of brittle fracture of ceramic heads. Interest
      in hard-on-hard material pairs such as metal-on-metal (MoM) and ceramic-on-ceramic
      (CoC) has also persisted. The former was widely associated with the name of George
      McKee in the 1950s and 1960s, and his work was contemporary with John Charnley’s
      development of the low friction arthroplasty. However, friction was then widely regarded
      as the limitation on longevity of hip replacements in vivo and the relatively frequent
      failure of most of the early MoM implants greatly diminished interest in this form of hip
      replacement compared to that of the MoP.

      By the 1980’s survivorship of the implants that had been in use was impressive. For
      example, in 1987 Ritter and Campbell reported on 791 patient treated between 1969 and
      1980 receiving three types of total hip implants and stated that at 10 years after operation,
      91% of the Charnley, 88% of the T-28, and 80% of the Muller prostheses survived. It was
      accepted that a Charnley type total hip replacement could give perfectly satisfactory
      results in an elderly inactive population. In 1989 Salvati et al reported 91% survival of
      the Charnley arthroplasty (both components), 91% survival of the femoral component,
      and 96% survival of the acetabular component at fifteen years.26 Cornell and Ranawat27
      reported a slightly lower 87.6% 10-year survivorship of 1010 THA in 85 middle-aged
      (<55 years) patients.

      While the Charnley device had demonstrated a good survival record in its clinical history,
      it still did not solve some surgical problems. The prosthesis had a 22.24 millimeter head.
      This gave rise to a higher rate of penetration into the UHMWPe acetabular component,
      thus limiting long term life for some high demand patients. The small diameter also
      allowed easier subluxation and dislocation, a severe complication for total hip patients.
      At the other extreme, a 32 millimeter head was more stable, reducing subluxation and
      dislocation, but produced more particulate debris from polyethylene wear. This
      particulate debris increased the likelihood of loosening from a process known as
      osteolysis. Thus,26 and 28 millimeter diameter femoral heads became the dominant size
      used because of the minimization of wear coupled with acceptable resistance to
      subluxation and dislocation.

      To improve the prosthesis durability the design of the THA implants and the surgical
      procedures evolved over time. Each of the two components of a total hip joint
      replacement has its own design challenges and has evolved over the past five decades.
      The femoral component started as a solid, unitary component made of stainless steel and
      then evolved into more complex design configurations. Among the earliest was a material
      change from stainless steel to titanium alloy or cobalt chrome alloy. In order to have a
      choice of head sizes and femoral neck lengths available after the stem was implanted,
      manufacturers started using a system of modular femoral stems and heads. These
      accommodated a bearing surface of varying diameters as well as extensions to the neck to
      allow changing of the neck length. To attach the two components, a locking taper was
      created, usually with a trunnion on the stem side and a matching female taper on the
      head/neck component. Stem designs evolved with regard to the method of attachment
      between stem and femoral canal. The initial method of attachment used PMMA as a
      grouting material. In order to avoid stem loosening, a problem more common in younger,
                                                                                                      24
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      more active patients, biological fixation was introduced. The stems were coated with a
      porous surface and the medullary cavity was shaped so as to be congruent with the stem
      shape. This allowed for bony ingrowth into the stem surface, and produced a longer
      lasting mechanically stable interface.

      In a manner similar to the femoral component, the acetabular component has also
      evolved. With the recognition that wear would occur in the one piece polyethylene
      acetabular cup, manufacturers started placing a polyethylene bearing insert inside a metal
      acetabular lining cup. This modular cup design allowed for bearing replacement without
      the bone damaging process of having to remove the entire acetabular component.
      Eventually it was realized that an interface consisting of metal liner covered with PMMA
      cement that interfaced with the acetabular bone was not sufficiently strong for the
      younger, more active patient. With the improvements in the technology of biological
      fixation, the cement used to fix the liner in the acetabulum was replaced by a porous
      coating on the lining shell. This allowed direct fixation by bone ingrowth. This modular
      approach to acetabular design also allowed the intraoperative choice of bearing size.

      Since the days of Dr. Charnley, UHMWPe acetabular bearings have been (and still
      are) the gold standard in total hip arthroplasty (THA). MoP is and always has been
      the most commonly used articulation in the United States, followed by CoP.

      The clinical literature by the early 2000’s supported excellent survival of at least 90% at
      10 years for modernized primary THA products implanted in the late 1980’s and 1990s,
      and many reported better than 95% survival at 10 years.28,29,30,31 Some younger patient
      cohorts generally had somewhat reduced 10-year survivorship. For example, Duffy et.al.
      reported a 84.9% survivorship for the femoral components and 81.3% survival of the
      acetabular components in patients < 40 years of age at time of implantation.32

      In 1999 The National Institute for Health and Care Excellence (NICE) guidelines, UK ,
      recommended selecting a prosthesis that attained the ten-year benchmark of a revision
      rate of 10% or less at ten years, or that had a minimum of three years revision rate
      experience and was on target to reach this benchmark.33,34 This recommendation was
      based on historical registry data in the UK. Peer reviewed literature as well as registry
      data continue to support excellent survival of THA. The expected survivorship for a
      THA is currently 95% or greater at 10 years,F and greater than 3% at 5 years (or greater
      than 5% at 5 and 10 years depending on which criteria is used).G

      In 2001 Mallory et.al.35 reported 97.5% survivorship (mean 12.2 years follow-up, range
      10-15 years) for THA’s utilizing Biomet’s products including their tapered cementless
      femoral component. Three (2.5%) femoral components were revised secondary to
      aseptic loosening, with a mean time to failure of 9.73 years (range, 3.65–13.48 years),
      yielding a 97.5% survivorship. Of these 3 femoral component revisions, 2 were attributed
      to loosening resulting from acetabular failure caused by lysis secondary to polyethylene

      F
       Current National Institute for Health and Care Excellence (NICE) guidelines, UK.
      G
       Australian Orthopaedic Association National Joint replacement Registry Annual report,
      Cumulative Percent Revision of Primary Total Conventional Hip replacement, Primary diagnosis
      OA, excluding MoM, or the NICE guidelines.
                                                                                                     25
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      debris. The third revision represented a true stem failure because of aseptic loosening. At
      the most recent follow-up improvement was observed in the overall Harris hip score and
      in the Harris hip score pain component, with mean improvements of 38 and 28 points.
      Thigh pain was absent or minimal in 112 (96.6%). The authors stated:
          “This study suggests that the proximal-to-distal, dual-tapered geometry of this
          cementless, tapered femoral design results in less stress shielding, minimal thigh pain,
          and lack of distal lysis. The textured plasma-spray surface in this porous-coated
          design remains durable, continuing to produce positive bony responses as observed
          radiographically. The remarkable Harris hip score improvement, low incidence of
          thigh pain, and high survivorship percentage, combined with a low incidence of
          significant stress shielding and a minimal incidence of distal osteolysis, suggest
          excellent long-term results with the use of this uncemented tapered femoral
          component, adding credence to the design rationale and justifying its continued use.”

      Due to the success of joint replacement surgery, by 2001 increasing numbers of young
      patients were being treated. Bhamra and Case reported in 2006 that approximately 33%
      were under 60 years old and 10% were under 40 years old.36

      UHMWPe Processing and Wear Characteristics

      UHMWPe has been used as a bearing surface in joint replacement prostheses for over
      three decades. UHMWPe is known to have superior resistance to wear compared to other
      polymers. However, several studies have shown that UHMWPe components undergo
      wear processes and generate wear debris as they articulate against a metal or ceramic
      counterface, which can elicit an undesirable biological response.

      In the 1980’s through early 1990s most UHMWPe total joint components were sterilized
      by gamma-irradiation in air. The presence of oxygen during this sterilization process and
      storage of sterilized components has been known for many years to cause progressive
      oxidative degeneration of ‘implant grade’ polyethylene. It is also associated with
      decreased wear resistance and increased stiffness and brittleness. The physical
      characteristics (quality) of processed and sterilized UHMWPe components alter fatigue
      failure risk of a joint implant design. The presence of free radicals in the material greatly
      reduces its longevity in service. By the mid-1990s The role of UHMWPe wear debris in
      stimulating macrophages and leading to osteolysis around total joint replacements, had
      been well established.37,38,39,40,41,42 Wear debris generated by a combination of adhesive
      and abrasive wear is believed to induce biological responses of macrophages and giant
      cells that are thought to cause osteolysis, bone resorption, and finally aseptic loosening.
      Wear debris of a critical size stimulates macrophages to secrete cytokines. The risk of
      osteolysis due to polyethylene wear debris was sometimes referred to as “particle
      disease.”

      Loosening of THA implants was attributed to biologic reaction to implant wear
      debris in conjunction with mechanical overload and breakdown of bone-prosthesis
      interface or of bone cement, when utilized.

      The fact that there was an established link between the rate of particle release and the
      severity of the osteolysis encouraged the development of ultra-high molecular weight
                                                                                                      26
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      polyethylene (UHMWPe) with better wear characteristics. At that time it was recognized
      from other industrial applications of ultra-high molecular weight polyethylene that the
      materials could be cross-linked by gamma radiation. This would result in lower abrasive
      wear rates, fewer wear particles and significantly less femoral head penetration. Since the
      polyethylene was already subjected to gamma radiation for the purpose of sterilization,
      investigators examined the effects of increasing and controlling more closely the
      radiation dose. As Biomet’s promotional materials show, it was found that at radiation
      doses of approximately 10 Mrads, the wear rate, as measured in hip joint simulators,
      could be reduced to almost negligible numbers.

      Highly cross-linked polyethylene developed in the mid-1990s virtually eliminated
      the risk of osteolysis.

      By the late 1990s Biomet and other major U.S. manufacturers had switched to improved
      UHMWPe (GUR 1020, GUR 1050 or in small quantities, DuPont Himont 1900
      (Biomet)). They had also abandoned sterilization processes such as gamma irradiation in
      air and in air/gas permeable packaging which generated free radicals and resulted in
      premature oxidative degradation of the material. Shelf life was also established for
      UHMWPe implants. By 1999 excessive wear due to premature (ex-vivo) oxidative
      degradation of UHMWPe was no longer an issue. In 1995 Biomet introduced ArCom, an
      isostatically compression molded improved (highly consolidated) and stronger UHMWPe
      which Biomet claimed reduced wear compared to conventional UHMWPe by 42%, and
      thus eliminating the UHMWPe wear issues in THA. [Form No.Y-BMT-503/071997/T©
      1997]

      By 2000 some manufacturers had also introduced highly crosslinked UHMWPe which
      further addressed UHMWPe wear debris issues in THA:

         1999- 2nd Gen Highly Crosslinked UHMWPe (Zimmer Longevity)
         2000- 2nd Gen Highly Crosslinked UHMWPe (DePuy Marathon)
         2001 – 2nd Gen Highly Crosslinked UHMWPe (Smith & Nephew XLPE)

      In 2005 Biomet (Biomet ArCom XL) and others (Howmedica-Osteonics X3, Wright
      Medical technologies A-Class poly liners) introduced a 2nd Gen Highly Crosslinked
      UHMWPe, and in 2007 Biomet introduced an antioxidant infused technology in their
      THA liners. According to a Biomet 2012 brochure, the published survivorship for
      Biomet’s ArCom products ranged from 97.9% at 8 years to 100% at nine years.

      It was thought by some in the mid-1990s that MoM hips with decreased volumetric wear
      rates would result in longer lasting hip implants and less revision surgeries over a
      lifetime, and that this might solve the earlier problems of late osteolysis presented by
      polyethylene bearing surfaces in the 1980s and early 1990s. However the significantly
      improved wear resistance of the highly crosslinked UHMWPe allowed for an increase in
      femoral head diameter without the need to introduce MoM technologies.

      By 2000 the UHMWPe wear problem in MoP and CoP THA implants was resolved.
      The efficacy of 2nd Generation Highly Crosslinked UHMWPe’s has been validated
      by excellent survivorship at 5, 10 and 15 years.
                                                                                                    27
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      In 2008 at the Winter Current Concepts in Joint Replacement meeting in Orlando,
      Floria,H, Jeff McLaughlin MD, stated:

          “ …we've been following every change in polyethylene that we used for 25 years.
          And 15 years ago we started using ArCom instead of the compression-molded
          polyethylene which is just sterilized in Argon so it helps with oxidation. We just
          finished our 15 year results and this is the plain ArCom, not ArCom XL, which is a
          very reasonably priced polyethylene. At 15 years with x-rays on every living patient
          at a minimum of 10 years. 99% of femoral components are in place and well-fixed
          with no distal lysis. 98% of the acetabular components are in place and well fixed and
          only 1 case of moderate osteolysis, and 3 cases of mild osteolysis. So in our
          Wisconsin population, ArCom polyethylene is doing great at 15 years.”

      The XLPE solution to the UHMWPe wear problem made the new MoM risks of
      excessive CoCr wear, metalosis, elevated local and systems Co ions and related adverse
      local tissue damage unjustified. The risk/benefit ratio did not support commercialization
      of MoM in the USA in 2000.

      Particle Number, Size and Biologic Response – UHMWPe vs MoM

      Wear particles generated by modern MoM prostheses are incredibly small (range: 10-120
      nm; mean: about 33 nm), at least an order of magnitude smaller than the size of
      UHMWPe known to be critical for activation of osteolytic cytokines by macrophages.
      Co-Cr wear particles will induce osteolytic cytokine production by human macrophages,
      but only at high volumetric concentrations. Though larger in volume, the UHMWPe
      particles are relatively inert.

      By 2000, the dose response curve for conventional polyethylene was established
      clinically. This dose response curve defined the quantity of polyethylene particles
      required to produce osteolysis. For example, in 1995, Nashed et.al.43 reviewed 175
      polyethylene hip implants with an average follow-up of 7 years and found that osteolysis
      was present in 87% of patients with polyethylene wear rates of .25mm per year (planar
      projection on x-ray), but that no osteolysis was present in any of the patients with wear
      rates of .10mm. Dowd et.al.44 reported similar results in 2000, showing that osteolysis
      was evident in all patients with wear rates greater than .3mm per year, but no evidence of
      osteolysis was present in any patient who had a wear rate of .1mm per year or less. In
      2002, Dumbleton et.al.45 conducted a literature search of the articles on the subject and
      concluded that:
           “the literature suggests that osteolysis is infrequent when wear rates are <0.1 mm/y
          and almost absent <0.05 mm/y.”

      H
       2008 Winter CCJR Panel Discussion Audio Transcripts on Bearing Options. [BMT-
      MM02015751] For the past 32 years the Current Concepts Institute has presented the Current Concepts
      in Joint Replacement (CCJR) medical continuing education courses directed by A. Seth Greenwald. The
      CCJR agenda includes debates concerning relevant and controversial topics for orthopaedic joint
      replacement surgeons. Over the last several years the role of alternate bearings in total hips have been
      debated.

                                                                                                                 28
                                       Mean ECD for XLPE is closer to .12 x 10^-6
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                                       rate of ~ 8 M to 25M particles per million cycles per some
                                       publicaitons

       These clinical studies allowed the volume of polyethylene associated with the wear rates
       to be calculated knowing the diameter of the femoral head and the approximate wear
       volume correlating to the linear wear rates reported. This, in combination with the
       published measurement of particle size, allowed the calculation of the number of particles
       required to produce osteolysis.

       It should be noted that the annual wear rate discussions in this report are based upon the
       published data from the late 1970s indicating an average patient taking only 1 million gait
       cycles per year, which likely underestimates the activity levels of many THA patients by
       the year 2000.46,47,48,49,50,51

       In 1997, Kobayashi and his co-authors52 published a study of polyethylene wear debris in
       total joint replacements for Charnley hip implants using conventional polyethylene, and
       reported an equivalent circular diameter of 0.78 x 10-6 m (.78 m or .0078 mm) for the
       mean particle size. Therefore, the polyethylene particle volume (using a spherical
       equivalent shape) is approximately or 25 x 10-11 mm3. (or 25 with the decimal moved 11
       places to the left.)

       I based the following polyethylene particle number calculations on the more conservative
       limit of Dumbleton (0.05 mm/y and the common 28 mm head diameter). Using a
       conservative maximum tolerable 2D penetration of 0.05 mm per year as observed
       clinically, the volumetric wear rate of a 28 mm head diameter articulating with
       conventional UHMWPe would be about 31 mm3 per year as measured in patients for 28
       mm heads. 53 Using Kobayashi’s particle size figures, the generation of 31 mm3 per year
       of polyethylene yields the maximum tolerable particle wear rate, based on the size of
       conventional polyethylene particles, of 124 x 109 (124 billion) particles per year or 124
       billion particles per million cycles.

       Devane et al54 documented that the tolerance to polyethylene wear debris is frequently
       greater than this conservative estimate. In their study, patients under 60 years of age with
       either 26 mm or 32 mm femoral heads (PCA products) tolerated an average wear volume
       of 78mm3/y without signs of osteolysis (corresponding to an average 2D linear wear of
       .140 mm/y). Patients over 60 years of age with either 26 mm or 32 mm femoral heads
       tolerated an average wear volume of 63mm3/y (corresponding to an average 2D linear
       wear of .147 mm/y). These authors also noted that larger head diameters generate larger
       volumes of wear debris, and there was a decreasing volume of liner debris with
       increasing liner thickness.

       With the introduction of highly wear-resistant crosslinked ultrahigh-molecular-weight
       polyethylene (UHMWPe), the overall volume of wear debris in THA has decreased
       compared to conventional polyethylene (PE) from more than 15 mm3/million cycles to
       less than 1 mm3/million cycles. This reduction in overall PE wear rates has resulted in an
       associated and substantial reduction in the rates of osteolysis, with several clinical studies
       reporting no incidence at 5 to nearly 10 years’ follow-up. Furthermore, wear particles of
       specific shapes, such as fibrils or needles that elicit higher cellular reaction have been
       minimized.55



                                                                                                        29
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      MoM Particles

      Biomet should have advised surgeons that metal wear particles are incredibly small when
      compared to polyethylene wear particles, ranging from approximately 10 to 90 nm in
      size, and are irregular in shape, which leads to a very high surface area exposed to in-vivo
      fluids facilitating corrosion.56,57 ,58,59 Catelas et al60 reported the size and shape of metal
      particles in 2003. (Catelas 2004) They found that using in vitro simulator testing, metal
      wear particles from a 28mm MoM implant manufactured of a CoCrMo alloy (ASTM
      F75I92) had an average length of 53 nm (with the majority between 40 and 60 nm) from
      0 to 0.25 million cycles (Mc) and an average length of 43 nm (with the majority between
      20 and 40 nm) from 1.75 to 2.0 Mc.

      For purposes of analysis in my report, I used the particle size reported by Firkins
      et.al.61(2001). This work, which was completed in August 2000 and published in 2001,
      measured the size of metal wear particles generated by MoM hip prostheses and
      reported the average size of MoM particles generated during in-vitro wear testing to be
      very small , ~ 33 nanometers in diameter. 33 nanometers = .033 μm or .000033 mm.
      Using a spherical approximation of the particle shape the for radius of 16.5 nm, volume
      of single particle is 18.8 x 10-15mm3 (or 18.8 with the decimal moved 15 places to the
      left, or 0.0000000000000188 mm3 - 13 zeros.
                                              Mean Particle Volume
                             Polyethylene wear debris 0.00000000025 mm3
                                 CoCr wear debris         0.0000000000000188 mm3
      The volume of the mean size polyethylene wear particle documented by Kobayashi
      et.al.62 is on average ~ 10,000 times greater than the volume of a mean size MoM wear
      particle as documented by Firkins et.al.63. For the same THA wear volume there are
      on average 10,000 more nano-sized biologically reactive and more cytotoxic CoCr
      particles from MoM compared to polyethylene particles from MoP.

      For MoM implants, if the reported 1 Million cycle wear volume (or 1 year wear volume)
      is 0.15mm3, which is in the range of wear rates documented by Biomet for the M2a-
      Magnum under ideal laboratory conditionsI, that is equivalent to 7.97 trillion particles
      per year or per million cycles.

      Based on the density of the CoCrMo alloy, one cubic millimeter (1 mm3) of CoCrMo
      alloy has a mass of about .00828g, and the mass of the Co is about 68% or .005630g (or



      I
          Steady state volumetric wear rates claimed by Biomet in their design rationales:
             Magnum [BMT-MM03088970]                     Recap
                                 3
                 28mm - .73 mm per million cycles           46mm - .19 mm3 per million cycles
                                 3
                 32mm - .30 mm per million cycles           56mm - .20 mm3 per million cycles
                 38mm - .12 mm3 per million cycles       M2a-Taper
                 46mm - .18 mm3 per million cycles          28mm - .73 mm3 per million cycles
                                 3
                 56mm - .13 mm per million cycles           Lombardi et al (2001)
             ArCom polyethylene
                 28 mm - 27.9mm3 per million cycles

                                                                                                        30
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          5630 μg) and the mass of Cr is about 28% or about .002318 (or 2318 μg).J Using these
          figures, the number of atoms or potential ions in wear volumes can be calculated.

                                                                                          MAX μg/L   MAX μg/L
    Volume
              3        atoms Co         atoms Cr        mass Co μg       mass Cr μg Co assuming Co2+assuming
                                                                                          2+
     (mm )
                                                                                      5L blood    6L blood
      0.15            8.63021E+18       4.02773E+18          844.6         347.8       168.912       140.76
      0.6             3.45208E+19       1.61109E+19         3378.2        1391.0       675.648       563.04
       1              5.75347E+19       2.68515E+19         5630.4        2318.4       1126.08        938.4
      1.4             8.05486E+19       3.75921E+19         7882.6        3245.8      1576.512     1313.76
       2              1.15069E+20       5.37030E+19        11260.8        4636.8       2252.16       1876.8

  Wear             Number of CoCr wear particles               ~ Number of Co atoms or potential Co ions in the
 volume                    (mean size 33 nm)                                 CoCr wear volume
.15 mm3        7.97 trillion or 7,970,000,000,000              8,630,210,000,000,000,000 or 8,630,210 trillion
0.6 mm3        31.9 trillion or 31,900,000,000,000            34,520,800,000,000,000,000 or 34,520,800 trillion
1.0 mm3        53.1 trillion or 53,100,000,000,000            57,534,700,000,000,000,000 or 57,534,700 trillion
1.4 mm3        74.4 trillion or 74,400,000,000,000            80,548,600,000,000,000,000 or 80,548,600 trillion
2.0 mm3        106.3 trillion or 106,300,000,000,000         115,069,000,000,000,000,000 or 115,069,000 trillion

                                 Volume/year               Annual number of
                                                                particles
                             31 mm3/y polyethylene           124,000,000,000
                                  .15 mm3/y CoCr           7,970,000,000,000
                                     .6mm3/y CoCr         31,900,000,000,000
                                  .12 mm3/y CoCr           6,904,000,000,000
                                   .73mm3/y CoCr          47,900,000,000,000
                       (conservative maximum tolerable particle wear rate, some > 2X this value)

          The volume of steady state CoCr particles measured by Biomet per 1 million cycles
          ranged from .12mm3/Mc to .73mm3/Mc.

          Recall that the number of conventional polyethylene particles — 124 billion particles per
          year, or 124 billion particles per million cycles — is far smaller than the number of CoCr
          particles measured for Biomet products, which was in the range of about 6,904 billion to
          47,900 billion particles per million cycles. I calculated that the relative number of
          MoM CoCr wear particles generated per million cycles was at least 56x greater than
          MoP wear particles, depending on the Biomet product being tested. This is in the
          range expected based on literature reports in 200164 and in 200565 of ~100x
          increase in the number of wear particles per million cycles when comparing MoM
          debris to MoP debris.

          Comparing the results for the polyethylene particles described above to the results
          for metal particles, it is seen that during steady state, MoM implants generate
          hundreds of trillions of metal wear particles that are thousands of times smaller
          than polyethylene wear particles in volume.

          J
              ASTM F1537, ASTM F75; Carpenter BioDur CCM alloy specification sheets
                                                                                                                   31
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      Each 33 nm CoCr wear particle contains about 1,081,650 Co atoms and about
      504,808 Cr atoms. Thus the number of potential Co ions from corrosion of these
      CoCr nano-particles is roughly a factor of 106 greater than the number of particles.

      Even the steady state wear rates claimed by Biomet, which reflected best-case ideal
      laboratory conditions, and thus were biased low, generated a sufficient number of
      cumulative nano-sized particle and ions to result in toxic local concentrations of a
      combination of nm size fretting wear debris and nm size Co2+ ions and other corrosion
      by-products in the peri-articular (local) tissues of patients receiving the Biomet MoM hip
      implants.

      The first design objective of reducing the incidence of osteolysis or degenerative
      tissue damage due to the wear debris of polyethylene could not be reasonably
      expected to occur by simple substitution of a MoM articulating surface that showed
      a reduction in volumetric wear. The scientific literature of the 1990s clearly supports
      the association of degenerative tissue damage with particulate debris. The correlation
      between the intensity and amount of tissue damage and the number of particles released
      into the tissue by bearing wear was well-established. There is recognition of this within
      the Biomet design history files as well as the Biomet promotional material. As
      demonstrated by their own simulated wear tests, Biomet did not achieve a reduction
      in the number of particles created by a MoM bearing compared to MoP bearings. In
      actuality, their data demonstrates a marked increase in the number of particles generated
      to the extent that their literature shows about two orders of magnitude increase (100x) in
      the number of particles generated when compared to a MoP implant that was chosen as
      the product to be improved upon, and up to a potential of about eight orders of magnitude
      increase in particles in the form of potential ions (100 million x increase) as these wear
      particles corrode.

      The first study evaluating the Biomet M2a-Taper, was funded by Biomet and published in
      2001 by Lombardi et.al.66. The study was a multicenter prospective evaluation of the
      safety and efficacy of the M2a-Taper MoM articulation at a 2-year minimum follow-up.
      The study began in December 1995 and had 194 patients (97 ArCom PE and 97 MoM).
      The physicians involved found no evidence of early failure and concluded that the M2a-
      Taper MoM articulation may represent a viable alternative for THA in younger, higher
      demand patients. The study reported that during initial research and development, hip
      simulator testing under normal gait conditions revealed extremely low volumetric wear
      for the M2a-Taper metal-on-metal articulation at a steady state of 2.20 mm3 per 3 million
      cycles compared with 83.6 mm3 per 3 million cycles in a MoP articulation. Fatigue testing
      involving cyclic loading of 1000 lb. for 10 million cycles revealed no evidence of fretting
      in the M2a-taper articulation. The M2a-Taper metal-on-metal articulation had 97.4% less
      volumetric wear than the MoP articulation (but , as noted above, a significantly greater
      number of MoM wear particles than MoP). These in vitro test results were used in
      Biomet’s submission of the investigational device exemption study to the U.S. Food and
      Drug Administration described above. Biomet concluded that these results encouraged
      cautiously proceeding with metal-on-metal articulation in younger, higher demand
      patients in light of the concerns regarding the longevity of THA with conventional MoP
      articulations.
                                                                                                    32
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        Many Biomet MoM patients experienced greater than advertised and expected wear due
        to foreseeable head separation and edge loading events. In those patients the total CoCr
        head wear volume at retrieval has been measured at well over 2mm3. For example, nine
        (9) retrieved large head M2a-Magnum™ bearings were inspected by Koper et.al.67 who
        reported a mean total wear volume of 3.3mm3, with head wear being greater than cup
        wear in all but one case. The maximum total wear volume identified was 52.44 mm3. The
        wear volume in this series per year ranged up to 4.0047 mm3. Note that eight (8) of the
        nine (9) retrieved components had less than 1.3 mm3/yr wear, but that is still much
        greater than Biomet’s advertised claimed

        Hip Aspirates

        In THA cobalt levels correlate positively with the surface necrosis whereas chrome levels
        do not. The local concentration of Co ions in the synovial fluid near a corroding
        metal-metal implant junction is at least one order of magnitude greater and is
        generally two or more orders of magnitude higher than the serum or whole blood
        concentrations.68,69,70,71 72,73 The joint level Co ions are higher in patients with ALTR
        such as pseudotumors74, and there is a significant correlation between joint fluid and
        whole blood metal ion levels.75,76 Kwon et.al.77 documented Co ion concentrations in
        hip aspirate which are in the range of 20 to 1800 μg/l in patients with tissue necrosis and
        pseudotumor.




Figure 13: Box plots showing differences in      Figure 14: Serum cobalt and chromium concentrations
cobalt levels in hip aspirates between the       are correlated with hip aspirate cobalt and chromium
patient groups with and without pseudotumor.78   concentrations.79

        The Co ion concentrations measured in hip fluids surrounding MoM using a hip
        aspirate are frequently well above 100 μg/l.

        In 2009, Kwon et.al.80 examined the dose-dependent cytotoxicity of clinically relevant
        cobalt nanoparticles and ions on macrophages in vitro. They stated that cobalt
        nanoparticles and ions demonstrated dose-dependent cytotoxic effects on macrophages in
        vitro. Cobalt nanoparticles at concentrations of 1013 30nm-sized-particles per ml released
        14019 μg/l of Co ions into culture medium, an equivalent Co ion concentration

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      corresponding to1000 μM. At 1000 μM, Co2+ caused a dramatic decrease in the total
      number of viable cells in culture.81

      Lass et.al.82 reported a median Co ion concentration of 89.1 g/l with a maximum of 872
      g/l in suynovial fluid surrounding MoM devices.

      Allen et.al.83 (1997) demonstrated that exposure to Cobalt (Co) at concentrations of
      100 μg/l or higher led to the development of cytoplasmic vacuolation and extensive
      cell death. These levels can be found in the joint fluid of MoM hips. Chromium was
      not cytotoxic at doses found in joint fluid and less frequently in serum.

      Even small amounts of cumulative wear from the articular surface or the modular
      taper on the order of 0.6 mm3 have the potential to generate cytotoxic levels of Co
      ions in the local tissues.

      Knowledge of CoCr Debris Toxicity

      The research literature that reported on investigations into the effect of CoCr particulate
      wear debris on tissue viability clearly pointed to the importance of considering the
      cumulative dose of the particles on the tissue. Concerns about the biological effect of
      particulate wear debris from MoM total joint replacements can be found in the literature
      as early as 1969. Freeman and Swanson, developers of early knee prostheses, in
      conjunction with Heath, evaluated the effect of wear particles from total joint
      replacement prostheses made entirely of cobalt-chromium alloy. (Freeman et al84 1969)
      They published their results in The Lancet. They constructed one of the earliest wear test
      machines and derived the wear particles from their test environment. They note that the
      particles range down to 1/10 of a micron in size. They used the skeletal muscles of rats
      for their experimental model. They detailed the production of what they termed
      “sarcomas” as well as areas of muscle necrosis and regeneration. They stated that the
      particles may be a hazard to humans and should be investigated most carefully.

      In further study of prosthetic loosening in a clinical population, Evans et al85 published
      on metal sensitivity as a cause of bone necrosis and loosening in the Journal of Bone and
      Joint Surgery in 1974. They observed that:

         “cases of loosening exist, however, in which the technique of implantation appears to
         have been satisfactory, in which there is no history of injury, and in which there is no
         evidence by conventional criteria of the presence of infection. It will be argued in this
         paper that at least some of these cases may be due to sensitivity of the tissues to one
         of the metals in the alloy of which the prosthesis is composed.”

      Garrett et al86 published on the effects of cobalt chrome alloy wear particles on the
      morphology, viability, and phagocytic activity of murine macrophages in vitro. (Garrett
      1983) This article, which appeared in 1983, stated that:

         “after 4 h of exposure to particle concentrations exceeding 30 ug/mL, there was a
         progressive decline in cell viability, and light and electron microscopy showed that
         surviving cells had assumed remarkably smooth profiled and contained abundant
                                                                                                     34
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         endocytoced metal. Phagocytic uptake of polystyrene spherules was inhibited
         markedly by exposure to metal particles, even at concentrations at which
         macrophages remained 100% viable… .”
         “The findings are consistent with a pathological role for the metallic wear particles
         observed frequently within macrophages in the synovial tissues around loose artificial
         joints in humans.”

      In January 2000, Ingham and Fisher87 published a paper titled “Biological Reactions to
      Wear Debris in Total Joint Replacements” In the abstract of the paper, Fisher states:

         “For metal-on-metal prostheses, the prospects for increasing the osteolysis free life
         of the implant are good but additional biological problems associated with the
         nanometer size and reactivity of the wear particles in vivo may emerge.”

          “It is concluded that the pre-clinical testing of any new materials for joint
         replacement must include an analysis of the wear particle characteristics and their
         biological reactivity in addition to the usual assessment of wear.”


         ” However, a low wear volume does not necessarily indicate low numbers of
         biologically reactive particles. Current evidence indicates that the size of wear
         particles generated by metal-on-metal articulations are very small and therefore the
         numbers produced may exceed the numbers of UHMWPE particles generated in
         metal-on-polyethylene prostheses despite the difference in wear volumes.”

      In analyzing the results of the studies by Doorn et.al. and McKellop et. al., Ingham and
      Fisher state:

         “It can be concluded from these studies that metal-on-metal wear particles are
         consistently in the nanometre size range and uniform in size and shape. The small
         size of the particles and the large number generated raise new issues in regard to their
         potential distribution in the body and biological effects on various cells and

      The fact that Biomet’s testing of MoM bearings produced a vastly larger number of
      particles than those produced by MoP bearings should not have been a surprise. In 1998,
      Doorn et.al.88 calculated a similar number of particles in tissues from revised MoM total
      hip replacements based on the work published by their own group (McKellop et.al.89) two
      years earlier, stating that most of the CoCrMo wear particles were smaller than 50 nm
      (range 6-834 nm) and round to oval in shape with irregular boundaries. Unfortunately in
      these reports the level of Co or Cr ions in the hip aspirate (synovial fluid) was not
      reported.

      Since, at least, the early to mid-1990s, Biomet should have known of the adverse effects
      of Co ions. For example, at a workshop sponsored by the Association of Bone and Joint
      Surgeons entitled: “Metal/Metal Hip Prostheses. Past Performance and Future
      Directions” which was held Nov 2-5, 1995, Jonathan Black stated that metal release by
      corrosion is 4.5 to 8.5 times that of metal/poly articulations.90 Dr. Black commented that
      the consequences of metallic release are (1) soft tissue necrosis (2) osteolysis (3)
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      significant ion concentrations and (4) concentration in the lymph nodes. He stated that a
      small amount of metal debris has a similar surface area to a large number of polyethylene
      particles, and that it is no surprise he concluded metal/metal was not proven to be a good
      alternative to metal/PE systems. Dr. Black also stated that the toxicity of Co base alloy
      particles and the chemical constituents has been well recognized, and studies suggest that
      the presence of particles at sub-toxic levels may inhibit bone growth, and they may
      contribute to osteolysis.91 Biomet, along with other manufacturers of MoM hip implants
      knew or should have known of the metal ion concerns expressed at this and other similar
      events.

      Dave Schroeder testified that the only known risk of MoM devices early on was cancer
      [DS 23], which is clearly not accurate based on the literature. As far back as 1995 Biomet
      had documented notice of the adverse effects of Co ions. Refer to Appendix C.

      Dave Schroeder testified concerning CoCr metal debris, ions and regulatory issues:
       The Biomet metal-on-metal design team reviewed literature to access risk of metal
         wear debris. They did not do any specific testing on the effect of metal debris on the
         human body before the IDE clinical study[DS 58,59]
       Metal debris can cause tissue reactions in the body including cell death, ALVAL,
         pseudotumors or adverse tissue reactions. It is thought that this is related to the metal
         debris or metal ions.[DS 78,79]
       Cobalt in and of itself is potentially cytotoxic. In large enough concentrations in and
         of itself can cause cell death.[DS 24]
       Biomet initiated a clinical IDE study for M2a-Taper MoM started in 1996, continuing
         through the mid -2000s.[DS 24,25]
       Biomet did the clinical study on the M2a-Taper because the FDA told them to.
         Biomet had submitted a 510(k) to sell the device without a clinical study.[DS 65]
       Typically premarket approval takes longer than A 510(k)regulatory clearance. On the
         M2a-Taper the 510(k) took about the same amount of time because the FDA required
         that Biomet do the same clinical study required in a premarket approval study.[DS
         63]
       Biomet relied on the clinical results of the M2a-Taper showing which show any
         increased risks or new risks for Biomet MoM.[DS 131,132]
       Biomet’s IDE study did not look for metal ions.[DS 163]
       In 1998 Dave Schroeder/Biomet was aware that titanium, cobalt and chromium
         (debris) could be toxic in high enough doses. However, He did not know the
         respective doses corresponding to toxicity .[DS 140,141]
       In February of 2001 Biomet was fully aware that metal ion levels in serum increased
         after a MOM THA. [DS 156]
       Biomet did not do a clinical study on the M2a-38 or the M2a-Magnum.[DS 27,28]
       He/Biomet believes that the elevated metal ions in the concentrations seen with
         Biomet MoM THA are only a theoretical risk. [DS 174]
       Biomet never ruled out that metal debris would cause problems in humans. [DS 223]

      Dave Schroeder also testified that the only known risk of MoM devices early on was
      cancer [DS 23], which is clearly not accurate based on the literature. As far back as 1995
      Biomet had documented notice of the adverse effects of Co ions. Refer to Appendix C.

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      Biomet’s design history file documents, e-mails, and post market surveillance
      reports document that Biomet’s technical staff was familiar with the literature
      concerning the testing and clinical performance of MoM devices, and that they
      knew about the adverse effects of metal ions as early as 1995.

      It should have been known by Biomet during the development and prior to the FDA
      clearance to sell the M2a-Taper, M2a-38 and M2a-Magnum MoM bearing families of
      MoM bearing total hip systems that the particle size and material composition, as well as
      the number of particles, were determining and substantial factors in creating adverse local
      tissue reaction.

      The peer reviewed literature continued to document that Co ions at concentrations found
      in the peri-prosthetic tissues surrounding THA with CoCr in a metal-metal articulations
      induce various types of cell death92(2006) and related immune responses.93,94

      In 2002, Germain et.al.95 (2003) established that:

          “Clinically relevant cobalt-chromium particles with a volume of 50 and 5 μm3 per
         cell reduced the viability of U937 cells by 97% and 42% and reduced the viability of
         L929 cells by 95% and 73%, respectively demonstrating that the particles were
         cytotoxic.”

          “This study has emphasized the fact that the nature, size and volume of particles are
         important in assessing biological effects of wear debris on cells in vitro.”

      In 2009, Mahendra et.al.96 examined the necrotic and inflammatory changes in MoM
      resurfacing arthroplasties. They examined the periprosthetic soft tissues of 52 revised
      MoM arthroplasties. They observed substantial necrosis in the tissue in 28 cases. In 45
      cases they describe a heavy, diffuse, inflammatory cell infiltrate. They interpreted their
      findings as indicating a spectrum of necrotic and inflammatory changes in response to the
      deposition of cobalt-chrome (CoCr) wear particles in periprosthetic tissues. The authors
      went on to state:

         “These Co-Cr particles have a high specific surface area, promoting the dissolution of
         these metal ions into surrounding tissues. These ions are known to induce apoptosis
         and necrosis of macrophages, the latter being seen particularly at high ion
         concentrations.”

      As a result of these studies going back to the 1970s, very fine metal particles were known
      to present a more challenging insult to tissue cells than polyethylene particles. The large
      number of metal particles represents a huge surface area as compared to polyethylene
      particles. Moreover, the metal particles can lose metal ions from the surface of the
      particle, whereas polyethylene particles cannot. Thus, it was reasonable for Biomet to
      expect that an increase in the number of particles by a factor of several thousand
      times for the MoM bearings, together with the extremely small size of the particles,
      would result in a more severe tissue reaction.

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      Thus, it was widely known even before Biomet began selling their MoM product
      offerings, and throughout the period that it sold the implants, that the Biomet MoM
      bearings would be producing extremely large numbers of mobile, toxic metal particles.
      Since a design objective in creating the MoM bearing product families was to provide for
      a longer implant life, Biomet should have been concerned about the cumulative effect
      of wear during the extended steady-state portion of its testing protocol. Thus, Biomet
      should have interpreted its wear tests by analyzing the rate of particle production
      when a steady-state wear rate had been achieved. Neither their testing protocols nor
      the data presented in promotional literature nor the data presented for regulatory approval
      considered that the steady-state particulate wear data was the appropriate comparative
      measurement. And, as stated previously, while the design objective was to produce a
      bearing that outperformed conventional MoP articulations, Biomet never presented a
      comparison of particle wear rate of their M2a-38 and M2a-Magnum MoM systems
      against the particle wear rate of their own RingLoc MoP products or their PPS
      OsseoTi and Finned PPS acetabular cups with ArCom and ArCom XL and/or more
      recently the Exceed ABT and G7 shells and E1 acetabular liners.

      There is a documented relationship between elevated Co ions, ALTR, immune system
      compromise and infection.

         Inflammatory and immune reactions - Wang et.al.97 (1996) identified that high Co, Cr
          or Titanium metal ion concentrations can impair immune response and cytokine
          release, suggesting that patients with an extensive exposure to the metals may
          develop immune dysfunctions. The compromised immune response induced by the
          metal ions from MoM wear debris can significantly contribute to an increased
          risk of infection in patients with MoM joint prostheses.
         Prieto et.al.98 (2014) reported that ALTR occurring in MoM THA can potentially lead
          to secondary failure modes such as dislocation or infection. The authors identified
          eight hips presented with acute delayed or late periprosthetic joint infection (PJI)
          (defined as an infection occurring after 3 months in an otherwise well-functioning
          implant). The rate of infection observed was higher than expected, almost 4 times
          higher (5.6%) compared to previous historical cohorts from our institution (1.3%).
         Cobalt ions are known to activate both innate and adaptive immunity pathways and
          are hence affected by genetic variability explaining different reactions among
          patients99 Toxicity responses are another facet of innate immune activation where
          apoptosis and hypoxia responses have been found to be induced by implant debris.100
         Granchi et.al.101 in 1998 discussed the cytotoxic effects of the extracts of chromium,
          nickel and cobalt because these metals find significant use in the manufacture of both
          dental and orthopaedic implants and their corrosion behavior has been associated with
          clinical complications, such as adverse tissue reactions and loosening of prosthesis
          components. High concentrations of cobalt and nickel are able to produce cell
          necrosis phenomena, whereas at low concentrations apoptotic phenomena prevail.
          The release of large amounts of nickel and cobalt could favor necrotic phenomena
          and the inflammatory reaction of the surrounding tissue.102
         Fleury et.al.103 in 2006 showed that Co(II) (0–10 ppm) and Cr(III) (0–150 ppm) ions
          induce cytotoxicity (cell death) and oxidative stress in human osteoblast-like cells.
         Mathiesen et al104 in 1991 reported on the corrosion of CoCr modular taper junctions.
          At revision surgery for four uncemented hip prostheses of modular design, tissue
                                                                                                    38
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          discoloration and macroscopic corrosion was identified at the head-neck junction.
          Histological examination in most cases showed extensive necrosis associated with
          metal particles, indicating metal toxicity. The crevice between the head and neck is
          a potential site of corrosion in modular designs. These authors also reported:

             “The toxic potential of cobalt-chromium has previously been demonstrated by
             several investigators (Mital and Cohen 1968; Pappas and Cohen 1968; Rae 1975,
             1981 ; Evans and Thomas 1986). The histological findings in our material are
             essentially similar to those reported by Evans et al (1974), Jones et al (1975), and
             Vernon- Roberts and Freeman (1977). Necrosis and histiocytic proliferation were
             common findings. In our material, however, obliterative vascular changes were
             less frequent. Clusters of metal particles were often found in areas of extensive
             necrosis and mononuclear infiltration was more frequent.”

         Samelko et al105 (2013) documented that cobalt-alloy, more than other metal implant
          debris (e.g. Titanium alloy), can elicit hypoxia-like responses that if unchecked can
          lead to unusual peri-implant pathologies, such as lymphocyte infiltration, necrosis and
          excessive fibrous tissue growths.

      Appendix B to this report identifies additional relevant literature concerning metal wear
      debris, CoCr wear, Co ions and the damaging effects.

      Cobalt and chromium particles are more toxic and cause more damage than
      polyethylene particles.

      Fluid Film Lubrication

      The issue of MoM bearing lubrication has been used as a justification for claiming that
      newer designs, better manufacturing processes, and improved metallurgy has made
      possible the reduction of wear by introducing lubrication into the bearing mechanism.
      From an engineering perspective as well as a functional perspective for all bearings and
      joints, lubrication is a desirable phenomenon. Appropriate lubrication can not only
      minimize wear, but indeed it can eliminate wear. In particular, the form of lubrication
      that eliminates wear is called, variously, thick film lubrication or full fluid film
      lubrication. In this mode of lubrication, the two bearing surfaces are completely separated
      by the lubricating fluid because the fluid is under sufficient pressure to support the load
      applied to the bearing. Since it is the fluid supporting the load, and there is no contact
      between the metal bearing parts, there is no surface abrasion or rubbing, and therefore, no
      measureable wear. Complete separation of the bearing surfaces by the lubricating fluid is
      achieved either by pumping lubricating fluid into the bearing under high pressure, such as
      occurs in the bearings in a car engine, or by the bearing spinning rapidly enough in one
      direction to squeeze the lubricating fluid in between the metal surfaces of the bearing. As
      will be noted, the purpose of creating a thick fluid film between the bearing surfaces is to
      eliminate bearing wear, obviously a desirable trait. It is entirely possible that a bearing
      might have a thick film lubrication for one portion of a cycle but not the entire cycle.

      Thus, if a bearing is non-moving, and it is carrying load, it will squeeze out all of the
      fluid lubricant and allow contact between the bearing surfaces. This occurs whenever a
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      patient who has a MoM bearing replacement in their hip joint stands stationary for a
      period of time and then starts to move. The joint surfaces will be in contact and the joint
      surfaces will thus experience wear. If the hip joint moves in one direction with enough
      velocity and through a large enough angle of rotation, then it is possible to drag fluid
      from within the joint capsule and spread it over the bearing surfaces. This will induce
      some lubrication, but may or may not result in a period of complete joint separation and
      thick film lubrication. Obviously, a patient cannot move the hip joint in one direction for
      very long or through an angle that approaches the coverage angle. Thus, lubricants cannot
      be dragged into the joint to cover the joint surface.

      The question then arises as to how we can determine whether a bearing is operating under
      thick film lubrication or has joint surface contact during its operational cycle. One
      method is to examine the surfaces of the bearing after it has undergone a series of
      realistic loading cycles and determine whether the surface is damaged because of motion
      during direct contact or whether the surface is undamaged because it has been separated
      by a fluid film. We can also determine if the bearing surfaces have suffered wear by
      measuring the volume of material that has been rubbed off the surface of the bearing.
      Obviously, a bearing that undergoes measurable wear cannot have been lubricated
      continuously with a thick-film lubrication. We might attempt to quantify the percent of
      the loading cycle during which thick-film lubrication occurs, but that is a difficult task
      considering the variety of activities, the speed of activities, and the duration of activities
      that a patient will engage in, since all of these factors will affect the nature and extent, if
      any, of the thick film lubrication. Remembering that the purpose of lubrication is to
      reduce wear, and the promise of thick-film lubrication is to eliminate wear, the most
      effective and realistic indication of the extent of thick-film lubrication is to measure the
      wear products produced.

      Physiologically Relevant Loading in Hip Wear Simulations

      MoM wear and performance are sensitive to activities (motion and forces), clearance,
      start/stop, microseparation and alignment. One criticism of many hip simulation in-vitro
      studies, such as those cited in the ASTM and ISO standards at the time, is that clinical
      failures are not always picked up due to the lack of ‘severe’ testing. To address this
      concern, many studies with more ‘severe’ wear conditions such as more severe load
      conditions106 (2004), intermittent loading (2006),107 joint microseparation (2000, 2002
      & 2008)108,109,110 and jogging have successfully created higher THA wear. For example,
      fast-jogging activities generated an eightfold to tenfold increase in mean MoM, wear
      compared with normal-walking simulations, and indicates a notable change in
      lubrication action compared with normal walking (2006).111 The publications showed
      increased wear (7x to 10x) under severe hip loading conditions for MoM devices. This
      increase wear was identified with the acetabular cups oriented in an ideal position for a
      MoM design which was equivalent to the generally accepted target of 45° of inclination,
      and not at clinically relevant extreme inclinations of about 60° to 65°, and not combined
      anteversion extremes. Later testing confirmed excessive wear in MoM articulations
      when the implants were sub-optimally oriented in high inclination and version angles.

      Among other things, there is also a need to mimic start and stop scenarios with MoM
      articulations because high start-up torque is common. There was no reason that more
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      physiologically relevant hip simulation testing could not have been done prior to initial
      commercialization of M2a-Taper, M2a-RingLoc, M2a-38, and M2a-Magnum MoM
      products.

      The pre-marketing simulator testing that Biomet conducted on its MoM bearing
      implants was performed using “best case” scenarios. Biomet’s laboratory testing of
      the wear properties of the MoM bearings consisted of gait simulation studies run using
      conventional test equipment programmed based on loading activities derived from
      normal walking of a lower weight and lower activity patient in Europe in the late 1970s.
      The test protocols were similar or identical to those found in ISO test standards.

      Numerous hip simulations were done or sponsored by Biomet using a walking gait for
      between 5Mc and 10 Mc in serum. But, in terms of load curves:
         (1) No testing was completed for jogging, stooping, lifting or other higher demand
             activities.
         (2) The forces applied by the higher weight North Americans were not considered.
         (3) Wear, friction, corrosion and fatigue were not evaluated under head separation or
             more vertical cup orientation (~ 55 to 65 degrees)

      Biomet’s test log sheet indicates that several gait cycle hip simulation wear test
      comparisons were completed for Biomet products as they were developed.[BMT-
      MM00554676]

      Note that:
          The M2a-Taper MoM was tested in serum (or mixed serum) at loads as high as
             2300 N( 517 lb) for 5 Mc (not 10 Mc) [BMT-MM00645610; BMT-
             MM00375613;BMT-MM00554547] under ISO 14242-1 walking load conditions
             (2300 N or 517 lb peak).
          The M2a-Magnum was tested using the Paul curve at loads up to 2000N (450
             lb)[BMT-MM00377029; BMT-MT00376696].
          The M2a-38 was evaluated using the Paul curve at loads up to 756N (170 lb) for
             10 Mc. K [BMT-MM00554547] and at loads as high as 2300 N( 517 lb) for 5 Mc
             (not 10 Mc)[BMT-MM00999390; BMT-MM010122014].
          In 1995 the wear testing was completed using the Paul curve at weight up to 756N
             (170 lb) for 5 McL. [BMT-MM01462778]
          Other testing was completed for 10 Mc, but no mention of fluid or loading.[BMT-
             MM04972414]
          Another test was completed for 10 Mc, and weight of 945 N ( 212 lb) was
             identified but no mention of fluid.[BMT-MM04972413] M


      K
        756 N (170 lb) may have been a patient weight that was multiplied by load curve for a peak closer to
      2268 N. Documentation mentioned “weight” vs total force unclear in spreadsheet.
      L
        756 N (170 lb) may have been a patient weight that was multiplied by load curve for a peak closer to
      2268 N. Documentation mentioned “weight” vs total force unclear in spreadsheet.
      M
        945 N (212 lb) may have been a patient weight that was multiplied by load curve for a peak closer to
      2835N. Documentation mentioned “weight” vs total force unclear in spreadsheet.
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      While steady state bearing surface wear can be characterized in a shorter 5 Mc hip
      simulation the durability of the other portions of the hip system relative to fretting
      corrosion or fatigue require longer tests under more physiologically relevant worst case
      conditions. Furthermore, increased load, increased speed, edge loading and start-stop
      scenarios (rest periods) increase bearing wear.

      In September and October of 2005 fatigue testing was completed on the M2a -Magnum
      taper interfaces with the device as fitted to a Taperloc Ti stem or a Gen 4 polished CoCr
      stem. A 10/10 component orientation was used for uni-axial cyclic loading. The load
      cycled between 120 and 1200 lb for 10 Mc per the ASTM F2068-03 recommendation.
      The product was unfortunately cyclically tested in open air at room temperature at 20 Hz
      or 25 Hz, and not in a fluid environment chamber at body temperature. So no corrosion
      effects were evaluated. [BMT-MM00024410/416, BMT-MM00024060/063, BMT-
      MM0024077/089] Similar testing was completed for another combination of products in
      2006. [BMT-MM00024066/072]

      Biomet initially completed a traditional hip simulation test of their M2a- 38 product in
      2001. The M2a-38 product tested at that time was manufactured from a cast low carbon
      CoCr per ASTM F 75. In 1995, prior to the MoM symposium, it was well known that
      high carbon CoCr , which was used for ball bearings, exhibited better wear characteristics
      than low carbon CoCr alloys.

      Several test facilities were used in addition to Biomet’s in house facility. [BMT-
      MM04973462; BMT-MM04973462] Some of these same facilities completed harsh
      condition MoM wear testing and published results for other MoM products documenting
      that MoM articulation wear significantly increased, and in some cases became run-
      away, under such harsh condition wear testing. One, Ian Clarke’s lab at Loma Linda,
      even completed head separation testing for Biomet’s ArCom XL bearings, but not the
      Biomet MoM bearings.

      On October 19, 2004, Biomet had completed the equatorial-pinch harsh-condition Hip
      Simulator Test MT3263. Prototypes were built specifically to create negative clearance
      and equatorial contact. (M2a-Taper heads and liners). Negative clearance of -17.3 to -
      24.9 μm was compared to the standard clearance for the M2a-Taper MoM devices (range
      of 33.3 to 49 μm evaluated).[BMT-MM04307679/7689] For almost the entire duration of
      the test, including the start-of-test frictional torque measurements, the drive belt on the
      Matco tester slipped at the high load portion of the cycle because of high frictional torque
      on the test stations. Thus, the motion was intermittent (stopstart) for all stations. Other
      general observations during the test included excessive vibration, leading to serum
      spillage and some minor squeaking.




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 Test #       Date Compl Name                          Description
 MT1002        6/25/1996 28mm MoM                      Hip Simulator Testing of Metal on Metal
                                                       Metal on Metal Hip Simulator Testing: Analysis of 38mm diameter Metal on
 MT2101        3/16/2001   MoM, 38mm                   Metal component at 5.5 million cycles
 MT2288        1/17/2002   MOM 46mm heads on 46mm cups Metal vs. Metal for 46mm and 56mm heads and liners
 MT2614       11/13/2002   MOM 56mm heads on 56mm cups Metal vs. Metal for 46mm and 56mm heads and liners
 MT2576        1/30/2003   Nitrogen Ion Implantation   Implant Sciences Nitrogen Ion Implantation: Process Validation
                                                       Hip Simulator Testing of CoCrMo Metal on Metal Components Created using
 MT2871       11/12/2003   MoM Metallurgy              different Material Manufacturing Processes
                                                       Hip Simulator Test With Standard Clearance and Equatorial Contact Metal
                                                       on Metal Heads and Liners. Analysis of 32mm M 2a ‐Taper Heads and
 MT3263       10/19/2004   OSMA MoM Negative Clearance Liners With Standard and “Negative” Clearance.
 MT3179        11/8/2004   AsCast CoCr                 Hip Simulator Test With High‐Carbon, As‐Cast ASTMF75 CoCrMo, MOM
                                                       Hip Simulator Test With High‐Carbon, As‐Cast ASTM F75 CoCrMo. Wear
                                                       Analysis of 46mm Resurfacing Heads and Cups Made From Doncasters and
 MT3179        11/8/2004   AsCast CoCr                 Biomet Fair Lawn High‐Carbon, As‐Cast CoCrMo.
                                                          A Comparison of COM and MOM Wear and Ion performance. Biomet Inc.
 Loma Linda     6/6/2007   COM                            32mm and 38mm Bearings(ceramics = CeramTec and Morgan Matroc).
 MT4228        9/18/2007   DoD, ISO conditions            28mm Diamond‐on‐Diamond Hip Simulator Testing, ISO conditions
 MT4445        9/18/2007   DoD, with distraction          28mm Diamond‐on‐Diamond Hip Simulator Testing, with distraction
 MT4240        12/1/2007   UNMC Exceed ABT COM            An in‐vitro durability study of the Biomet ceramic‐on‐metal total hip
                                                          Hip Simulator Testing of Arcom and ArcomXL as a Function of Bearing
                                                          Diameter, Wear Analysis of 28mm and 36mm Ringloc Liners Made from
 MT4384       12/14/2007 Arcom ArcomXL Brg Diameter       ArcomXL and 28mm and 32mm Ringloc Liners Made from Arcom
                                                          Biolox implants under severe microseparation (MSX) test mode, Ceramic on
 Loma Linda   ?          COC Draft Report                 Ceramic
 Test #       Date Compl Name                             Description
Figure 15: Biomet’s list of hard-on-hard product hip wear simulations from 1996 through 2007.
[BMT-MM00554676]

          The mean torque amplitude was about 5 times greater with equatorial contact vs. normal
          clearance, 20 to 21 Nm vs. 3 to 4.1 Nm. At test end (10,124 cycles) the mean mass loss
          was 24.4 times greater for the negative clearance equatorial contact condition. [BMT-
          MM04307683] These torque amplitudes are greater than the fixation strength of press fit
          acetabular cups. From these results it is clear that Biomet knew that the high torques
          and excessive wear would be generated in their MoM articulation under equatorial
          pinch conditions.

          While developing and testing their MoM products Biomet continued to develop and test
          their improved performance UHMWPe products, ArCom and ArCom XL. Based on the
          log sheets at least one harsh condition wear tests was completed by Biomet for hard-on
          hard bearing (MT3263, completed on October 19, 2004). Hard-on-hard bearings
          evaluated by Biomet included MoM, ceramic-on-metal(CoM), ceramic on ceramics
          (CoC) or diamond- like-carbon on diamond-like-carbon (DoD).In 2003 and 2004 Biomet
          evaluated MoM bearing which had high carbon content and were produced using varying
          manufacturing processes.

          Around 2007 Biomet provided sample hip systems featuring ArCom XL and ArCom
          UHMWPe products to Bowsher et.al.112 (Loma Linda, CA) for harsh conditions (head
          separation) wear testing. When mated to new Co-Cr heads, the ArCom XL liners
          showed a 47% reduction in volumetric wear a 13% reduction in wear particle size and a
          27% reduction in Functional Biological Activity (FBA) compared to the controlled
          device, conventional ArCom liners. On rough Co-Cr heads, the ArCom XL liners
          showed little advantage in terms of volumetric wear compared with the control. However,
          the ArCom XL liners overall showed a 38% reduction in FBA compared to the control
                                                                                                                                     43
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      owing to a larger volume fraction of larger particles. Thus overall the ArCom XL liners
      appeared to offer advantages in terms of reduced FBA indices.

      Biomet knew about head separation but did not investigate the consequences of it for
      their MoM products. In so doing, Biomet ignored evidence of MoM head separation
      reported in the literature using fluoroscopic video images and stripe wear evidence on
      MoM retrievals.




      Figure 16: Definition of superimposed 1.5 mm joint microseparation and fixture design
      used by Bowsher et.al. when comparing Biomet’s ArCom XL to ArCom conventional
      isostatically compressed GUR 1050 UHMWPe113.

      Biomet did MoM wear testing, but primarily ISO walking to 5.5 or 10 million
      cycles. The only harsh condition dynamic testing that was identified was for wear in a
      pinched head condition which revealed wear 10x greater than standard, and frictional
      torques 1.6 x higher [BMT-MM04307683/686], or head separation for ceramic on
      ceramic articulations (Loma Linda). Results for CoC head separation testing were not
      provided in the Biomet discovery set. In the peer reviewed literature Biomet sponsored
      head separation testing for MoP articulations at Loma Linda114, but not for their MoM
      articulations.

      In 2006 Biomet did replicate the work of Squire et.al.115 for static rim loading of the
      Magnum cup and the flexion caused by compressive perimeter loading of the Magnum
      cup in a range from 200N to 2000 N (45 to 450lbs). Under 450 lb load the peak
      deflection was about .003”. [BMT-MM0024186/202] In the Magnum cup series the
      diametral clearance was reported to be a minimum of .006” (152 μm), such that .003”
      (76.2 μm) clearance remained after deflection of the 60 mm Magnum cup tested. Note,
      however, that 450 lb is equivalent to 2.8 times the body weight of a 160 lb individual (the
      gait cycle load for a relatively light patient) and is too low to represent the peak force in
      gait in heavier patients, let alone other higher demand activities and sports. With high
      demand activities greater deflections are anticipated, especially when sub-optimally
      positioned cups edge load.

      Biomet recognized, or should have recognized, that the loading conditions used in their
      test protocols represented normal, average gait-induced hip loads. The testing did not
      replicate the varying activity cycles usually experienced by a patient, especially the
                                                                                                      44
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      young, active patient for which Biomet claimed its MoM implants were particularly well
      suited. Such activity cycles as getting out of chairs, stepping up or down a curb, turning,
      tying a shoelace, or other activities of daily living were not replicated. It is especially
      important to note the absence of testing cycles representing more strenuous activities
      since the return to a normal lifestyle.

      Wear & Head Separation in Total Hips: Tribology Considerations

      In total hip arthroplasty (THA), edge loading occurs when the head (ball) articulates with
      the rim of the acetabular cup as the patient ambulates or performs other activities of daily
      living (ADL). Edge loading is more common with more vertical cup positioning ( > ~
      45 in some implants with low arc of coverage), and in head separation events. Micro-
      separation mechanisms can lead to an edge loading type wear as the patient walks and the
      head moves relative to the cup, and even at rest. 116

      Stripe wear, a result of edge loading due to contact as a result of head separation. Stripe
      wear occurs when the contact area between the femoral head and the rim of the liner is
      reduced. The decreased contact area results in a loss of fluid film lubrication and
      increases contact stress and grain pullout from the head.

      Stripe wear, a result of edge loading due to either malpositioning or contact as a result of
      head separation, can also cause squeaking (or clicking or grinding sounds). Stripe wear
      occurs when the contact area between the femoral head and the rim of the liner is
      reduced. The decreased contact area results in a loss of lubrication and increases contact
      stress and grain pullout from the head. As the surface roughens, friction increases during
      weight-bearing articulation and may be involved in the etiology of squeaking bearings.




      Figure 17: Computer model of contact conditions and geometry at l5°of rollout with a
      45mm CoCrMo bearing (E:200GPa,v-0.3) with150°of coverage and a .025mm radius
      fillet on the rim. A load of 250N was used to predict the size of the elliptical contact with
      Hertzien contact analysis. The predicted elliptical contact resulting from these conditions
      (1.2 mm long and 0.2.1 µm wide) is depicted adjacent to an actual gouge on a retrieved
      component with matching dimensions.117



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      A recent hip simulator study concluded that activity was not as important as the presence
      of stripe wear in causing squeaking, and a clinical study of 10 retrieved squeaking
      ceramic components, revealed visible signs of edge loading wear on all 10 components
      and evidence of femoral neck impingement on six components. Impingement-created
      debris that enters the articulation has been suggested as another potential cause of
      squeaking.118(2008)

      Prior to about 1997 it was commonly thought that muscle tension was sufficient to
      prevent head separation in THA, even though the round ligament or ligament teres
      between the femoral head and the acetabulum ligament is removed in current/traditional
      THA procedures. By early 1998 head separation evidence was being presented at major
      meetings. [AAOS technical exhibit co-authored by Jorge Ochoa, DePuy]. And by 2002
      several fluoroscopy studies revealed that head separation in THA was common.

      In vivo THA head microseparation studies date back to publications in 1998119 and
      1999.120 Mallory et.al.121 (1999, 2000) documented that gait generated a maximum
      amount of separation of about 2.8 mm, while the minimum amount was 0.8 mm (average,
      1.2 mm). For abduction/adduction leg lift, the maximum amount of separation was 3.0
      mm, while the minimal amount was 1.7 mm (average, 2.4 mm). Lombardi et.al.122 (2001)
      and Dennis et.al. 123 (2001) demonstrated femoral head separation; averaging 3.3 mm
      (range 1.9- 5.2 mm). Due in part to the scatter and density of MoM devices, it had been
      reported by some that head separation was less or did not occur with MoM devices. But
      we know that this was incorrect. It was found that the imaging analysis methods used to
      detect head separation needed to adjusted for x-ray analysis of MoM vs. MoP. A
      method based on Generalized Hough Transform (GHT) was developed and used to
      detect a geometric shape, which can be expressed parametrically, such as a circle or an
      ellipse. Using this Mohfouz et.al.124 in 2003 confirmed fluoroscopically that head
      separation occurs in MoM patients. Later Underwood et.al.125(2011) also documented
      MoM THA head separation at rest and during gait.

      Nevelos et.al.126 (2000), Fisher et a 127 (2002) and Brown et.al.128 (2007) conducted
      head separation wear studies in the laboratory.

      Head separation occurs routinely, even in MoM articulations. Sufficient head
      microseparation leads to stripe wear, excessive wear and elevated Co ions. Head
      separation occurs during ambulation. In hard-on-hard bearings, head microseparation, a
      common occurrence, introduces increased risk of stripe wear third body damage wear. In
      alternative THA products with ultra-high molecular weight polyethylene (UHMWPe)
      acetabular components (MoP or CoP) head microseparation does not induce induced
      excessive wear or damage to the CoCr or ceramic heads.

      Biomet promoted the use of the of M2a-Taper, M2a-RingLoc, M2a-38, and M2a-
      Magnum MoM product solutions for young and active patients. Biomet did not warn of
      the increased risk of excessive wear and metalosis due to due to head microseparation
      which is a common occurrence following THA.

      Biomet completed wear testing which was not worst case because it was not done under
      foreseeable worst case physiologic load conditions replicating the target younger and
                                                                                                  46
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      more active patient population in terms of force vectors, force magnitudes, effects of
      head separation and foreseeable sub-optimal implant positioning such as high abduction
      angles or suboptimal combined version.

      Thus, Biomet’s test results should be viewed as a “best case” result because of the
      relatively modest loading conditions, the lack of variety in the activities chosen for
      replication in the test protocol, failure to include head separation effects, and the
      inclusion of a cleaning cycle to remove particulate debris and, hence, minimize third
      body wear. It is my opinion that with the realization of these factors, the wear test
      results would have to be considered as being “most favorable” or “best case” to the
      portrayal of a low-wear bearing.

      Further, Biomet’s simulator testing of their MoM bearings showed that the bearings
      generated an unreasonably dangerous number of metal particles, even using best-
      case test scenarios.

      Since smaller particles are more likely to be cytotoxic than larger particles, Biomet knew
      (or should have known) that the combination of a greater number of smaller particles
      would likely produce a worse clinical outcome.

      Biomet performed several simulator tests on various iterations of the Biomet RingLoc
      and M2a MoM bearing families both before and after it began marketing the implants.
      These tests consistently showed that, even when using best-case conditions in a
      simulator, the MoM components produced significantly more particles than MoP
      implants. The tests also showed that the number, size, and shape of the particles
      generated was more than sufficient to raise serious concern about the biologic reaction to
      the particle load that would be generated in the patient. In addition, the variability in the
      amount of wear produced in these tests indicates that the wear characteristics of the
      Biomet M2a-38 and M2a-Magnum MoM bearing families were variableN.

      There are a multitude of factors that influence bearing wear both in-vivo and in the
      laboratory. In the laboratory Isaac et.al.129 (2006) found that a decrease in clearance led
      to a reduction in wear, particularly in the running-in phase. Bowsher et.al.130 (2006) in a
      more ‘severe’ wear test found bearings with the smallest radial clearances generated the
      greatest variability, causing the lowest and second from highest wear of all bearings they
      tested.

      The role of diametral clearance in THA lies in the establishment of elastohydrodynamic
      lubrication between the femoral head and acetabular bearing surface in MoM device
      designs.131,132,133 In a tribologic study of MoM performance in a hip simulator, Dowson
      et.al.134 recommended femoral heads be as large as possible with minimal diametral
      clearance to establish a scenario of mixed-film lubrication. Leslie et.al.135 found that
      after about 7 million cycles, there was no significant difference in the steady-state wear
      of smaller vs. larger bearing couples. Similarly, in another in vitro study, Rieker et.al.136
      showed maintaining a lower diametral clearance produced lower amounts of run-in wear
      compared with cups having relatively high diametral clearances.

      N
          performed by Biomet or their consultants
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      If the simulator testsO were an accurate reflection of clinical performance, then in any
      patient population we would expect some patients to have high wear rates while other
      patients experience the lower measured wear rates. But even the lowest measured
      laboratory wear rates reflect the production of many times the number of particles
      required to induce tissue necrosis, meaning that performance variability would
      merely predict that some patients would experience negative clinical outcomes more
      rapidly than other patients.

      The volume of metal released from the wear of the CoCr articulation in the Biomet
      M2a family of products was more than sufficient to result in toxic local
      concentrations of a combination of nm size fretting wear debris and nm size Co2+
      ions and other corrosion by-products in the peri-articular (local) tissues in THA
      patients.

      The fact that MoM bearings produced not less or even an equal number of wear particles
      – when compared to MoP bearings – is a direct indication of a failure to achieve the
      design objective. That the actual results showed the particle count of the MoM bearings
      was many times higher than that of the MoP bearing should have been a direct and
      conclusive warning that the design objective concerning the elimination of biological
      reaction to particulate debris was not achieved

      Design Factors Influencing MoM Articulation Wear

      Several design factors influence the wear of MoM articulations. Among these are arc of
      coverage, clearance and the carbon content and processing of the CoCr alloys. Surface
      smoothness and head diameter also have an effect.137 Specifically, increased surface
      roughness increases wear. Smaller clearance between the head and cup decreases wear
      under ideal laboratory conditions however, too little clearance may induce jamming.
      Wear rates tend to be lower as minimum film thickness increase. Conversely,
      components with low clearance generally have larger contact areas, increasing the risk of
      edge loading in vivo when the cup is implanted in abduction.138 With the increased cup
      angle, the contact area moves toward the edge of the cup where contact stress is much
      higher. The increased contact stress produces high wear and head reentry following
      separation exacerbates this situation. Thus, cup designs with greater arc of coverage are
      less sensitive to cup malpositioning. Devices using low carbon content produce greater
      wear than bearings with high carbon content.

      The Biomet M2a product clearance and bearing material couples evolved over time.
      Biomet initially specified lower clearance on products, and wrought acetabular bearing
      surfaces. In later products the clearance increased and the acetabular bearing surface
      changed to a cast CoCr alloy. (Figure 18)

      Dave Schroeder testified:


      O
          Tests performed by Biomet, their consultants and by researchers cited in Biomet’s technical brochures
                                                                                                                  48
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         The materials on the M2a-Taper were wrought heat treated material and on the M2a-
          Magnum as-cast materials. [DS 28]
         The diametral clearance was different between the M2a-38 and the M2a-Magnum
          due to the difference in the head diameters.[DS 28,29]
         Optimum clearance depends on the diameter of the components to some degree.[DS
          91]
         A larger component has a larger as-manufactured-clearance so it does not deform so
          much that you get contact at the rim. Too much deformity could change the bearing
          contact.[DS40]
         The safe clearance range for M2a-Magnum is the range of about 150 to 300m. Can
          go down to about 75m. Below 75m that , possibly somewhere in the
          neighborhood of roughly 25 to 50 m the wear rates start to go up. He’d need to
          review the design file to answer more specifically. [DS 76]

      Clearance

      The first generation McKee total hip replacement failed within 8 years in almost
      50% of the cases. The problem with these and other earlier prostheses was the
      inaccurate dimensional accuracy of the implants causing high friction between the head
      and the cup because there was sticking, causing loosening of the cup. If there was too
      much clearance, the contact surface of the force transmitting surface was too small, and
      there was considerable wear.139

      Surviving MoM articulations based on retrieval of early MoM had diametral clearances
      between about 100 and 300 µm (microns).140,141 Based on literature citations and wear
      testing identified in their development files Biomet knew or should have known the
      clearance that needed to be maintained to achieve consistent low wear.

      Wear testing under ideal laboratory conditions by Biomet and by other researchers
      revealed that wear of some MoM head sizes may be minimized with diametral clearances
      as low as 50 μm. However, the diametral clearance of the final implant must also be
      sufficient to allow for reasonably foreseeable conditions such as edge loading due to cup
      positioning or head separation and cup asphericity due to cup deformation during press fit
      fixation or high demand loading, and to better accommodate third-body particulates.

      McKellop et.al.142 (1996) reported that the wear rate of retrieved McKee-Farrar tended to
      increase as the clearance increased over the range of 127 to 386 m, and that a McKee-
      Farrar prosthesis with the extreme clearance of 1700m wore approximately 16 times
      faster than the average. Dowson et.al.143 from MoM simulator studies of modern MoM
      showed that a diametral clearance of between 254 and 307 microns results in
      dramatically higher wear than a comparison bearing with a diametral clearance of 83 to
      129 microns. (Biomet cited Dowson in their Design rationale for the M2a-Magnum.P)
      and yet Biomet choose the larger diametrical clearance for their M2a-Magnum, a
      clearance close to that found on the few longer lasting McKee devices.

      P
       M2a-Magnum Large Metal Articulation Design Rationale, Form No. 8010340.0.,
      REV08l509 ©2009.

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      When the tolerances of the M2a-Magnum were opened up from those identified as ideal
      in the laboratory they became closer to those that were found in the first generation of
      MoM prostheses that performed so poorly.

      A potential consequence of the press-fit technique is acetabular component deformation
      secondary to forces encountered during insertion.144 Thin-walled acetabular cup designs
      are advantageous in that they offer the ability to preserve bone stock while
      accommodating larger femoral head sizes for increased range of motion ( ROM), lower
      volumetric wear rates,145,146 and reduced likelihood of femoral head
      dislocation.147,148,149,150 Thin-walled press-fit acetabular cups, however, are susceptible to
      substantial deformation after implantation.151,152,153,154,155,156,157 Clinical and cadaveric
      investigations have described component pinching between the ischial and ilial columns
      after press-fit implantation of thin-walled acetabular cups, resulting in deformation of the
      acetabular cup in under-reamed specimens. This deformation could be accompanied by
      increased micromotion at the bone-implant interface or lead to an increase in wear due to
      induced changes in component sphericity, degradation of fluid-film lubrication, or
      induced equatorial contact.

      Some thinner walled monolithic acetabular shells in MoM systems experienced
      sufficient deformation to result in seizing of the MoM articulation (negative clearance)
      and frictional forces sufficient to cause excessive cup motion and loosening. In a retrieval
      study, Grimes et.al.158 (2011) demonstrated that negative clearance was found in
      retrieved MoM bearings, including one out of the six M2a-Magnum explants they
      inspected. In thinner-walled press fit monolithic cups sufficient clearance must be
      provided to prevent such seizing. One downside of having diametral clearance below
      ~100 m becomes apparent when the MoM system includes a thinner monolithic CoCr
      acetabular cup as found in the M2a-Magnum and certain thinner walled sizes (smaller
      diameters) of the M2a-38 and M2a-28. Unlike the slightly lower clearance allowed in its
      predecessors, the 100 to 150 m diametral clearance in the Magnum product design
      reduced the risk of high frictional torque and seizing due to cup deformation during press
      fit insertion.

      Biomet should have recognized that the differences between the conditions for ball
      bearings used in a more controlled machinery environment as opposed to the more
      variable conditions found in the human hip precluded them from realistically achieving
      the goal of reduced biological reaction to wear particles. The increased number of more
      biologically reactive nano-CoCr debris particles generated from Biomet’s MoM caused
      elevated serum and hip aspirate ions resulting in early poorer performance and severe
      types of ALTR in MoM patients.

      Review of the original M2a-38 prints in the DHF show that the diametral clearance was
      specified to be between 50.8 microns and 152.4 microns (.002” to .006”) in 2001 for the
      flared cup [BMT-MM00023272, 298] and between 50.8 microns and 177.8 microns
      (.002” to .007”) for the non-flared cup in mid-2003 [BMT-MM00020294, BMT-
      MM00023272]


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      Review of the prints for the high carbon version of the M2a-Taper and RingLoc 28 and
      32 mm prints in 2004 indicate a diametral clearance between 50.8 microns and 152.4
      microns (.002” to .006”).[BMT-MM00023550, 558, 569,567, BMT-MM01287796, 7803]

      Prints for the M2a-Taper (28 mm articulation) show a head spherical diameter of 1.097”
      to 1.100” [BMT-MM00005127/5133] , and a liner radius of .551” to .552” [BMT-
      MM00005134] ( Liner spherical diameter of 1.102 to 1.104”. ) The allowed diametral
      clearance for the M2a-Taper product at the time of the 510k ranged from .002” to .007”
      or 50.8 to 178 microns. Testing reported in the M2a-Taper 510k submission reported 4
      different and much larger diametral clearances in the products tested, a clearance ranging
      from 157.5 to 269 microns. [BMT-MM00004906-5554 - M2a-Taper 510(k) K993438
      Page 421]

      For the 32 mm and the 38 mm design, products at extreme and in the mid-range of
      clearance were tested. (25.1 to 84 microns of radial clearance or a diametral clearance of
      50.2 to 168 microns) [BMT-MM00024118; BMT-MM00024123; BMT-MM00024125]

      The 2009 Biomet M2a Magnum Design Rationale states the following: Q

                “The radial clearance level of the M2a-Magnum™ articulation is maintained at
                75 –150 micronsR to capture the ideal amount of fluid lubrication and space for
                debris removal”

      In a letter to the FDA in response to an August 22, 2008 letter, Biomet stated that the
      clearance of the Recap resurfacing system is identical to that found in the M2a Magnum
      product line.[BMT-MM04360547]

      Biomet’s 2010 publicationS, which was released during the FDA hearings, The
      Performance of Modern All-Metal Bearings, states the following:

           “The diametral clearance of the M2a-Magnum System is 150-300 microns compared
           to 70-100 microns with the ASR XL Systems.”

      In the 2010 publication, Biomet claimed that its MoM constructs have a lower adverse
      incident rate than the industry average. Biomet stated its large diameter MoM design, the
      M2a Magnum, is designed differently than other MoM implants claimed to be more
      problematic, and claimed the survival rate for its implants is better than the others. The
      difference stated was that the acetabular shells are fully hemispherical, the taper/head
      adapter is a closed back design and the diametral clearance is higher than the others at
      150-300 microns.

      Review of the design documents for Large Diameter Metal/Metal Femoral Heads notes
      varying levels of head/cup radial clearance depending on the specimen tested: 76.2 to

      Q
          2009 Biomet Orthopedics _ M2a-Magnum™ Large Metal Articulation Design Rational
      R
          Diametral clearance of 150 to 300 microns.
      S
       Performance of Modern All-Metal Bearings, Form No. BOI0440.1 , REV041510 ©2010 Biomet
      Orthopedics, biomet.com
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      152.4 microns (Magnum) T,U; 25.4 to 63.5 micronsV; 53 to 218 micronsW. Other testing
      showed that the radial clearance ranged from 25 to 247 microns depending on size of
      component,X and 25.4 to 72.9 microns for 32 mm articulations.Y
      The clearance in earlier Biomet designs, including the M2a-Taper, M2a-RingLoc and M2a
      -38, were at some time somewhat lower than the clearance used in the M2a Magnum,
      and comparable to and in some cases even lower than the clearance in the DePuy ASR XL
      and Pinnacle articulations.




      [BMT-MM00024100]

      Biomet’s Clearance varied over time in the product families, and possibly with time.
      The M2a-38 products diametral clearance was between 50.8 to 152.4 or 50.8 and 177.8
      microns for the non-flared cup (radial clearance between 25.4 and 88.9). Low
      clearance MoM hips have a more conformal contact and therefore a larger contact
      patch. This decreases the distance between the edge of the contact patch and the rim of
      the cup, thereby increasing the risk of edge loading and higher wear. For these
      reasons, M2a MoM articulations with a diametral clearance below 100 microns is a
      design defect.159,160

      In the M2a-Taper, M2a-RingLoc, and M2a -38 articulations allowance of a radial
      clearance of less than 50 microns or a diametrical clearance of less than 100 microns
      is sub-optimal considering that the likelihood of acetabular cup deformation and the
      foreseeable in vivo events of head separation, edge loading and third body ingress,
      entrapment and thirdbody wear.

      Similarly larger clearances are sub-optimal due to increasing wear.

      Regardless of the specific clearance used by Biomet in its M2a product family,
      Biomet’s laboratory wear testing indicates that extremely high numbers of CoCr
      wear particles are generated even in the best case scenario.

      The body is incapable of handing the biologically reactive CoCr particle-load as
      measured for Biomet’s MoM hips under ideal laboratory conditions, regardless of
      the design.

      T
        BMT-MM00023844 Radial Clearance; Diametral Clearance of 152.4 to 304.8 microns
      U
        BMT-MM00024100 Radial Clearance; Diametral Clearance of 152.4 to 304.8 microns
      V
        BMT-MM00023847 Radial Clearance; Diametral Clearance of 50.8 to 127 microns
      W
        BMT-MM00024180 Radial Clearance; Diametral Clearance of 106 to 436 microns
      X
        BMT-MM00024130 Radial Clearance; Diametral Clearance of 50 to 494 microns
      Y
        BMTMM00024118 Radial Clearance; Diametral Clearance of 50.8 to 145.8 microns
                                                                                                52
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      Figure 18: Keith Berend MD
      described the evolution of the
      characteristics of the Biomet MoM
      products he used in a presentation
      entitled “Metal-on-Metal:
      Hypersensitivity and Failure” dated
      2012.[BMT-MM00654705,708,712]

      Note the evolution in clearance,
      manufacturing processes and Carbon
      content. For designs 1 and 2, prior to
      2004 the carbon content was not
      specified to be high carbon and was
      likely lower carbon. Design 3,
                                                  Design 1 :(M2a –Taper) Titanium shell with CoCr
      Magnum, was only specified to use a
                                                   tapered insert, 28 or 32 mm heads;
      high carbon CoCr. In appx Nov 2004
      designs1 was switched to high               Design 2 : (M2a –38) CoCr monoblock shell with
      carbon.                                      plasma sprayed titanium; constant 38 mm heads;
                                                  Design 3 : (M2a –Magnum) CoCr mono block shell (3
                                                   mm thickness) with plasm sprayed titanium; anatomic
                                                   heads ((40-60 mm)

      Arc of Coverage and Cup Position

      The revision rate of large head metal-on-metal and resurfacing hips are significantly
      higher than conventional total hip replacements. The revision of these components has
      been linked to high wear caused by edge wear or edge loading. One type of edge loading
      occurs when the head-cup contact patch extends over the cup rim, which results in a large
      increase in local contact pressure, disruption to the lubrication mechanism and increases
      wear rate at the cup rim.

      The currently accepted risk factors for edge
      loading are small head size, low cup articular
      arc angle (CAAA) (the angle subtended by
      the bearing surface of the cup, as shown in
      the figure on the right and insufficient or
      excessive cup inclination and version angles.
      Low clearance is also a risk factor for edge
      loading in hips because low clearance hips
      have a more conformal contact and therefore
      a larger contact patch, which decreases the
      distance between the edge of the contact
      patch and the rim of the cup, thereby
      increasing the risk of edge loading and          Figure 19: The cup articular arc angle (CAAA) (the
      higher wear.161 (Underwood et.al. 2012)          angle subtended by the bearing surface of the cup



                                                                                                      53
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      Clearance should be small enough to
      encourage lubrication and, thus, low wear
      but large enough to ensure a polar contact,
      minimizing the frictional torque of the
      bearing. If the contact area of the bearing is
      larger than a solid angle of 60°, the
      frictional torque rises very steeply.
      Frictional torques, which also increase with
      head diameter, and at start- up, contribute
      to head-neck taper junction motion, fretting
      and corrosion and may lead to a
      mechanical loosening of the components.
      The arc of coverage for the M2a-38 is
      nominally 157.4Z

                                                       Figure 20: CAAA for various MoM THA products
                                                       as shown in Griffin et.al.162

      The M2a-38 CoCr cup and mating heads are defective in combination because the arc of
      coverage was sub-optimal, allowing conformal contact.

      The combination of low clearance, sub-hemispherical arc of coverage and the failure to
      instruct surgeons to implant this cup more horizontally (< 45) to minimize the risk of
      edge loading is, in combination, a design and warning defect of the M2a-38 MoM
      product.

      Carbon Content

      Chan et.al.163 in 1997 later reported that a low carbon (<.05% C) wrought material
      yielded much higher wear than high carbon (>.20% C) materials, whether wrought or
      cast.164 Tipper et.al.165 in 1999 reported the lower wear volume from high carbon CoCr
      articulations. When low carbon specimens were paired with high carbon specimens the
      total wear decreased compared to the low/low pairings. The use of differential hardness
      had a beneficial effect. However it was concluded that the high/high carbon produced the
      lowest wear rate.

      Biomet should have been aware of the wear benefits of high carbon in the CoCr alloy in
      1999 or 2000, and Biomet should have used a high carbon CoCr alloy in their MoM
      products at that time to reduce metal wear debris and metal ions. Failure to do so is a
      design defect which contributed to excessive wear of their earlier products, resulting in
      pain, adverse soft tissue reactions, inflammatory fluid collections, acetabular bone
      destruction and premature revision surgeries.




      Z
          Calculated from prints[BMT-MM00020292,304].
                                                                                                  54
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      Excessive CoCr Modular Junction Corrosion

      In modern total hip stems the heads are modular. The connection of the femoral head to
      the neck of the femoral stem is made through a connection known as a “taper.” This taper
      connection consists of two parts: (1) the male “trunnion” which is on the neck of the
      femoral stem, and (2) the female “taper bore” that is in the base of the femoral head.
      Some of the Biomet femoral heads had taper adaptors.

      Locking taper junctions between modular components of total hip prostheses have been
      in use for more than three decades. During this time, results from research studies have
      identified five main factors as regulating the severity of wear and fretting corrosion, the
      main undesirable complication in the use of these junctions. These factors are: (1) the
      tolerance of the dimensions of the mating surfaces, (2) the roughness of the mating
      surfaces , (3) the overall length-to-diameter ratio of the taper, often measured as the
      flexural rigidity, which controls the motion of the trunnion relative to the taper
      bore, which in turn controls the fretting, (4) the diameter of the femoral head, which
      together with the friction of the articular surface controls the torsional load and hence
      interface stresses and motions within the taper junction, and (5) the choice of material
      combinations.

      Big CoCr femoral heads and MoM articulations have increased risks of excessive taper
      corrosion and ALTR reactions to this corrosion. If there is no or reduced lubrication
      between the metal head and metal liner, this may increase the wear and hence the
      roughness and the friction between the femoral head and liner. Similar to start-up friction,
      this increased friction at the metal bearing would lead to increased torque and an increase
      moment on the taper junction when attempting to move the hip and thus may increase the
      corrosion process at the taper.

      In 1995, Brown et.al.166 stated:
       “There have been several recent reports of corrosion of modular hips. Corrosion of an
          all cobalt alloy system led to severe tissue reactions.”
       “Repetitive motion leads to fretting corrosion and continuous breakdown and
          repassivation of the protective oxide layer. Repeated breakdown and repassivation
          consumes the oxygen in the crevice, which promotes the initiation of crevice
          corrosion and a subsequent dramatic drop in local pH within the crevice.”
       “Laboratory studies showed that longer head neck extensions may be more
          susceptible to fretting corrosion because of an instability at the interface.”

      Wear of the modular taper between head and shaft has been related to clinical failure
      resulting from adverse reactions to metallic debris. The occurrence of mechanically
      assisted fretting corrosion at the modular neck interface in total hips has previously been
      reported in the literature in laboratory studies167,168 as well as in a multicenter retrieval
      study. 169 In a controlled study, Garbuz et al170 out of Vancouver reported that the serum
      cobalt is 46 x higher in a MoM THA with a modular bearing compared to a resurfacing
      MoM, with the increase coming from the modular taper. 171 MoM patients are likely to
      have corrosion outside of the taper junction. So by adding a new interface the metal ions
      increase.172,173 Because corrosion worsens with time, there is concern that MoM ALTR
      failures will increase with longer implantation times.
                                                                                                      55
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      The occurrence of fretting and corrosion at the modular neck interface in total hips has
      been reported in the literature in laboratory studies174,175,176,177 (1995, 2003, 2004, 2009)
      as well as in a multicenter retrieval study.178 (2002) These retrieval studies found severe
      fretting corrosion in a substantial number of neck tapers.

      Reports of excessive modular taper corrosion in hip implants featuring large heads and a
      reduced taper length found in some manufacturer's implants was reported by Langton et
      al.179,180 (2014). Engh et al181 reported that 58 % of the MoM patients revised secondary
      to adverse local tissue reactions (ALTR) had severe to extreme taper corrosion.

      Thus, concerns of raised metal ions in MoM THA or hip resurfacing have been extended
      to all types of modular hip prosthesis using a cobalt–chromium neck segment.182,183,184 In
      retrieved modular connections solid corrosion products are found deposited at two
      locations, within the crevice formed by the bore and the tapered neck, and at the opening
      of the crevice around the rim of the bore and on the neck of the prosthesis. The nature of
      the corrosion products differs at these two locations. In the crevice mixed oxides and
      chlorides of chromium, molybdenum, and in CoCr/Ti6AI4V couples, some titanium.
      The corrosion product around the opening of the crevice is typically an amorphous
      chromium orthophosphate hydrate-rich material. This corrosion product consists
      primarily of chromium, phosphorous, and oxygen , however variable concentrations of
      calcium, molybdenum, titanium, or cobalt are often present.185

      In THA when CoCr taper corrosion occurs there is differential elevation of cobalt relative
      to chromium leading to an increase in Co/Cr ratio. The relatively higher values of cobalt
      versus chromium have been seen in CoCr modular neck taper corrosion studies, such as a
      mean of 5:1 in Lanting et al 186, a mean of 2:1 in Jacobs et al187 and as high as 10:1 as
      summarized in Kwon et al188. The mechanism that leads to differential elevation of
      cobalt relative to chromium remains poorly understood. It has been hypothesized that, in
      contrast to MoM bearing surface wear, the predominant ion release at the modular taper
      junction may be a chemical corrosion process that involves chromium precipitating as
      chromium orthophosphate and more soluble cobalt dissipating as free ions.189

      In spite of the corrosion and metal transfer seen, the ion levels seen in the cases of
      modular neck THA that require revision are relatively low compared to MoM patients
      who require revision. However, metalosis and significant soft tissue destruction are seen.
      Lanting et.al.190 noted that corrosion in the crevice of the neck/stem junction results in
      low pH conditions which are favorable to the formation of hexavalent chromium191.
      Hexavalent chromium is known to be more toxic than trivalent chromium192,193,194

      ALTR resulting from tribocorrosion of modular CoCr tapers is similar to that caused by
      MoM wear debris and can masquerade as instability, infection or component loosening.
      In taper corrosion, the symptomatic patient’s metal levels are elevated, generally a few
      ppb less than in patients MoM195, and the Co is disproportionate to Cr, and the elevated
      Co correlates with greater offset and younger age. 196 There are additive effects from
      tribocororsion at multiple junctions (head- taper adapters, head-neck, neck-stem, metal
      liner-metal shell, and MoM articulations). ALTR can occur in either intra or
      extracapsular regions.
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      The literature has reported a link between taper corrosion and ALTR, increased head size
      and taper damage, increased offset and taper interface fretting and corrosion. Higgs
      et.al.197 indicated:
          “An analysis of component and patient variables revealed that dissimilar alloy
          pairing, larger head sizes, increased medio-lateral offsets and longer neck moment
          arms were all associated with increased taper damage at the modular interfaces.”

      MoM debris and fretting corrosion from any CoCr head taper junction can elicit a
      response from the immune system. Fretting corrosion from the smaller tapers used in
      in the M2a-Taper , M2a-38 mm, and the smaller 38mm and 40 mm diameter M2a-
      Magnum head MoM articulations have a somewhat higher risk of this corrosion due to
      the smaller taper size ( Type I or 12/14) and greater stress and micromotion at those
      junctions. MoM CoCr taper junctions are at greater risk greater fretting and corrosion due
      to the increased micromotion and stresses generated by the frictional torque at the MoM
      bearing interface.

      MoM taper junctions generate additional CoCr wear debris and Co ions due to
      corrosion which contributes to elevated metal ions and the destructive adverse
      local tissue reactions (ALTR) and immune response.

      Taper Corrosion - Low Volume Wear, High Local Ions

      The corrosion on some CoCr head taper connections has been reported to be at least
      moderate to severe in patients with CoCr modular heads.

      Modular taper connections used with MoM articulations are more susceptible to
      mechanically accelerated fretting corrosion, crevice corrosion, and trunnionosis, due to
      the higher friction torques generated, especially when big femoral heads ( > 32 mm ) are
      used. High mechanical stress occurs secondary to eccentric loading of the head-neck
      junction. The inflammatory response to Co ions generates reactive oxygen species which
      exacerbates the situation by further accelerating corrosion of CoCr in the taper junctions.
      Low modulus taper connections as in the Biomet Type 1 taper deflect more and are for
      that reason subject to more fretting and more fretting corrosion by design than a larger
      diameter taper cone with a similar surface finish.




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      Figure 21: Various taper types
      evaluated in a retrieval study at one
      center in London, Canada, where all
      hip products retrieved between 1999
      and 2015 were reviewed .198 (ORS
      2016) A: Smith & Nephew 12/14; B:
      Smith & Nephew 14/16; C : DePuy
      12/14; D: DePuy 11/13; E: Stryker
      v40 11.3Ø; F Stryker 538’37”; G:
      Stryker 614Ø; H: Zimmer 12/14; I
      Biomet Type 1 (Orange Arrow).




      Corrosion has been identified in the bore of M2a-38 femoral heads with Type 1 tapers.

      The Type 1 taper found in some Biomet MoM products such as the M2a-38 is smaller in
      diameter and longer than other tapers. It has long been known than the more flexible the
      taper connection was (in bending) the greater the potential for fretting and fretting
      corrosion. Goldberg et.al.199 (2002) documented that the combination of dissimilar
      alloys, metallurgical condition of the alloys, implantation time, and flexural rigidity of
      the femoral neck were predictors of corrosion of the neck and head. Some Biomet stems
      have lower stiffness necks and tapers. In many cases dissimilar metals are used. A
      Ti6AlV stem is fitted to a CoCr Monolithic head in the RingLoc, M2a-28, M2a-38 and
      M2a-Taper product families.

      Goldberg et.al.200 also stated that lateral offset was a predictor of corrosion; however, this
      factor did not have an effect when the confounding factors of flexural rigidity and
      implantation were considered. Implantation time and dissimilar alloys were also
      identified as important variables in a related retrieval study by Collier et.al.(1992)201
      Biomet should have known that the M2a-38 mm MoM articulation combined with their
      more flexible Type 1 metal-metal modular taper junctions introduced new risks of
      severe soft tissue destruction and ALTR due to excessive CoCr wear and excessive local
      Co ions. Variable taper corrosion performance is expected at the taper junctions due to
      differences in the BioMet MoM products and stems designs and the combinations in
      which they are used. For example, the larger diameter M2a-Magnum heads may have
      less taper corrosion than other M2a MoM heads because the CoCr/Ti6Al4V taper
      connection is larger and stiffer due to the head modularity which features a Ti6Al4V
      taper adaptor in a spherical CoCr shell.

      Goldberg et.al.202 concluded that material combination, increased implantation time, and
      decreased relative flexural rigidity of the femoral neck were all shown to have negative
      effects on the in vivo modular taper corrosion seen in their retrievals. They concluded
      that increasing neck rigidity (by decreasing the head/neck ratio) would reduce corrosion.
      This was not done by orthopedic implant manufactures, purportedly because of concerns
                                                                                                       58
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      of negative effects on range of motion and joint stability. In fact, the opposite was done:
      head size was increased, whereas neck flexural rigidity remained the same or even
      decreased as increasing head/neck ratios became more important to improve range of
      motion and increase stability.

      Fricka et.al.203 more recently (2012) concluded that this would make the corrosion
      situation worse by increasing the stresses and head/neck moment arms about the taper by
      placing a larger, stiffer femoral head on a relatively flexible neck. Fricka also suggest
      that a potential problem that may affect taper stability in MoM interface is the extent of
      lubrication at the bearing surface due to increased frictional torque as a result of wear
      processes. Fricka et.al. also examined both MoP and MoM heads for taper corrosion.
      They found that most of the MoM heads had severe or extreme corrosion, but the vast
      majority of the MoP heads had no corrosion or only mild corrosion. All 11 of the MoM
      heads that were revised for ALTR had severe or extreme corrosion. They also found that
      as more time went on, the mean corrosion in the MoM group would increase, but there
      was no correlation between implant time and corrosion in the MoP group.

      Surface finish: Variations in the surface characteristics of the trunnion will directly reflect
      on the interface at the taper junction and can influence the likelihood of subsequent wear,
      corrosion and longevity of the implant.




      Figure 22: 3D surface topography images from the optical profilometer of the threaded
      trunnions the Profemur (a), Secure-fit Max (b), and the unthreaded SROM (c), and the
      Taperloc (d) trunnions.204

      A threaded surface is designed to accommodate multiple bearing surfaces, mainly to
      allow the conjunction of metal stem on a ceramic femoral head. The impaction of a
      ceramic head flattens the threads creating a customized tight fixed taper junction. The
      periodic contact points of the threads on the trunnion against the bore allow for the
      frictional forces to be dispersed more evenly within the taper junction.205
                                                                                                        59
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      Surface area and surface finish are important factors in wear and corrosion at modular
      interfaces. Thread-like surface textures were hypothesized to improve taper fit and reduce
      fretting and corrosion

      These ridges were created solely for ceramic heads and do not provide any benefit when
      a metal head is used. To the contrary, when a metal head is used on these tapers, the risk
      of fretting, corrosion, and wear is significantly increased because the ridges create a
      rough surface topography that allows the intrusion of fluid, which is a major contributing
      factor in promotion corrosion and crevice corrosion.

      These concerns have been substantiated by laboratory findings. Retrieval studies show
      that the presence of these thread-like surface textures may either reduce or increase the
      corrosion, depending on the material couple, the contact regions, thread heights and other
      taper geometry factors. 206 Corrosion testing in neutral aeriated saline showed breaching
      of the passive film on the rough but not the smooth neck tapers.207 Munir et.al.208
      recorded the surface finish on one Biomet product compared to other products. The
      Biomet Taperloc surface finish was relatively smooth. However, taper corrosion has
      been visualize in the photographs of the CoCr M2a-38 mm heads I have reviewed and the
      retrieved Biomet devices I have inspected. I do not have information on the surface finish
      on other Biomet stem tapers for this same corrosion risk assessment.

       In 2004, Biring et.al.209 published a study to determine the effect of taper geometry and
      surface finish on corrosion. They concluded:
           “In cobalt-Chrome-titanium alloy combinations where the surface finish on the taper
          is coarse, corrosion is increased on a mini spigot compared with standard spigots.
          Surface finish is crucial and corrosion of the mini spigots is reduced if the surface
          finish is smooth.”
      In a similar study published in 2013, Panagiotidou et.al.210 concluded:
          “We identified enhanced fretting corrosion at the modular taper junction associated
          with roughened surface finish and small neck tapers, underscoring the concern
          associated with the use of modular taper connections in orthopedic implants.”
          “…the relative size of the taper in comparison to the head combined with the surface
          finish was crucial. As the relative torque-to-interface ratio at this junction increased,
          corrosion of the cobalt chrome head increases and is further enhanced if the surface
          finish on the taper is rough.”

      The taper volume loss due to wear and corrosion is generally LOW in patients with
      ALTR due to taper corrosion (when compared to patients who report ALTR following
      MoM wear volume loss). In some MoM patients with solid CoCr heads as seen in the
      M2a-Taper and M2a-38 mm products, the taper wear volume can be as high as the
      articular surface wear volume.

      As discussed for the MoM articulation wear, even small amounts of cumulative wear
      from the articular surface or the modular taper on the order of 0.6 mm3 have the
      potential to generate cytotoxic levels of Co ions in the local tissues.



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      However, the articular surface wear, and in some cases the taper fretting wear, that has
      been measured under ideal laboratory conditions generates a tremendous number of
      biologically reactive CoCr particles which, in vivo, also subsequently corrode resulting in
      dangerous levels of Co ions in the joint fluids and soft tissues surrounding a MoM hip.

      The body is incapable of handing the biologically reactive CoCr particle-load as
      measured for Biomet’s MoM hips under ideal laboratory conditions, regardless of
      the design.

      Loosening & MoM Frictional Torque

      Solid, stiff cobalt-chrome shells like the M2a-38 and M2a-Magnum can be technically
      more challenging to implant correctly compared with traditional titanium acetabular
      components and the smaller sizes do not allow for supplemental screw fixation. 211

      A greater concern for loosening and excessive wear is the effect of the high torques
      generated at the articular interface during start-up and the increased torques generated at
      this same interface due to cup deformation during implantation into young patients with
      very strong pelvic bone.212,213 This is not the same low torque as measured in as-
      manufactured acetabular cups. The torques generated when a deformed acetabular cup
      seizes are greater than the torques measured under “ideal” in-vitro laboratory conditions.
      Start-up friction torques increase with head diameter, patient weight and the force
      applied. Higher demand activities increase the start-up frictional torque. Nassutt et al214
      reported that for patients with a body weight of 80 kg (176 lb) and the static friction
      coefficient (maximally ~0.3 for MoM, and~ 0.12 for MoP) the calculated initial friction
      moment peaks range from 2.5 to 14.2 N-m after 30 seconds, increasing with head
      diameter. These values for big femoral heads are close to the interface strength of certain
      in vitro determined press-fit cup fixations. In cadaver studies, torque values sufficient to
      generate instant loosening of the cup, range from 6.8 to 46 Nm for press-fit cups and up
      to 170 Nm for cemented cups with pegs. 215,216

      To achieve bone ingrowth, interface micromotions should ideally be <50 m, whereas
      fibrous tissue formation is known to occur where micromotions are >150 m.217 The
      fixation interface must minimize the motion of the implant (within the cortical and
      cancellous bone) under physiologic loading. This physiologic loading must at least
      represent the anticipated forces applies during common ADL within the first 8 weeks
      following surgery (walking, standing, chair rise and sit, stair ascent, descent), prior to
      some sort of bone or callus consolidation. Ideally the interface motion will be less than
      150 µm.

      MoM designs, especially those with only press fit fixation without ancillary fixation such
      as spikes, ribs or screws, are likely to overload the bone interface resulting in early
      loosening. Unfavorable combinations of parameters include MoM articulations, and
      large head diameters and overweight patient taking several rests during motion.218 (2003)
      Clinical results for metal-on-metal articulations have reported problems on the side
      of the acetabular component.



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      Biomet did document some MoM frictional torques from ideal condition hip simulator
      testing. For example for the 28 mm MOM articulation the dynamic torque measured for
      MoM was lower than the dynamic torque measured for MoP articulations under a peak
      load of 200 N (224 lb) [BMT-MM00005323]. This is far below the walking load of the
      typical North American patient.

      Biomet did not evaluate and report the frictional torque of their MoM interfaces under
      worst case conditions of: (a) start-up torque; (b) high demand loading (simulated
      jogging, stooping, manual labor); (c) deformed thin shell due to press fit impaction into
      high strength human pelvic bone (or a reasonable facsimile). (e.g. increased torque due to
      deformation of the Magnum cup); or (d) edge loading of a highly abducted cup. Biomet
      simply produced ideal condition measures. (See below).




              Figure 23: Comparison of maximum frictional torques measured during hip
              simulations.[BMT-MM04972404]

      Marketing of Biomet MoM Products

      In an early M2a MoM brochure, Biomet stated that clinical experience shows
      polyethylene wear particles play a major role in the failure of total hip arthroplasty and
      with subsequent bone loss due to osteolysis. They stated that this is of particular
      importance in young, active individuals where long-term fixation and survivorship are
      required. To solve the problem, the company stated it developed the M2a system, “an
      optimally designed and inserted metal-on-metal bearing with low wear debris
      generation.” AA

      In its brochures, Biomet touted that the “M2a-Taper Metal-on-Metal Articulation
      experienced only 0.004 mm/million cycles of wear in-vitro, compared to 0.1 to 0.2
      mm/year for conventional metal-on-polyethylene articulations and that the simulator
      AA
           2000 M2a Taper MoM, Biomet Brochure [BMT- MM00023373/386].
                                                                                                   62
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      studies demonstrate a 20x to100x reduction in the amount of particulate generated by
      comparison metal-polyethylene articulations.” BB They also presented wear volume
      data, but not wear particle count dataCC.
              Wear Testing
              • 28mm articular couple
              • At 3 million cycles, the M2A"-Taper volumetric wear was 2.20 cubic
                 millimeters compared to that of 83.66 cubic millimeters in a metal/ArCom®
                 poly articulation.
              • M2a -Taper wear couple had 97 to 98% less volumetric wear than the
                 metal/ArCom® poly surface (p<0.00003)

      Biomet should have pointed out that metal wear particles are extremely small,
      approximately 10 to 90 nm in size, and irregular in shape leading to a very high
      surface area exposed to in-vivo fluids facilitating corrosion.219 In 1999 Tipper et al220
      reported that at least 106 nanometer size metal particles are generated in each
      walking cycle in vivo. Biomet should have pointed out that as many as 100 times
      more particles are produced by metal-on-metal as compared with metal-on-
      polyethylene bearings,221,222 (2001 & 2005) and that this significantly increased the
      risk of elevated metal ions in the local tissues and adverse tissue reactions.

      In its patient brochure, Biomet describes the M2a-TaperDD MoM device as having a Self-
      Healing Tribology, essentially the articulating surface has the ability to “repair” itself. In
      vitro wear testing showed that after the initial wear-in period, the articulation exhibits a
      “self-polishing” phenomenon that makes the bearing surface smoother.” They note that
      “… scratches are removed by the polishing phenomenon.” This statement is misleading
      because it implies that the device can heal any scratch encountered in vivo, which is
      not true. This phenomenon applies to light scratches from normal articulations or
      perhaps a 3rd body. McKellop et.al.223 (1996) reported that retrieved implants analyzed
      after up to 20 years of clinical use gave indication of early third-body abrasion, but the
      wear scars were polished out over time, with low long-term wear rates.

      Dave Schroder testified that if MoM components get a scratch into the bearing surface,
      that scratch will eventually be polished back out by being worn away, which introduces
      metal debris into the body. [DS 152]

      Tribologists224 have shown that “self-healing” is a myth. It is basically “hype” that
      makes people think that damage disappears or fixes itself. In reality the edges of the
      grooves smooth out by wearing and rolling, but the valley of the scratch remains. EE
      The surface may appear to be polished or smooth when in fact it is not. Severe grooves
      and edge loading causing damage to both head and cup is beyond capability of “self-


      BB
         2000 M2a Taper MoM, Biomet Brochure [BMT- MM00023377].
      CC
         2000 M2a Taper MoM, Biomet Brochure [BMT- MM00023382].
      DD
         M2a-Taper metal-on-metal articulation, Defining a new standard of living, A Guide To Hip
      Replacement For The 21st Century, Form No. Y-BMT-682/022801/K ©2001 Biomet
      Orthopedics, Inc.
      EE
         Personal communication with John Medley PhD, Waterloo, CA, Valentina Ngai, PhD,
      Robson Forensic, Inc.
                                                                                                       63
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      healing.” Practically speaking, if one keeps hitting the edge, and keeps recreating the
      damage (scratches) and continues to release more debris smoothing out can’t happen.

      Biomet promoted use of MoM articulations in young, active patients. A 2003 brochure
      for the M2a-38 hemi cup shows a jogging stroller, implying jogging as a post THA
      activity. The M2a –Taper brochure [BMT-682/022801/K, ©2001] features people hiking.
      American gymnast Mary Lou Retton is shown on an Oct 12, 2006 press release, [BMT-
      MM00000050, 51, 53] and brochures show patients doing higher demand sports and
      recreational activities [BMT-MM00000156].

      Biomet discussed MoM articulation and wear in numerous brochures and white papers.

               M2a-38 Brochure Y-BMT-735/021502/K;
               M2a-Magnum Brochure BOI0325.0 REV063011
               M2a-Taper Brochure [BMT-MM0023373/381]
               M2a-Taper Testing and Validation [BMT-MM00023382/386]
               Performance of Modern All-Metal Bearings, Form No. BOI0440.1 , REV041510
                ©2010 Biomet Orthopedics, biomet.com[BMT-MM00000057/64]

      None of these brochures mention to surgeons that Biomet had not tested their
      devices under higher demand conditions consistent with the activities described.

      In its design rationale for M2a-Magnum large Metal ArticulationFF Biomet points out that
      M2a-Magnum has a radial clearance level of 75-150 microns to capture the ideal
      amount of fluid lubrication and space for debris removal. In that same document Biomet
      cites the work of Dowson et. al. 225 who pointed out that a diametral clearance of
      between 254 and 307 microns results in dramatically higher wear than a comparison
      bearing with a diametral clearance of 83 to 129 microns. The diametral clearance of the
      Biomet M2a-Magnum is in the range of 150 to 300 microns, the range that Dowson
      indicted dramatically increase wear. Biomet cited Dowson implying that the clearance
      in the M2a-Magnum was supported by the work of Dowson et al, which it was not. The
      use of radial clearance when Dawson talks about diametrical clearance is misleading.

      In 2007 Biomet was aggressively marketing the M2a-Magnum even though they knew
      metalosis and premature revisions were occurring in their M2a product family, and they
      should have known about the increased start-up and frictional torques in bigger femoral
      heads as well as excessive wear due to various types of edge loading.

      In addition to marketing to their sales force and to surgeons, Biomet marketed direct to
      consumers via sponsorship of testimonials from athletes like May Lou Retton, and via
      internet web pages such as: http:// www.MetalOnMetal.com where they emphasized the
      safety of MoM and metal ions and failed to also tabulate the known patient risks or
      their own patient complaint data.



      FF
           Exhibit 4, Lancaster Deposition, Brochure Number BO10340.0 REV081509

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      Biomet presented information which put a positive spin on their M2a MoM products.GG
      A link to the standard IFU was provided. The warnings in the standard IFU did not
      discuss unexplained pain, ALTR, ALVAL, metalosis, the risk for excessive metal wear,
      elevated metal ions or increased risk of cup loosening related to increased frictional
      torque.




                           Figure 24: Screen capture from a Biomet web site in
                           2001concerning the M2a-TaperHH

      The surgical technique and instructions manual failed to point out that performance
      results shown in their brochures were only applicable to ideal laboratory conditions
      which did not simulate sports or the excessive wear due to head separation or edge
      loading.

       A Biomet field communication dated December 7, 2009 from Andrew Trickle stated:
         “Since metal ions are currently a hot topic in the field it is important that we are
         aware of the significance of cup positioning. According to the article below, cups
         need to be placed at the proper angle to ensure there is optimal clearance which

      GG
           https://web.archive.org/web/20020601090026/http://www.metalonmetal.com/
      HH
           https://web.archive.org/web/20020601090026/http://www.metalonmetal.com/
                                                                                                65
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           allows for proper fluid lubrication. This reduces wear and frictional torque and
           creates room for removal of wear debris.” [BMT-MM00269995/997]

      2010 Biomet released its self-published paper, The Performance of Modern All-Metal
      Bearings.226 In this publication, Biomet stressed that the data show no evidence that
      increased levels of Co and Cr ions are associated with any clinical effects. The company
      also touted its MoM constructs have a lower adverse incident rate than the industry
      average. Biomet claimed that its large diameter MoM design, the M2a Magnum, was
      designed differently than other problematic implants, and that was the reason the survival
      rate for its implants is supposedly better than the others.

      Biomet minimized the potential dangers of metal ions and advertised low wear and
      freedom from excessive wear based exclusively on ideal laboratory test conditions when
      they should have known that more realistic physiologic test conditions would show
      excessive wear.

      By 2011, in the combined registries, the Biomet M2a-38 mm had over twice the
      expected number of revisions as a conventional total hip, with a Kaplan-Meier
      Survivorship rate of 90.93 verses 95.6 for all THA at 7 years.II This design was
      apparently more prone to revision than the M2a-Magnum (95.1% at 5 years) or the M2a-
      Taper (97.5% at 7 years). The combined differences in clearance, material and
      construction likely each play a role.

      Note that longer term results of even Biomet’s smaller 28 mm MoM show there is a
      growing concern for late ALTR, likely related to the cumulative effect of the ongoing
      wear debris. For example Lombardi et al227 reported that in their patients with M2a-
      Taper used with 28 mm heads and liners the frequency of ARMD was 5% and
      represented 70% of the revisions performed, and stated: “ The late onset and devastating
      nature of metal-related failures is concerning with this small-diameter MoM device.”

      Since 1996, more than 1 million MoM hips were implanted worldwide, and sadly, data
      from national joint registries has shown the failure rate of MoM hips to be 2-3 times
      higher than hips with polyethylene or ceramic bearing surfaces.

      Critique of Biomet’s Design Process and Risk Analyses

      Deficiencies in the Biomet development process in the areas of risk analyses and testing
      were noted. Since the potential patient harm from excessive metal wear is more severe
      than the long term consequences of modern polyethylene wear, Biomet should not have
      sold their MoM articulations without documenting the risk for excessive metal wear
      under reasonably foreseeable use conditions.

      TESTING: Biomet should have known by 1997 that the in vivo motion profile and loads
      were greater than simulated by a Paul-type gait stance phase which their wear testing
      emulated. Patients ascend and descend stairs, climb, jog, stoop, lift, sit and stand. Some

      II
       Xie, J., and Schroeder, D.: Design Features and Clinical Performance of Biomet MoM Total Hip
      Arthroplasty Systems 27-28 June 2012, FDA presentation.
                                                                                                      66
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      jog or participate in other sports such as tennis, golf, et cetera. These activities apply
      significantly greater forces, require greater range of motion, and the forces are applied
      more frequently in moderate-to-high activity patients. Biomet knew or should have
      known that larger and more active individuals would apply more cycles and greater loads
      (3x to 5x BW and an occasional 8x BW). For example, for an approximate 211 lb person
      these forces are in the range of 636 to 1060lb (2829to 4715 N). For 95% of American
      males weighing up to 295 lb, this load would be 885 lb to 2360 lb (3937N to 10498N).

      Biomet did not test the various combinations of MoM heads, stems and cups under
      foreseeable worst case conditions in terms of higher forces applies during higher demand
      activities, fluid conditions, load regimes, cup orientation and head separation.

      Excessive MoM articulation wear and metal modular taper corrosion are each factors in
      many MoM failures. The Biomet design team had an obligation to consider state-of-the-
      art factors and the patient demographics when establishing the testing plans and
      performance requirements while developing these multi-modular implants. Biomet
      should have known (and likely did know) that wear rates increase significantly with
      intermittent loading, microseparation, jogging and other sport activities, and with more
      vertical cup orientations and should have tested the M2a family of MoM implants under
      these conditions prior to promoting their use in young active patients. In their testing and
      design failure modes and effects analyses (D-FMEA) for the M2a MoM products, Biomet
      failed to account for the effect of the increased torque at the head-neck junction due to the
      MoM articulation on the taper fretting and corrosion. Biomet failed to consider the
      increased corrosion the metal-metal taper interfaces due to reactive oxygen species from
      inflammatory response to the metal ions from the MoM articulation or due to the reduced
      pH in the taper crevices when developing their test protocols.

      Since Biomet chose to sell the M2a products and they chose not to test the performance
      at high inclination angles or under head micro separation conditions which were known
      to cause excessive wear in all THA devices, they should have communicated this to the
      surgeons, and they should have included AGRESSIVE WARNINGS concerning the
      high risk of excessive metal wear debris, and excessive high Co and Cr ions, and they
      should have pointed out the potential harms associated with excessive wear and elevated
      metal ions. These warnings should have been present when the device was introduced
      into commerce.

      DFMEA: In the design failure modes and effects (DFMEA) risk analyses for the M2a
      product devices, Biomet underestimated the probability of occurrence for the harms
      associated with metal related pathologies. The probability scores should have been higher
      based on Biomet’s complaints, the MoM failure rates found in the literature (case studies)
      and registry reports. In addition, Biomet failed to consider detectability as a part of their
      risk analysis process, which likely contributed to the limitation of the scope of the tests
      and analyses completed for the M2a development projects.

      For example, when designing the M2a-38, Biomet failed to include design methods to
      reduce wear such as use of (1) high carbon CoCr ; (2) diametral clearance between 100
      and 300 microns; (3) stiffer stem taper geometries, and (4) methods to assure surgeons
      could and would implant the device such that edge loading would be far less likely to
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      occur. In addition, Biomet failed to tell patients that they needed to avoid high demand
      activities to minimize wear debris (in fact they promoted the opposite). In order to
      minimize risk to patients, Biomet should have provided warnings concerning the new and
      unique risks related to metal pathologies for MoM implants and methods to minimize
      these risks such as modified cup placement and/or restriction of patient activities or
      weights.

      Note that on 1/13/06 Biomet [BMT-MM0023803] added definitions for probabilities and
      risk acceptance criteria defining:

               Probability Definitions                           Severity Definitions
            Remote < 0.01% Score = 1                       N/A Score = 0
            Occasional < 0.1% Score = 2                    Negligible Score = 1
            Probable < 1% Score = 3                        Minor Score = 2
            Frequent > 10% Score = 4                       Major Score = 3
                                                            Critical Score = 4
      Only remote probability (< 0.1%) was deemed to be acceptable for Critical or Major
      severity injuries. Note that a reoperation (revision procedure) is a major injury, with a
      score of at least 3.

      These design process and risk analysis deficiencies allowed the M2a-MoM products to
      enter commerce in the United States prior to sufficient vetting. Completion of a more
      thorough risk analysis would have identified (1) that additional testing was required; (2)
      that design modifications may have reduced patient injury risk; and (3) that warnings
      were required to reduce and/or at least communicate new patient risks associated with use
      of the Biomet MoM articulations.

      Field Problems/Complaints

      In 2002 Biomet downplayed the dangers of metal ions:

            April 22, 2002 field release Biomet summarized the early 2-year results for their
             M2a-Taper MoM products, emphasizing zero revisions. [BMT-MM00345707]
            Biomet and Adolf Lombardi Jr (8/28/2002) team up to squelch concerns surgeons
             might have about MoM and metal ions in reaction to an article by MacDonald (to
             be published in 2003). Lombardi dismisses the disturbingly high elevated ions
             patients as “outliers.” [BMT-MM00268189/193]

      In a summary of the clinical use of a Biomet metal on metal acetabular system (1995-
      2002), [BMT-MM00024342/ 353] Biomet concluded that the MoM device studied was
      equivalent to other marketed total hips in terms of outcomes. This was a small study (97
      MoM , 97 MoP) comparing a smaller diameter MoM articulation and a MoP articulation
      with data out to 4 years. The metal shell abduction ranged from 20 to 55, averaging
      42.9 mm (no 60 placement). The design evaluated was not the same as the M2a 38
      mm or Magnum. Even so, the study revealed that complications consistent with potential
      reaction to metal ions such as bursitis, persistent thigh pain, groin pain, superficial wound

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      infection, recurrent dislocations, thrombophlebitis and wound dehiscence were more
      common in the MoM group compared to the MoP group. [BMT-MM00021103]

      By 2005, Biomet had accumulated complaints for premature for revisions of the M2a-38
      products due to pain and loosening in which damaged and worn articular surfaces were
      identified. By early 2006, complaints began specifying metalosis.

      In 2005 Biomet produced a brochure discussing metal hypersensitivity literature stating
      that serum metal ion levels in well-functioning MoM implants is 2-5 ppb. In this work
      they emphasized that ALVAL (Davies/Campbell et al), and chromosomal changes can
      occur in both MoM and MoP total joints.[BMT-MM00214131/132] However, in their
      publications Biomet did not mention the risk for more common ALTR. By only
      mentioning ALVAL, which had a lower probability of occurrence, they downplayed the
      risk of the trillions of nano-sized CoCr wear particles and even larger number of Co ions.
      Biomet should have known about the harm associated with their MoM products, and they
      should have known that the risk of such harm was substantial.

      The reports of adverse tissue reactions were the same types of adverse tissue reactions
      reported to have been found in conjunction with the first generation of failed MoM
      devices. The early reports of adverse tissue reactions surrounding MoM devices should
      have been a red flag alerting Biomet to the fact that modern generation MoM had not
      solved the biologic reactivity problem identified with polyethylene total hip bearings, but
      had merely changed a slowly evolving, more detectable and more surgically manageable
      problem of long-term osteolysis from polyetheylene debris in THA to a new and more
      difficult to manage problem of ALTR leading to less manageable problems including
      massive soft tissue damage.

      Latteier et al228 published a retrospective review of their total hip arthroplasties from 1996
      to 2006. Three different Biomet MoM implant designs were used during this time frame,
      the M2a Taper, the M2a-38 and the M2a Magnum. They reviewed 1212 hips with a 2 year
      follow-up and found 5.4% failures resulting from aseptic loosening or metal
      complications. The average acetabular component diameter was 55 mm, average head
      diameter was 40 mm. The incidence of revision was significantly higher in women than
      men. There was a higher inclination angle in both men and women for overall failures
      (46.3° vs 44.1°) The data suggest that failures in men are more dependent on inclination
      angle than in women. The incidence of cup revision was significantly higher in women
      than in men (8.2% vs 2.7%; P = .0000), as was incidence of aseptic loosening (4.3% vs
      1.1%; P = .0006), and failure for metal-bearing complications (2.2% vs 0.6%; P = .0126).
      Even though the document was not published in the peer reviewed literature until 2011,
      Biomet should have known of the early failures of the MoM THA being implanted by
      their high volume key consultants, such as Adolf Lombardi Jr. MD and Keith
      Berend MD. Between 2000 and 2005 Biomet should have known of these premature
      MoM failures. The authors indicated that these early failures were troubling and include
      failure of ingrowth (loosening) and metal articulation problems such as metalosis,
      hypersensitivity, pseudotumor, and unexplained pain.




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      In 2008 at the Winter Current Concepts in Joint Replacement meeting in Orlando, FLJJ,
      Adolf Lombardi Jr MD described his experience with Biomet’s MoM devices:

           “When I first started practice with Tom Mallory in 1987, it was kind of easy. We did
           a 28mm head in a Metal-poly cup, and everybody got a 28mm head. We did it
           through a direct lateral approach; our dislocation rate was not high. We published that
           at a 0.25 % in primary osteoarthritis with a direct lateral with a 28 head. But
           obviously as we started to follow-up the patients and we started reporting our data,
           we've reported good long-term data on 2,000 consecutive Mallory heads. As for the
           femoral component, great data, good survivorship. It wasn't the same on the
           acetabular side. We had some issues initially with maybe the locking mechanism and
           then we weren't using direct compression-molded poly like you. So there were some
           issues there.”

           “Around the early 90s when there was the ability to start thinking about using metal-
           on-metals, I entered the IDE study with Biomet on the metal-on-metals, and did the
           M2a™-Taper, so that would be the 28 and later the 32mm porous plasma spray
           titanium shell with the chrome cobalt taper insert. And I actually have my numbers.
           So we did for the M2a™-Taper, for 342 of these in primaries and we revised three of
           those: one was a loose cup; one had a medial wall fracture with dislocation, and
           another loose cup which the pathology did come back with perivascular
           lymphocytic infiltrates.(0.29%) Although at the time of surgery it didn't look like
           some of these ALVAL’s that people are talking about.”

           “When the 38s became available we went ahead and did a series of 38s, and we have
           done 767 of those. Here unfortunately we've revised 24 of those 3.1 %. 5 of those
           were sepsis, 9 loose cups (1.1%), in 2 both the femur and the cup were loose, we had
           1 metal hypersensitivity, 4 of these for pain and we really didn't know the etiology.
           I've had 1 dislocation in my 38s and that was a lady that came 6 years post
           implantation and I did find when I opened her up that her posterior capsule had
           eroded even though I had done direct lateral.”

           “We then moved on to the Magnum, and we had done 868 of the Magnums. We've
           revised 10 of those for 1.2% failure rate. 4 loose, 2 metal hypersensitivity, 1 pain
           from failure of in-growth, 2 sepsis, and 1 mal-position.”

           “… In a young active female patient of child-bearing age I'm thinking at this point in
           my career I'm going to do a delta-ceramic on an E-Poly®. The highly crosslinked
           polyethylene, I think the data has been out now at least there is 5-year clinical data,
           several studies that show greater than 50% reduction of wear.”

           “…most of the failures of metal-on-metal hypersensitivity or these pseudo-tumors are
           in women. I think the other caveat about doing the metal-on-metal is the critical
           features of how you put that cup in, especially when you're talking about these large-
           head cups. The outer-diameter is 180 degrees; they are lateralized at the dome to give

       2008 Winter CCJR Panel Discussion Audio Transcripts on Bearing Options. [BMT-
      JJ

      MM02015748/767]
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         them thickness at the periphery. So they are 6mm at the dome, 3mm at the periphery.
         That creates an inner-diameter that's less than 180°, and it varies on all the different
         manufacturers. And usually they're about l65°. So that means when you think about
         abduction angle of 45 degrees, you're really putting that 165° at about 50°. So
         you want to tip it down a little further so you don't get edge loading.”




      Figure 25: M2a vs MoP survivor ship, Basingstoke.

      Keith Berend MD in 2012 described the evolution of the characteristics of the Biomet
      MoM products he used in a presentation entitled “Metal-on-Metal: Hypersensitivity and
      Failure.” [BMT-MM00654705,708,712] His institution did not find a plateau in MoM
      failures. He discussed causes of early failure (device and technique), mid-term failure
      (ALVAL, hypersensitivity, local tissue toxicity from metal ions) and long-term failure
      (catastrophic soft-tissue damage). Dr. Berend called the results for the MoM
      technology unacceptable. [BMT-MM00654705/757] [BMT-MM00654752]

      Dislocation & Range of Motion

      It had been hypothesized that the risk of dislocation would reduce as the head diameter
      increases (as long as the cup is not place too vertically). The introduction of highly cross-
      linked polyethylene and MoM has allowed surgeons to implant large-diameter heads.
      However, surgical installation and patient factors significantly contribute to dislocations.

      In 2013, AOA NJRR. documented that there is some variation in revision rates for
      different head sizes used in primary total conventional hip replacement. Head sizes less
      than 32mm have a higher rate of revision for dislocation in all age groups. However,
      increasing head size from 32mm to 36mm or larger did not confer any additional
      protection against revision for dislocation. This trend continues in the 2015 and 2016
      AOA NJRR. The reported the rate of revision due to dislocation of total hips with a


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      head size  32 mm was equivalent to the rate of dislocation of total hips with a head
      size> 32 mm, regardless of bearing material.

      Allen et.al.229completed a prospective THA study in three groups who received different
      head diameters (< 36 mm, 36 mm and > 36 mm) showed there was no clinical differences
      between groups. However, the dislocation rate was significantly lower in the group with
      > 36 mm head (0% in this group compared with 1.25% in the < 36 mm group).Other
      studies, all of which have found the dislocation rate to be inversely correlated with the
      head diameter, however only a small increase from 28mm was needed, a small increase
      to 32 mm or 36 mm over 28 mm.230,231 The reduction in dislocation, though small, was
      also found after implant revision (Hummel et.al., 32 mm heads vs 28 mm heads). This is
      explained by the increased head/neck ratio and jumping distance (the distance needed for
      dislocation). The finite element study by Crowinshield et.al.232 showed this distance to
      range from 5-mm for a 22-mm head to 23-mm for a 40-mm head, when not implanted
      vertically.

      These data show that there is no beneficial effect in reducing dislocations in head
      sizes above 36 mm.

      When attainable, more normal ROM would be helpful for many sport and work activities.
      THA, even with big femoral head does not restore THA motion.
      Hip simulator and biomechanical studies also suggested that large femoral heads can lead
      to greater ROM than 28-mm arthroplasties due to a favorable head–neck ratio. To my
      knowledge this has not been proven clinically. With femoral head diameters up to 36
      mm, the improvement in joint range of motion, delay in cam-type impingement and
      reduction in dislocation risk have been clearly demonstrated. Conversely, larger diameter
      heads do not provide any additional improvements.233 Short term some outcome studies
      show greater ROM234 but no improvement in outcome measures like Harris Hip Score,
      and longer term registry data show an increased revisions for bigger femoral heads. The
      increase ROM was identified as transient235 in one study.

      The most important findings of Zijlstra et al 236 are: (1) the improvement in internal
      rotation was greater after the large femoral head metal-on-metal arthroplasty (14°)
      compared to the 28-mm arthroplasty (7°); (2) absolute postoperative internal rotation and
      other ROM measures did not differ; and (3) there were no differences with respect to
      improvement of flexion, extension, abduction, adduction and external rotation.237

      Others show increased ROM for bigger femoral heads, but not match to normal (Lavigne
      et.al.238) Larger head-neck ration may reduce cup neck impingement but not bone-neck
      impingement.239

      Increase range of motion (ROM) is only a theoretical advantage of big femoral heads
      >36mm in part because theoretically they make surgical placement more forgiving.

      The improved material properties of UHMWPe in the late 1990s, and especially the
      properties of the highly-crosslinked UHMWPe introduced by several manufacturers,
      including Biomet, between ~ 1999-2005 allowed design of 36 and 40 mm heads with
      crosslinked polyethylene articulating surfaces for the majority of cup sizes. Thus, any
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      benefit to be derived by providing a head diameter of 36mm in a MoM
      configuration could also have been obtained with a MoP configuration.

      Joint Registry Data, MoM Failure Rates

      Several countries have established Joint Registries. Registry data are based on few, but
      well-standardized and objective parameters such as revision rate. Revision rate is an
      essential, but not the only, parameter for assessing the quality of arthroplasty
      performance. Evidence from registries suggests that so called ‘‘minor modifications’’ to
      the design of a prosthesis may be much less innocent than could have been expected in
      some cases.240

      Premature failures of MoM implants were reported as far back as 2006 in the AOA
      NJRR. The AOA NJRR picked out MoM technologies as being a potential outlier (in
      terms of survivorship) in 2007, before The National Joint Registry (NJR) for England,
      Wales, Northern Ireland (UK NJR) did, and this may well be due to the fact that the
      Australian Joint Registry has been in existence longer and had 100% compliance.241

      Note: The Australian Registry has used the term metal sensitivity to encompass the entire
      spectrum of metal-related pathology.

      Data critical of the performance of MoM were presented at numerous scientific meetings
      in 2008 and onward, at meetings such as the British Hip Society (BHS) and the British
      Orthopaedic Association (BOA), the Orthopaedic Research Society (ORS),American
      Association of Hip and Knee Surgeons (AAHKS), the American Academy of
      Orthopaedic Surgeons (AAOS), the Hip Society (HS), and Current Concepts in Joint
      Replacement (CCJR).

      In 2009, the AOA NJRR reported that when the head size is greater than 28mm, metal on
      metal has the highest risk of revision and metal on polyethylene the lowest. The five year
      cumulative percent revision when metal on metal is used was 4.0% and metal on
      polyethylene 1.7%.

      In the UK when an implant has been shown to perform badly, it is referred to the British
      Medicine and Healthcare products Regulatory Agency (MHRA), the equivalent of the US
      FDA, which then discusses the report with the manufacturer. When it is deemed that
      there is unequivocal evidence of a serious problem with the implant, the MHRA issues
      alerts to all hospitals and practitioners.242

      By 2011 the AOA NJRR, and the New Zealand Registry had reported an increased
      revision rate associated with larger femoral head sizes (greater than 32 mm) when MoM
      bearing surfaces were used. 243 This trend continues in the 2015 and 2016 AOA NJRR.

      In 2013, AOA NJRR. documented that there is some variation in revision rates for
      different head sizes used in primary total conventional hip replacement. Head sizes less
      than 32mm have a higher rate of revision for dislocation in all age groups. However,
      increasing head size from 32mm to 36mm or larger did not confer any additional

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      protection against revision for dislocation. This trend continues in the 2015 and 2016
      AOA NJRR.

      In 2016, the incidence of metal related pathology and loosening increases significantly
      with time. For MoM head sizes > 32 mm the cumulative incidence of revision for metal
      pathology is currently reported to be about 12% at 13 years and 14.5 years, and the
      cumulative incidence, for loosening is reported to be about 6% at 13 years and 7% at 14.5
      years. For MoP THA with head size > 32 mm the reported incidence is less than 1% for
      each at 13 years. The cumulative percent revision of MoM primary THA using head
      Size >32mm (primary diagnosis OA) was reported as 11.2% for M2a and 7.9% for M2a
      Magnum at 10 years. [2016 AOA NJRR MoM Supplement, p13 & 15]

      In 2014 and 2015, AOA NJRR reported that the revision rate of the M2a MoM, was
      about three times higher than the revision rate of metal-on-polyethylene (MoP)
      combinations and 4, 7 & 10 years.

      In 2014 AOA NJRR issued a supplement on MoM in conventional THA. The revision
      rate for females with head diameters greater than 32 mm is over 25% at 10 years.

      On February 10, 2015 the Australian Government Department of Health Therapeutics
      Goods Administration issued a Hazard Alert regarding the Biomet M2a-Metal-on-metal
      total hip replacements stating that they have higher than expected revision rates,
      including the M2a-38 femoral head, the M2a-38 acetabular cup.

      The AOA NJRR 2015 Supplement on MoM reported that here are differences in the
      reasons for revision when MoM and MoP bearing surfaces are compared. The data
      demonstrates a higher incidence of revision for metal related pathology,
      loosening/lysis and infection for the MoM group. The cumulative incidence for these
      three revision diagnoses for MoM at 14 years is 8.0%, 4.9% and 1.9% respectively
      compared to MoP 0.0%, 2.5% and 0.9% respectively. The actual incidence of metal
      related pathology is potentially higher since it is possible that undiagnosed metal related
      pathology contributes to the increased rate of loosening/lysis and infection reported in
      MoM articulations with larger head sizes.

      Biomet continued to promote and sell the M2a -38 despite higher than expected early
      revisions and metal ion pathologies. Biomet did not discontinue the M2a-38 product
      family until October 25, 2011. [BMT-MM01707537/538] Biomet continued the sale of
      their M2a-Magnum beyond 2011.

      After Biomet received notice that the M2a MoM devices were failing from ALTR
      including unexplained pain, pseudotumors, loosening or corrosion at higher than
      expected rates, and at rates higher than MoP hip systems, Biomet did not provide post
      sale warnings to patients who had these devices implanted or their treating physicians. If
      they had been warned of the risks of elevated metal ions and associated ALTR with the
      Biomet M2a devices, surgeons may have recognized and treated failing MoM devices
      sooner, sparing patients additional pain, suffering, and functional loss.

      The Specific Hazard in this Incident
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      Patients with Biomet MoM implants have been exposed to hazards of functional
      impairment, metalosis, bone loss, various types of ALTR in the form of soft tissue
      injuries (atrophy and degenerative changes through the abductor musculature,
      pseudotumor or bone cysts), and groin and lateral thigh pain leading to revision total hip
      surgeries. In addition to the risks of surgery, such as infection, embolisms, et cetera,
      revision total hip surgeries generally have poorer outcomes. Among other things some
      patients have reported systemic effects of elevated ions. For example, some have
      experienced immune system compromise as a result of elevated Co ions leaving them
      more susceptible to infection. Following their revision surgeries for ALTR, many patients
      have residual functional impairments.

      These hazards should have been communicated to the treating surgeons prior to the THA
      procedures. Had they been, the surgeon could have selected and implanted a state-of-the-
      art MoP product and the patients would not have been injured by the excessive CoCr
      wear, corrosion and Co ions and the subsequent revision surgeries.

      The combination of these hazards and exposure makes this product unreasonably
      dangerous and unsuitable for its intended purpose.


      9.   RESPONSIBILITIES

      Biomet and Other Manufacturers Provided a Safer/More Durable Alternative
      Designs

      Biomet and other manufacturers provided safer and more clinically successful alternative
      designs for hip implants that provided high stability (i.e. lower risk of dislocation and greater
      range of motion) and low wear rates. By the early 2000s, Biomet and most major orthopaedic
      companies such as Zimmer, DePuy, Smith & Nephew, and Stryker, marketed hip implants
      utilizing a metal or ceramic femoral head articulating on a cross-linked polyethylene liner. Each
      offered 28 and 32 mm MoP acetabular cups with UHMWPe liners and 2-piece acetabular
      component construction. Most also offered slightly larger diameter 36 and 40 mm MoP THA
      articulations by 2004.

      Between 1998 and 2004, the advances in wear characteristics of cross-linked polyethylene
      drastically reduced the amount of wear generated in MoP implants. This significantly reduced
      the risk of osteolysis, which was sometimes seen with prior generation MoP implants. By 2004
      and 2005 there was not a need for MoM articulations to resolve UHMWPe wear problems in
      THA. At least seven major orthopaedic companies sold metal backed porous ingrowth
      acetabular cup systems that utilized XLPE liners and larger diameter femoral heads. Surgeons
      could have used the Biomet ArCom or one of the other manufacturer’s crosslinked liners in
      their patients.

      Assurance of Safety and Function

      The Biomet M2a line of MoM implants had new and unacceptable risks due to immune
      reactions to excessive articular surface wear and corrosion, as well as taper junction wear
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      and corrosion due to high frictional torque and/or immune reaction to excessive metal
      debris and ions.

      A company that designs, manufactures, or offers any product for sale has a responsibility
      to protect people from hazards that may be present in their products.

             Hazard - Potential source of harm
             Harm - Physical injury and/or damage to health or property
             Risk - Probable risk of occurrence of a hazard causing harm and degree of
             severity
             Safety - Freedom from unacceptable risk of harm
             Mitigation - To reduce or eliminate risk of hazard and to increase safety

      The design process must take into account the types of actions that people make under
      reasonably foreseeable conditions of service, including intended use and reasonably
      foreseeable misuse. Hazards should be designed out of the product through engineering
      means. If the hazard cannot be eliminated, guards must be provided. In all cases in which
      the hazard cannot be eliminated or guarded against, clear and prominent warnings or
      instruction as to the dangers of the product must be provided. These are the three steps of
      the fundamental principles and rules of practice for safe and appropriate engineering of
      products. This has long been known in the engineering profession.

      The design process must take into account the condition of the patient/consumer by
      whom the device is intended to be prescribed/used. The American Society of Mechanical
      Engineer’s 1984 Publication, “Instructional Aid for Occupational Safety and Health in
      Mechanical Engineering” 244 states:

         “There are six basic guidelines which a designer can apply in order to maximize the
         safety level of his products or manufacturing processes. The National Safety Council
         has published this list in descending order of effectiveness. One should rely upon the
         highest concept attainable, but if this is not possible, the very next one shown should
         be used.

         In brief these are:
             1. Eliminate the hazard from the product or process by altering its design,
                 material, usage, or maintenance method.
             2. Control the hazard by capturing, enclosing or guarding it at its source.
             3. Train personnel to be aware of the hazard and to follow safe procedures to
                 avoid it.
             4. Provide adequate warnings and instructions in appropriate forms and
                 locations.
             5. Anticipate common areas and methods of abuse and take steps to eliminate or
                 minimize the consequences associated with such actions.
             6. Provide personal protective equipment to shield personnel against the hazard.
         These six rules are interrelated and more than one can be used in a specific situation.
         For instance, training and warnings can often supplement machine guarding and the
         use of personal protective equipment.”

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      Hazard analysis and harm mitigation rests with the manufacturer. 245, 246

      ISO 13485 (2003) is an international standard, published in 2003, that represents the
      requirements for a comprehensive management system for the design and manufacture of
      medical devices. It supersedes earlier documents such as EN 46001 and EN 46002 (both
      1997), the ISO 13485 published in 1996 and ISO 13488 (also 1996). While it remains a
      stand-alone document, ISO 13485 is generally harmonized with ISO 9001(2000). ISO
      9001 requires the organization to demonstrate continual improvement, whereas ISO
      13485 requires only that they demonstrate the quality system is implemented and
      maintained.

      ISO 14971 is the risk management standard for medical devices. The U.S. FDA and
      Health Canada have both recognized the 2007 version of this international standard, but
      in 2012 the European Commission identified that this specification deviates from the
      Essential Requirements of the European Medical Device Directives. In order to comply
      with the EN ISO 14971:2012 version of the risk management standard, companies need
      to implement risk controls for all risks, regardless of acceptability. Unfortunately, many
      companies choose arbitrary thresholds for acceptability of risk. Instead of relying upon
      benchmarking or risk/benefit analysis, many companies established that a policy that all
      risks must be below a quantitative value. All risks, regardless of their dimension, need to
      be reduced as much as possible and need to be balanced, together with all other risks,
      against the benefit of the device. The risk/benefit analysis should consider not only the
      benefits to patients and the risks of using the device, but the analysis should also consider
      relative benefits of using other devices. Furthermore, unless the risk controls would not
      reduce risks further, or the risk controls are incompatible with other risk controls. Risk
      control options should never be ruled out due to cost. The following wording for
      implementation of risk control options in the new proposed second Essential
      Requirement is below:
          “The manufacturer shall apply the following principles in the priority order listed:
              a. identify known or foreseeable hazards and estimate the associated risks arising
              from the intended use and foreseeable misuse;
              b. eliminate risks as far as possible through inherently safe design and
              manufacture
              c. reduce as far as possible the remaining risks by taking adequate protection
              measures, including alarms; and
              d. provide training to users and/or inform users of any residual risks.”
      The new proposed Essential Requirements also include numerous examples of how the
      manufacturing processes must ensure proper safety.247

      Biomet was not compliant with the spirit of ISO EN 13485, ISO14971 (2007, 2012),
      and ISO 9001 (2000) as evidenced by deficiencies in risk assessment and
      performance testing.

      Medical device manufacturers have a responsibility to characterize the mechanical
      performance of a device in typical and foreseeable worst-case clinically relevant
      conditions. In products like hip implants, where overload and excessive wear and
      corrosion are both possible and common under ordinary use, especially in the younger,
      active patient population for which Biomet promoted its M2a line of MoM implants, the
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      manufacturer has a responsibility to educate the users (surgeons, patients and other
      caretakers) concerning the device limitations including methods users can adopt to assure
      effectiveness and prevent injury from device overload, misuse or failure. In many of
      these devices, warnings and precautions regarding implant alignment and positioning,
      and patient weight restrictions and patient activity limitations are advised to prevent
      implant failure and patient injury. Because MoM articulations have proven to be a
      problem relative to exposure to Co ions and ALTR, additional warnings and
      contraindications were warranted for these devices. In MoM systems, the taper junction
      at the head-neck region has also proven to be a problem due to increased fretting and
      corrosion which warranted design changes for mitigation.

      Warnings and Precautions

      The surgical technique instructions and the warnings and precautions provided by Biomet
      for the M2a MoM articulations in IFUs were insufficient to prevent injury to patients for
      several reasons.

      The Biomet MoM products are dangerous to implant recipients due to specific warning
      defects. MoM articulations used in total hips have new and unique risks compared to
      other bearing couples such as metal or ceramic on polyethylene (MoP) which were not
      sufficiently highlighted by Biomet in its IFU’s, promotional materials and other training
      materials.

      Guidance on Medical Device Patient Labeling; Final Guidance for Industry and
      FDA Reviewers issued April 19, 2001 states:
         “A warning alerts the reader about a situation which, if not avoided, could result in
         death or serious injury. [ANSI Z535.4-1998] It may also describe potential serious
         adverse reactions and safety hazards. The designation of a hazard alert as a “warning”
         is reserved for the most significant problems.”

      Appendix E states:
         “Effective warnings and precautions capture the reader’s attention, are understood,
         are consistent enough with the reader’s beliefs and attitudes to be accepted, and are
         persuasive enough to motivate the reader to comply. They invoke an appropriate level
         of fear arousal, conveying the nature and extent of the hazard, without being so strong
         that they backfire, causing the reader to select an alternative action or no action.”

         “There are four elements generally recognized by the courts and research as necessary
         for an effective warning or precaution:
              a signal word (WARNING, CAUTION) to alert the reader that what follows
                 is important hazard information. A symbol or icon may emphasize the effect
                 of the signal word. Additional enhancement, such as bolding, larger type,
                 underlining, italics, or color may help the information stand out from the rest
                 of the text. However, studies have demonstrated that a large difference in font
                 size between the signal word and the text may de-emphasize the importance of
                 the text and therefore reduce the likelihood that the text will be read.
              a hazard avoidance directive in the form: Do Not, Never, Avoid...” (or Do, if
                 more appropriate) followed by the action to avoid (or perform). The objective
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                 of this directive is to give clear instructions to the user on how to avoid the
                 hazard.
                a clear statement of the nature of the hazard associated with the warning (e.g.,
                 allergic reaction to material, strong magnetic field) or precaution (e.g.,
                 environmental effect, damage from resterilization) that characterizes the
                 severity and the likelihood.
                the consequences, specifying the serious adverse events, potential safety
                 hazards and limitations in device use that result if users do not follow
                 instructions. The purpose is to give them a clear idea of the risk, which is
                 likely to increase compliance. Hazard alert research has shown that this
                 element has a significant effect on readers. If the consequences are not
                 included, the alert is likely to be less effective. The signal word should appear
                 first. The order provided here for the other three elements (hazard avoidance,
                 hazard identification, and consequences) will be appropriate for most
                 instances, but may be altered as necessary to best communicate the
                 information to the reader.”

      Because Biomet marketed directly to patients on the internet, Biomet should have
      also provided adequate warnings to patients regarding the unique risks associated
      with MoM devices in addition to their surgeons in those promotional materials.

      At all times, Biomet’s training materials, brochures and warnings were misleading and
      did not adequately communicate the risks of their MoM product offerings.

      Biomet promoted low in vitro wear volume in their brochures without mentioning the
      significantly higher wear particle count and the increased availability of metal surface
      area for corrosion and metal ion release. The promotion of low wear volume without a
      discussion of the increased particle burden and the toxicity of those particles and
      their corrosion products was misleading because it implied a lower risk of adverse
      reactions to the particulate debris, when in fact the opposite was true.

      In the brochures that promoted low wear volume, Biomet should have also pointed out
      that:

         1. Metal wear particles are small, about 10 to 90 nm in size, and irregular in shape
            leading to a very high surface area exposed to in-vivo fluids facilitating corrosion.
         2. As many as ~ 100 times (or at least greater than 55x) more CoCr wear
            particles are produced by metal-on-metal as compared with metal-on-
            polyethylene bearings even under normal in vivo conditions, and that this
            significantly increased the risk of adverse soft tissue reactions and elevated metal
            ions in the local tissues.
         3. CoCr metal particulate matter and the ensuing metal ions are known to cause
            adverse local tissue reactions such as tissue necrosis and other immune
            responses.

      Biomet misrepresented the benefits of the MoM articulation by not including the risks
      when marketing their MoM devices as low wear and preferentially for use in younger
      more active patients, which implies greater longevity, greater durability, and lower risk.
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      Biomet promoted use of their MoM articulations in young active patients, yet they did
      not test the M2a family of products sufficiently to assure endurance in that patient
      population.

      Because the Biomet M2a MoM designs were not adequately evaluated using in-vitro
      bench testing prior to launch some of the new risks of these devices which should have
      been identified were not identified and disclosed prior to introduction into the US
      population.

         1. Surgeons were not informed of the increased metal wear particles and ions
            associated with realistic physiologic loading and the consequences of technically
            unavoidable head separation and related edge contact loading and third body
            wear.
         2. Surgeons were not initially informed to avoid implanting the MoM acetabular
            components in higher angles of abduction or inclination.

      Biomet’s surgical techniques, instruction manuals and brochures failed to point
      out that performance results shown in their brochures were only applicable to ideal
      laboratory conditions which did not simulate the more realistic wear expected from
      physiologically relevant use conditions including head separation and edge loading.

      Biomet should have but did not include wear test results identified for head
      separation, edge loading or higher demand load scenarios in their brochures.

      Biomet also should have had the knowledge concerning appropriate inclination and
      anteversion angles for MoM articulations and should have shared information concerning
      the risks and should have taught against, warned about or contraindicated installation in
      angles > ~ 50 and combined anteversion > 25 but did not do so. These instructions
      should have been in their surgical techniques and other training materials.

      Thus, many patients were exposed to higher than expected MoM debris and metal ions in
      the Biomet M2a-Taper, M2a-RingLoc, M2a-38, and M2a-Magnum MoM products, and
      additional corrosion debris from the modular CoCr taper junctions, primarily in the M2a-
      38 and M2a taper products due to the large diameter monolithic CoCr head.

      Biomet’s warnings for MoM have evolved over time.

      Early warnings by Biomet were limited to providing general warnings and precautions
      applicable to any total hip procedure, regardless of bearing style. These generic warnings
      were placed in an instructions for use (IFU) which are provided in package inserts that
      accompany the product. The package insert is generally not seen by a surgeon in the
      operating room. The scrub technicians remove the inner sterile packaging containing the
      implant from the outer package that contains the package insert with the IFU. Only the
      sterile inner package or the implant from the inner package are handed to the assistant or
      the surgeon. The packaging and IFU are discarded. It is well known that surgeons do not
      routinely read the IFU documents provided with the implants in the packaging.



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      Simply placing a warning in a document that is not routinely read is an insufficient
      method to assure patient safety. Among other things, surgeon-to-surgeon training, and
      salesman-to-surgeon training tips, promotional or educational brochures, physician
      letters, and literature or literature reviews (when available) are more effective in
      communicating and clarifying such critical issues to surgeons.

      Biomet did not contraindicate the use of the M2a MoM product family in high demand
      patients nor did they provide specific weight or activity limitations for their MoM THA
      products. Biomet also failed to provide a list of occupational or other conditions likely to
      result in extreme stresses to the implant and instead proceeded to advertise for use in
      younger patients who want to continue sports activities.

      Biomet did make some effort to communicate negative effects of MoM in 2006, but those
      efforts were insufficient:

      By late 2006 the adverse effects of elevated metal ions and genotoxicity were added to
      Biomet’s hip system IFU, but:
         1. The risks unique to the extremely high quantity of metal wear debris generated by
              MoM implants under normal in vivo use and elevated metal ions were not
              mentioned.
         2. Methods surgeons and/or patients could use to minimize the risk for excessive
              wear, elevated metal ions and adverse local tissue reactions (ALTR) to metal
              debris (or adverse reactions to metal debris (ARMD)as well as ALVAL or
              pseudotumors were not mentioned.
         3. Surveillance or monitoring of MoM patients for metal ions in blood serum,
              pseudotumors and other adverse local tissue reactions were not recommended.

      Selected Warnings and Adverse Effects from the December 2006 IFU 01-50-0959
      [BMT-MM00021600/01]:

         “WARNINGS
             …Accepted practices in postoperative care are important. Failure of the patient to follow
             postoperative care instructions involving rehabilitation can compromise the success of the
             procedure. The patient is to be advised of the limitation of the reconstruction and the need
             for protection of the implants from full load bearing until adequate fixation and healing
             have occurred. Excessive activity, trauma and weight gain have been implicated with
             premature failure of the implant by loosening, fracture, and/or wear. Loosening of the
             implants can result in increased production of wear particles, as well as accelerate
             damage to bone making successful revision surgery more difficult. The patient is to be
             made aware and warned of general surgical risks, possible adverse effects as listed, and
             to follow the instructions of the treating physician including follow-up visits.”

         “POSSIBLE ADVERSE EFFECTS
            1. Material sensitivity reactions. Implantation of foreign material in tissues can result in
               histological reactions involving various sizes of macrophages and fibroblasts. The
               clinical significance of this effect is uncertain, as similar changes may occur as a
               precursor to or during the healing process. Particulate wear debris and discoloration
               from metallic and polyethylene components of joint implants may be present in
               adjacent tissue or fluid. It has been reported that wear debris may initiate· a cellular
               response resulting in osteolysis or osteolysis may be a result of loosening of the
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                   implant. Further, there has been a report regarding an association between
                   articulating surfaces of: 1) CoCrMo alloy on CoCrMo alloy, 2) CoCrMo alloy on
                   polyethylene, and 3) Titanium alloy on polyethylene in hip replacements and
                   increased genotoxicity. This report, however, did not assess either the clinical
                   relevance of the data or make any definite conclusions as to which metal ions or
                   interactions between metal ions or particulate metals might be responsible for the
                   observed data. The report further cautioned that an association does not necessarily
                   mean a causal relationship, and that any potentially increased risk associated with
                   metal ions needs to be balanced against the benefits resulting from hip replacement.
                   A low incidence of metal hypersensitivity has been reported with failed metal-on-
                   metal implants. The clinical relevance of these findings is unclear, and it is not
                   known whether metal hypersensitivity causes implant failure.
             2.    Early or late postoperative infection and allergic reaction.
             3.    Intraoperative bone perforation or fracture may occur, particularly in the presence of
                   poor bone stock caused by osteoporosis, bone defects from previous surgery, bone
                   resorption, or while inserting the device.
             4.    Loosening or migration of the implants can occur due to loss of fixation, trauma,
                   malalignment, bone resorption, or excessive activity.
             5.    Periarticular calcification or ossification, with or without impediment of joint
                   mobility.
             6.    Inadequate range of motion due to improper selection or positioning of components.
             7.    Undesirable shortening of limb.
             8.    Dislocation and subluxation due to inadequate fixation and improper positioning.
                   Muscle and fibrous tissue laxity can also contribute to these conditions.
             9.    Fatigue fracture of components can occur as a result of loss of fixation, strenuous
                   activity, malalignment, trauma, non-union, or excessive weight.
             10.   Fretting and crevice corrosion can occur at interfaces between components.
             11.   Wear and/or deformation of articulating surfaces.
             12.   Trochanteric avulsion or non-union as a result of excess muscular tension, early
                   weight bearing, or inadequate reattachment.
             13.   Problems of the knee or ankle of the affected limb or contralateral limb aggravated
                   by leg length discrepancy, too much femoral medialization or muscle deficiencies.
             14.   Postoperative bone fracture and pain.
             15.   Elevated metal ion levels have been reported with metal-on-metal articulating
                   surfaces. Although mechanical testing demonstrates that metal-on-metal articulating
                   surfaces produce a relatively low amount of particles, the total amount of particulate
                   produced in vivo throughout the service life of the implants remains undetermined.
                   The long-term biological effects of the particulate and metal ions are unknown.”


      Biomet did not initially warn or issue a precaution about the use of MoM in females
      and small stature males.

      Biomet did not contraindicate use of its MoM products in females or small stature males,
      and its failure to do so created an unreasonably dangerous risk for those patients.
          The AOA NJRR Annual Report 2009 detailed a 10 year retrospective analysis.
              MoP implants were revised less often than MoM regardless of head size; and
              MoM implants were revised more often than other types when larger head sizes
              are used. Females were found to have a higher rate of revision.
          To further evaluate the effect of head size with M/M bearing surface, analysis was
              undertaken comparing four head size groups (≤28, 30-32, 36-40, >40mm). There
                                                                                                            82
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                is no difference in the rate of revision between head sizes 28mm or less and 30-
                32mm. The two larger head size groups were associated with an increased rate of
                revision compared to head sizes 32mm or less. In particular there has been an
                increasing rate of revision for head sizes greater than 40mm (AOA NJRR 2015).

      Biomet’s warnings were insufficient because they lacked recommendations for
      ongoing care and management of MoM patients. Between 2007 and 2010, the
      MHRA had established recommendations. The FDA followed suitKK in January of
      2013, and the AAOS248 in 2014.

      2010: In an Official AAOS Release dated October 29, 2010, Chitranjan S. Ranawat,
      MD, president of the Hip Society and an orthopaedic surgeon in New York stated:

             “We suggest that any patient who received a metal-on-metal hip inform all medical
            care givers about their joint replacement device and pay attention to post-operative
            pain.”

            “… we want to elevate patient awareness about metal-on-metal hip replacements. We
            suggest that any patient who received a metal-on-metal hip inform all medical care
            givers about their joint replacement device and pay attention to post-operative pain.”

      Joshua Jacobs, MD, spokesperson for the AAOS and an orthopaedic surgeon and
      researcher in Chicago, IL stated:

            “In general, a patient should be relatively pain-free three months after any hip
            replacement surgery.” “Any new pain or increase in pain at that point should be
            promptly communicated to your surgeon, as it may indicate a complication.”

            “The MoM patient should discuss the value of a blood or urine test to check for cobalt
            levels with his or her orthopaedic surgeon. At present, the testing has not been
            standardized and must be done by labs that specialize in trace metal analysis.”

      However, other than one letter to surgeons concerning the RingLoc Bipolar product,
      Biomet did not send warnings or communications to doctors or patients as to the
      adverse reactions seen in other MoM patients, such as soft tissue damage/cell death,
      pseudotumors, severe synovial hypertrophy, severely elevated serum Co ions, instability,
      neuropathies, et cetera. Biomet also did not post warnings for patients to review on its
      www.MetalOnMetal.com website. Biomet still owns the same website address today, but
      instead uses the address to direct visitors to its main corporate website.

      More recently, Biomet has provided additional warnings and precautions concerning its
      MoM products, and these warnings and precautions are accessible on the internet.

      For example the following web location provides “Important information on metal-
      on-metal hips”:


      KK
           Refer to APPENDIX III   FDA SAFETY COMMUNICATIONS.
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      http://www.biomet.com/wps/portal/internet/Biomet/Healthcare-
      Professionals/products/orthopedics/important-information-mom-hips/

         “Regulatory agencies have issued recommendations to surgeons for follow-up of patients
         with MoM hip implants. In April 2010 and February 2012, the Medicines and Healthcare
         Products Regulatory Agency (MHRA) of the United Kingdom issued medical device alerts
         regarding MoM hip implants, which were posted at:
         http://www.mhra.gov.uk/Publications/Safetywarnings/MedicalDeviceAlerts/CON079157 and
         http://www.mhra.gov.uk/home/groups/dts-bs/documents/medicaldevicealert/con143787.pdf.

         In February 2011, the U.S. Food and Drug Administration (FDA) Center for Devices and
         Radiological Health posted an informational website for patients and orthopaedic surgeons on
         MoM hip implants, which is available at:

         http://www.fda.gov/MedicalDevices/ProductsandMedicalProcedures/ImplantsandProsthetics/
         MetalonMetalHipImplants/ucm241771.htm.

         In its April 2010 alert, the MHRA advised that surgeons should consider specific monitoring
         for certain patient groups, including cohorts of patients where there is a concern about higher
         than expected failure rates. In its February 2012 alert, the MHRA updated its advice with
         specific recommendations for patients treated with MoM total hip replacements with a
         femoral head diameter equal to or greater than 36mm. The FDA on its informational website
         recommends that follow-up should occur periodically for asymptomatic patients and provides
         more detailed guidance on follow-up and evaluation for patients with the presence of local
         symptoms such as pain or decrease in joint function that appear more than three months after
         MoM hip implant surgery. The FDA further advises that certain patients, including female
         patients, are at risk for increased device wear and/or adverse reactions to metal debris and
         should be monitored closely. Biomet encourages careful follow-up for all MoM patients,
         including close monitoring for women, particularly those women with a Biomet M2a-38
         Metal-on-Metal Total Hip System. “

      This same website now contains a letter to surgeons authored by Robert E Durgin, senior
      vice president of quality/regulatory/clinical affairs at Biomet, which summarizes the
      Kaplan-Meier survivorship of each Biomet MoM product family, indicating which
      products have a higher or lower survivorship compared to all total hips and compared to
      all other MoM devices. The same letter contains links for follow up care
      recommendations by the Medicines and Healthcare Products Regulatory Agency
      (MHRA) of the United Kingdom and the link to the USFDA’s informational web site.

      Biomet failed to appropriately warn its customers in a timely manner of the unreasonable
      dangers posed by Co ions, and the likelihood of elevated Co ions in patients due to MoM
      articulation. A sufficient warning of these dangers would have allowed patients to either
      avoid MoM devices altogether and choose a safer alternative such as MoP or CoP, or at
      the very least pursue measures to minimize the harm caused by revision and metalosis by
      following up with their medical providers for testing and other safety recommendations.


      12. FINDINGS



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      Within the bounds of reasonable engineering and scientific certainty, and subject to
      change should additional information become available, it is my professional opinion
      that:

         (1) Biomet MoM hip systems are unreasonably dangerous and defective in design
             and present an unreasonable risk of harm to patients when compared to their
             utility due to:

             A. Use of metal-on-metal (MoM) articulation.
                i. MoM articulations generate extremely large numbers of CoCr wear debris
                      particles which cause adverse local tissue reactions and elevated local or
                      systemic metal ions which are cytotoxic, and which elicit immune
                      responses which in turn increase the corrosion of CoCr alloy. A cascading
                      increase of ions, inflammatory response and corrosion ensues.
               ii. Large femoral head MoM articulations (> 36 mm) have unsafe/higher
                      frictional torques particularly at start-up and under higher demand
                      activities common in younger and more active patients. These increased
                      torsional moments cause greater taper junction motion, greater fretting and
                      greater corrosion, particularly of the CoCr alloy components. They can
                      also cause acetabular cup loosening in some patients, especially those with
                      monoblock cup designs.
              iii. MoM articulations are unforgiving and thus unreasonably dangerous
                      relative to head separation events. Well-fixed, well-aligned implants are
                      subjected to edge loading during head re-entry following head separation
                      during common activities such as walking. This edge loading generates
                      higher than expected/excessive wear which results in elevated metal ions
                      with immune response complications (ALTR, ALVAL and ARMD) and
                      tissue necrosis. The occurrence of head separation in hip implants was
                      well known to Biomet before it marketed its M2a MoM devices.
              iv. MoM articulations are unforgiving relative to hard third-body particles
                      which result in surface scratches, increasing wear debris, corrosion and
                      metal ion generation.
               v.     Even under optimal conditions, MoM articulating surfaces are not
                      adequately lubricated, which results in generation of wear debris particles
                      and increased frictional torque. Under typical in vivo use, which involves
                      frequent stops and starts, standing, sitting, climbing stairs, and other
                      common activities, MoM articulating surfaces are even less likely to be
                      lubricated. Biomet not only failed to advise surgeons and patients of these
                      characteristics of its MoM devices, it instead claimed that its designs
                      would promote lubrication and result in low wear.
             B. In many Biomet MoM patients, the Biomet M2a MoM implants failed to
                  perform in the reasonable and safe manner expected in light of their nature
                  and intended function.


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      2. The combination of low clearance, sub-hemispherical arc of coverage and the failure
         to instruct surgeons to implant this cup more horizontally (45) to minimize the risk
         of edge loading is, in combination, a design and warning defect of the M2a-38 MoM
         product. Biomet did not have sufficient warnings to alert surgeons concerning the
         appropriate installation position required to minimize the risk of positional edge
         loading, head separation edge loading and the ensuing excessive CoCr wear debris,
         excessive corrosion and excessive Co ions which in turn cause ALTR, necrosis,
         pseudotumors, pain, osteolysis, and in some, a diagnosed ALVAL response.

      3. There were reasonable safe alternatives to the Biomet M2a MoM products that did
         not have an increased risk of excessive metal wear debris particles, elevated metal
         ions, and metal ion pathologies (e.g. ALTR, pseudotumors, ALVAL) and increased
         risk of acetabular cup loosening.
             A. Cross-linked polyethylenes developed in the mid-1990s by Biomet and others
                 virtually eliminated the risk of osteolysis. By 1995 Biomet had developed an
                 improved ArCom polyethylene sterilized in Argon (inert gas) in barrier
                 packaging which also reduced the risk of osteolysis. These solutions to the
                 wear issues associated with earlier generation polyethylene articulating
                 surfaces made the risks associated with the use of MoM hip implants
                 unjustified. The risk/benefit ratio did not support commercialization of MoM
                 in the United States in 2000.
             B. By 2004, when the M2a-Magnum was cleared by the FDA, the preferred (gold
                 standard) THA articulation was MoP or CoP utilizing crosslinked
                 polyethylene such as DePuy’s Marathon, Zimmer’s Prolong or Longevity,
                 Sulzer’s Durasul, WMT’s Lineage, S&N’s XLPE, Biomet’s ArCom XL, or
                 Howmedica-Osteonic’s X3. By 2004 and 2005, there was even less of a need
                 for MoM articulations to resolve UHMWPe wear problems in THA. At least
                 seven major orthopaedic companies, including Biomet, sold metal backed
                 porous ingrowth acetabular cup systems with XLPE liners and larger diameter
                 femoral heads.

      4. Biomet’s testing of the M2a MoM product family was deficient, and was a substantial
         factor in the harms experienced by its MoM patients. Biomet’s lack of appropriate
         testing prior to sale caused patient injuries. Biomet’s failure to calculate and
         communicate the probability of the new risks of MoM articulations to surgeons and
         patients prevented them from making informed product selections, and deprived them
         of the ability to choose safer alternative devices.
         A. Once industry reports and the peer reviewed literature identified excessive wear
             mechanisms and methods to quantify the excessive wear, Biomet failed to
             complete this testing and failed to quantify the probability of occurrence of these
             excessive wear scenarios. Likewise, Biomet also failed to communicate the
             probability of these risks to surgeons and patients, preventing them from making
             informed product selection. Furthermore, Biomet failed to communicate increased
             risk of elevated local or systemic metal ions associated with this increased wear,


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            and the associated harms which contributed to the failure of surgeons to recognize
            metal ion related symptoms in their MoM patients.
         B. Biomet did not test its MoM products under more realistic physiologically
            relevant conditions, and promoted them for use in younger more active patients.
            Furthermore, Biomet deliberately misled its customers (surgeons, hospitals and
            patients) in its promotion of M2a products by citing low wear and low metal ions
            based solely on ideal laboratory conditions even though others in the industry had
            already shown that testing under more realistic in-vivo conditions would generate
            excessive MoM articulation wear. Biomet should have known that its laboratory
            testing of the M2a MoM prior to clearance did not replicate conditions in the
            human body during normal activities of daily living, and was misleading and
            incomprehensive. Biomet should have known from its research and testing that
            the actual wear rate in clinical use of M2a MoM hip replacement systems would
            be significantly and substantially higher than the rate measured in its laboratory
            testing prior to clinical release.

      5. The Biomet M2a MoM products are unreasonably dangerous and presented an
         unreasonable risk to implant recipients due to specific warning defects. MoM
         articulations used in total hips have new and unique risks compared to other bearing
         couples such as ceramic or metal-on-polyethylene, which were not sufficiently
         highlighted by Biomet in its promotional and training materials.
         A. In Biomet’s brochures that promoted low wear volume, Biomet should have also
             pointed out that:
                i. Metal wear particles are small, about 10 to 90 nm in size, and irregular in
                     shape leading to a very high surface area exposed to in-vivo fluids
                     facilitating corrosion.
               ii. As many as ~ 100 times (or at least 55x) more CoCr wear particles are
                     produced by metal-on-metal as compared with metal-on-polyethylene
                     bearings under normal in vivo conditions, and this significantly increased
                     the risk of adverse local tissue reactions and elevated metal ions in the
                     local tissues.
              iii. CoCr metal particulate matter and the ensuing metal ions are known to
                     cause adverse local tissue reactions such as tissue necrosis and other
                     immune responses.
              iv. Biomet’s surgical techniques, instruction manuals and brochures failed to
                     point out that performance claims made in their brochures were only
                     applicable to ideal laboratory conditions which did not simulate the more
                     realistic wear expected from physiologically relevant use conditions,
                     including head separation or edge loading.
               v.    Biomet should have but did not include excessive wear test results
                     identified for head separation, edge loading or higher demand load
                     scenarios in their brochures.
             Biomet misrepresented the benefits of the MoM articulation by not including
             these risks when marketing their MoM devices as low wear and preferentially for
             use in younger more active patients, which implies greater longevity, greater
             durability, and lower risk. This constitutes failure to appropriately warn, and is a
             substantial factor in the failure of MoM devices due to revision surgery and other
             injuries caused by metalosis.
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         B. The warnings supplied by Biomet for the M2a family of MoM articulation,
            particularly in 2001/2004, were insufficient in that they did not warn specifically
            that extremely large numbers of metal wear debris particles and elevated metal
            ions and metal ion pathologies can result from, among other things:
               i. Normal use under even under optimal implant positioning;
              ii. Common head separation events (which can edge loading in re-entry or
                    third body wear, each resulting in elevated metal ions)
             iii. Sub-optimal positioning during installation;
             iv. Higher demand use due to higher cycles and forces and extreme motions
                    in various sports and manual labor activities;
              v.    Higher demand use due to use in heavier patients who are at least
                    moderately active.
             vi. Increased and excessive taper corrosion at the head/neck interface.
            In addition, Biomet did not set specific weight and/or activity restrictions
            necessary to prevent excessive wear related to use.
         C. For the Biomet’s MoM components a more vertical cup orientation increasing his patient
            risk of higher wear due to edge loading. Biomet’s IFU and surgical techniques
            and brochures available in 2005 did not include this warning. Failure to train
            surgeons to avoid installing the device too vertically when the product was
            released is a design and warnings defect of the M2a product families.
         D. The Biomet warnings were also insufficient because they lacked
            recommendations for ongoing care and management of patients with MoM.

      6. Biomet continuously downplayed the serious and unreasonable danger associated
         with its MoM hip implant devices and modular head-neck taper corrosion compared
         to safer alternative devices utilizing crosslinked polyethylene articulating surfaces. In
         its promotion of the M2a products, Biomet downplayed the potential harm of metal
         wear debris implying that reduced wear volume found in laboratory testing was
         indicative of low wear generally, and little or no risk of elevated metal ions, when in
         fact the opposite was true. Biomet consistently exaggerated the claimed benefits of
         its M2a MoM devices while consistently minimizing the risks to patients associated
         with those devices. This action contributed to the failure of surgeons to recognize the
         risks to patients associated with the use of Biomet’s M2a MoM devices.

      7. Biomet’s failure to appropriately educate, train and warn surgeons and patients
         caused the selection and use of this implant in patients. Biomet’s M2a MoM products
         have experienced higher cumulative revision rates than what is considered acceptable
         in the orthopaedic community, and far higher cumulative revision rates than implants
         made by Biomet and others utilizing a ceramic or metal on crosslinked polyethylene
         articulating surface. Biomet’s conduct has caused patients to experience adverse
         local tissue reactions, pain, osteolysis, and other conditions, which has resulted in
         premature revision surgery and other related injuries. Patients with BioMet MoM
         have been exposed to hazards of functional impairment, metalosis, bone loss, various
         types of ALTR in the form of soft tissue injuries (atrophy and degenerative changes
         through the abductor musculature, pseudotumor or bone cysts), and groin and lateral
         thigh pain leading to revision total hip surgeries. In addition to the risks of surgery,
         such as infection, embolisms, et cetera, revision total hip surgeries generally have
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         poorer outcomes, including a higher risk of post-surgery infection and dislocation. In
         addition, some patients have reported systemic effects of elevated ions. For example,
         some have experienced immune system compromise as a result of elevated Co ions
         leaving them more susceptible to infection. The medical literature is starting to report
         on systemic harm associated with elevated metal ion levels. One case study has
         attributed a patient’s death to cardiomyopathy caused by elevated metal ion levels,
         and other studies have shown that metal ions can traverse the placental barrier.
         Following their revision surgeries for ALTR, many patients have residual functional
         impairments.




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